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                EXHIBIT 12
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                    Laura M. Plunkett, Ph.D, D.A.B.T.

                                                                       Page 1
                         UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY
          ---------------------------
          IN RE: JOHNSON & JOHNSON               MDL NO.:
          TALCUM POWDER PRODUCTS                 16-2738 (FLW)(LGH)
          MARKETING, SALES PRACTICES,
          AND PRODUCTS LIABILITY
          LITIGATION
          ---------------------------
               IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS
                               STATE OF MISSOURI
          ---------------------------
          VALERIE SWANN, et al.,
                         Plaintiffs,
          V.                                     Cause No.
          JOHNSON & JOHNSON, et al.,             1422-CC09326-03
                         Defendants.             Division 10
          ---------------------------
                             EXPERT DEPOSITION OF
                         LAURA M. PLUNKETT, PHD, DABT
                    Tuesday, August 10, 2021, 9:07 a.m.
                                    Washington, DC 20006


          Reported by:
          Denise Dobner Vickery, Registered Merit Reporter,
          Certified Realtime Reporter, Notary Public


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      1                                                       1   APPEARANCES: (Continued)
      2                                                       2
      3                                                       3   For Defendants Johnson & Johnson and Johnson &
      4                                                       4   Johnson Consumer Inc.:
      5                                                       5        SHOOK HARDY & BACON LLP
      6                                                       6        BY: MARK C. HEGARTY, ESQ.
      7               Tuesday, August 10, 2021                7        2555 Grand Blvd.
      8               9:07 a.m.                               8        Kansas City, MO 64108
      9                                                       9        816.474.6550
     10      Expert Deposition of LAURA M. PLUNKETT,         10        mhegarty@shb.com
     11   PHD, DABT, held at the offices of:                 11
     12                                                      12
     13          ASHCRAFT & GEREL LLP                        13
     14          1825 K Street NW                            14
     15          Suite 700                                   15
     16          Washington, DC 20006                        16
     17                                                      17
     18                                                      18
     19                                                      19
     20        Pursuant to notice, before Denise Dobner      20
     21   Vickery, Certified Realtime Reporter, Registered   21
     22   Merit Reporter, and Notary Public in and for the   22
     23   District of Columbia.                              23
     24                                                      24


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      4       ASHCRAFT & GEREL LLP                            4   BY MR. HEGARTY               10
      5       BY: MICHELLE A. PARFITT, ESQ.                   5
      6          JAMES F. GREEN, ESQ.                         6
      7       1825 K Street NW, Suite 700                     7
      8       Washington, DC 20006                            8         PLUNKETT DEPOSITION EXHIBITS
      9       202.759.7648                                    9   NUMBER DESCRIPTION                          PAGE
     10       mparfitt@ashcraftlaw.com                       10   Exhibit 1 Integrative Biostrategies, LLC 25
     11       jgreen@ashcraftlaw.com                         11          Talc MDL Invoices period ending
     12                                                      12          30 November 2018 Invoice Number 1519
     13                                                      13   Exhibit 2 Integrative Biostrategies, LLC 27
     14   For MDL Plaintiffs and Plaintiff Valerie Swann:    14          Talc MDL Invoices period ending 30
     15       BEASLEY ALLEN LAW FIRM                         15          September 2019 Invoice Number 1606
     16       BY: RYAN BEATTIE, ESQ.                         16   Exhibit 3 List of Testimony for          45
     17       218 Commerce Street                            17          Dr. Laura M. Plunkett, PHD, DABT
     18       PO Box 4160                                    18          Last Updated August 2, 2021
     19       Montgomery, AL 36104                           19   Exhibit 4 Curriculum Vitae              49
     20       308.874.3186                                   20   Exhibit 5 PowerPoint. Laura M. Plunkett, 67
     21       ryan.beattie@beasleyallen.com                  21          PHD, DABT
     22                                                      22   Exhibit 6 Amended Expert Report of          84
     23                                                      23          Laura M. Plunkett, PHD, DABT
     24                                                      24          Dated June 30, 2021


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      5          Dated November 16, 2018                      5          Duces Tecum in Swann
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     14          Additional Materials Considered,            14          Available baby powder and in pelvic
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     17          Lifetime Talc Exposure in                   17   Exhibit 25 Environmental Research. The 257
     18          F344/N Rats and B6C3F1 Mice                 18          effect of talc particles on
     19          Boorman and Seely                           19          phagocytes in co-culture with ovarian
     20   Exhibit 13 Screening Assessment Talc       147     20          cancer cells, Mandarino et al.
     21          Environment and Climate Change              21   Exhibit 26 Molecular Basis Supporting the 268
     22          Canada, Health Canada, April 2021           22          Association of Talcum Powder Use
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      1              PROCEEDINGS                                1      Q.     Thank you.
      2                  ---                                    2            What is the current name of your
      3           LAURA M. PLUNKETT, PHD, DABT                  3   consulting business?
      4    called for examination, and, after having been       4       A. BioPolicy Solutions, Inc. I'm
      5    duly sworn, was examined and testified as            5   sorry. LLC.
      6    follows:                                             6       Q. Your consulting business was
      7                  ---                                    7   formerly known as Integrated Biostrategies; is
      8                 EXAMINATION                             8   that correct?
      9                  ---                                    9       A. Integrative Biostrategies, yes.
     10   BY MR. HEGARTY:                                      10       Q. Why the name change?
     11        Q. Good morning, Dr. Plunkett.                  11       A. That business is closed because I
     12        A. Good morning.                                12   took on a full-time business partner. So we now
     13        Q. Would you please state your full             13   have a different structure to the company. It's a
     14   name for the record?                                 14   partnership versus before I was the sole owner of
     15        A. Laura Massey Plunkett.                       15   the company.
     16        Q. Dr. Plunkett, we're here today to            16       Q. The person that you have now entered
     17   take your deposition in the MDL litigation.          17   into business with is Larisa Rudenko?
     18             Do you understand that?                    18       A. Larisa Rudenko, yes.
     19        A. Yes.                                         19       Q. How did you come to start working
     20        Q. Do you also understand we're here            20   with her?
     21   today to take your deposition in the case of Swann   21       A. So this time or how far back in
     22   versus Johnson & Johnson, et al.?                    22   time?
     23        A. I understand that, yes.                      23       Q. Well, with regard to your new
     24        Q. Did you bring any materials with you         24   company, BioPolicy Solutions.

                                                 Page 11                                                  Page 13
      1   to the deposition?                                    1        A.    Okay. So in December of 2019,
      2       A. The only thing I brought was this              2   January of 2020, she contacted me and she had just
      3   notebook which has my report. Do you -- I brought     3   finished -- she had finished a sabbatical at MIT
      4   this notebook, to answer your question. I'm           4   and had recently retired from FDA two years prior,
      5   sorry. (Laugh).                                       5   and she had reached the time period where she
      6       Q. There are some materials to your               6   could now -- based on her tenure at FDA having
      7   right.                                                7   ended more than two years, she could now start to
      8             Are those counsel's materials?              8   consult back with the industry that she regulated
      9       A. Yes.                                           9   when she was at FDA.
     10       Q. Okay. What is your business                   10             So she wanted to -- she wanted to
     11   address?                                             11   know if I was interested in working again. We had
     12       A. 1127 Eldridge, E-l-d-r-i-d-g-e,               12   been partners on Integrative Biostrategies
     13   Parkway, Suite 300-335, Houston, Texas 77077.        13   initially. She's the one who actually started
     14       Q. You testified in the past that your           14   Integrative Biostrategies back in 2001.
     15   office was in your home, but this sounds like it's   15        Q.    What is her area of expertise?
     16   an address that's actually in an office building.    16        A.    Similar to mine. She's a
     17             Is that correct?                           17   board-certified toxicologist. She has a PhD in --
     18       A. No. I have a home-based office                18   whereas mine is in pharmacology, hers is in
     19   that's my mailing address.                           19   molecular biochemistry. And the difference in
     20       Q. Okay.                                         20   what we do is not that great, other than her
     21       A. So all materials -- so if you ask             21   contacts and her -- her clients that she has
     22   me -- if you ask me where to send something to me    22   brought to the company are companies that
     23   in my -- in my office, you would send it to that     23   specialize in making products through different
     24   mailing address.                                     24   processes of biotechnology.


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      1             At FDA, she was a policy person             1   work for Johnson & Johnson?
      2   working on the issues of new policy and new           2        A. At ENVIRON, she very likely worked,
      3   initiatives under products of biotechnology, and      3   like I did, on a project for Johnson & Johnson
      4   she was based jointly out of the Center for           4   because I believe we were working together
      5   Veterinary Medicine and she also had a position       5   generally in that area, but I don't know since
      6   that was through the commissioner's office as         6   then. I can't answer that. So, no.
      7   well.                                                 7        Q. Has she ever been involved in
      8        Q. You anticipated. One of my                    8   litigation work, to your knowledge?
      9   questions was with regard to what your consulting     9        A. In the past, yes.
     10   company does.                                        10        Q. What type of work do you know of
     11             Your report called what you did            11   that she's been involved in the past in a general
     12   before as product development stewardship, that      12   sense?
     13   is, you one of your prior reports, and now you       13        A. Just in general sense? I know she
     14   describe it as development and marketing of          14   worked on some issues -- has worked on some issues
     15   existing products as well as new technologies.       15   related to safety of biotechnology.
     16             So is there a difference in what           16        Q. Has she helped you with any of your
     17   your company is doing now, what you're doing now     17   litigation work?
     18   than what you did at the time you did your initial   18        A. To date, no, not in the talc
     19   MDL report back in 2018?                             19   litigation at all.
     20        A. Not -- not really, other than the            20        Q. Your report at paragraph 1 refers to
     21   majority of the new clients are what I call new      21   a location in Ventura, California.
     22   technologies, whereas before the majority of my      22             Is that where she's located?
     23   clients were in the areas that were not this area    23        A. That's correct.
     24   of new technologies.                                 24        Q. Has there been any other -- has


                                                Page 15                                                   Page 17
      1             Do you want me to give you an               1   there been any other change in the employees of
      2   example to understand or --                           2   your consulting business since your MDL deposition
      3       Q.     Well, when you say "the majority,"         3   in December of 2018?
      4   what percentage of your clients are now this --       4        A. So we're partners. My husband is
      5   these new technology clients?                         5   still -- is a contractor to the new company. He's
      6       A.     I'd say right now 90 to 98 percent         6   not a salaried employee. And we have -- we have a
      7   of our clients. We have one client that is not in     7   permanent subcontractor. When I say "permanent,"
      8   this area of new technologies, but most of the        8   he -- we guarantee him 10 hours a week of work.
      9   clients we're working with are in a space of          9   He's also a recently retired FDA person that was a
     10   emerging technologies in ways to make ingredients    10   friend of Larisa's who retired from FDA about a
     11   for food or make foods in bioreactors. So            11   year ago.
     12   cell-based meat. I don't know if you've seen the     12        Q. Who is that?
     13   press on that. That's an area we're working in.      13        A. Dr. Robert Merker, M-e-r-k-e-r.
     14             We're also working on novel food           14        Q. Has he assisted you in any of your
     15   ingredients produced by methods of biotechnology.    15   litigation work?
     16       Q.     You said you were going to give me        16        A. No, huh-uh, he has not.
     17   some examples.                                       17        Q. And when you say -- you answered
     18             Are those examples?                        18   earlier that Dr. Rudenko has not yet -- not
     19       A.     Those are examples. Exactly, yes.         19   assisted you in any of your litigation work.
     20       Q.     Has Ms. Rudenko worked in the past        20               Do you anticipate her -- asking her
     21   on any talc product, if you know?                    21   to assist you in any way in your litigation work?
     22       A.     I don't know whether she did or not.      22        A. It's possible I may have her work
     23   I can't answer that.                                 23   with me on some cases in the -- in the future,
     24       Q.     Do you know whether she has done any      24   yes. She has an interest, but right now she is


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      1   not doing that. And the talc litigation I don't       1   That's we're 50 percent partners, so 50/50. I'm
      2   know that she would because there's a lot to come     2   sorry.
      3   up to speed on. So I don't know if she has that       3            She draws a salary as well. We draw
      4   interest or not.                                      4   equal salaries right now from the company, and
      5        Q.    In what state did you set up this          5   then we pay -- we pay the subcontractors as well,
      6   new partnership?                                      6   and they come out of whatever is brought in from
      7        A.    Texas. It's a Texas LLC.                   7   the company overall. So, in other words, we don't
      8        Q.    What percentage of your business           8   segregate that only litigation assets go to
      9   time this year, that is 2021, has been spent on       9   Dr. Plunkett. They go to the company, and then we
     10   litigation matters?                                  10   all share within that.
     11        A.    Less than 30 percent.                     11        Q. So you and Dr. Rudenko are paid the
     12        Q.    Same question as to 2020.                 12   exact same amount from the company?
     13        A.    Also less than 30 percent in 2020.        13        A. In terms of our salary, yes. Then
     14        Q.    Same question as to 2019.                 14   based on profit sharing, even though we're 50/50
     15        A.    Oh, 2019 was probably about -- it         15   partners, there may be some instances where she
     16   was probably a third. It was more of my income in    16   has something that is just for her. Because she
     17   2019 than it was -- than it is in 2020 and 2021 so   17   had some old clients that came into the company
     18   far.                                                 18   and so those are not handled the same way
     19        Q.    When you say as to 2021 and 2020          19   necessarily as -- as other things.
     20   less than 30 percent, are you able to be any more    20            But anything that I bring in pretty
     21   precise?                                             21   much is -- is distributed through the company with
     22        A.    Well, 2021 is kind of hard because I      22   equal shares to the -- to the partners, and then I
     23   don't have statistics for the year. In 2020, it      23   have -- I cover also right now -- because I have
     24   was actually about 18 percent of my -- of my -- my   24   many more clients than she does, I cover the


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      1   time that I spent in 2020 because we did run -- I     1   salaries for the subcontractors as well.
      2   did run a report for that just to figure out what     2        Q. So the more litigation work that you
      3   the change was. We had less income in 2020, but       3   would do and bring in, you don't get any direct
      4   we also -- when I say "less income," we had a lot     4   benefit from that personally?
      5   more income in the regulatory area.                   5        A. Well, I do as the company does. If
      6              So the majority of the work I did in       6   the company benefits --
      7   2020 came out of regulatory projects with the new     7        Q. Right.
      8   BioPolicy Solutions clients or in -- also in          8        A. -- I benefit, obviously. So
      9   intellectual property work that I continued to do     9   (laugh).
     10   with my sister's law firm.                           10        Q. But you don't get -- your salary
     11        Q. Do the fees paid to you from your            11   doesn't go up above Dr. Rudenko based on the
     12   litigation work go to the company or directly to     12   amount of litigation work you do?
     13   you?                                                 13        A. No, that has not happened. Well,
     14        A. To the company.                              14   and with the new company. So I'm telling you as
     15        Q. What percentage of those fees do you         15   of today --
     16   get personally?                                      16        Q. Okay.
     17        A. Well, I draw a salary from the               17        A. -- that's what we do.
     18   company. So whatever percentage that is, I don't     18        Q. Are you able to estimate how much
     19   know. I can't tell you. I draw a salary. There       19   revenue your company has received this year from
     20   is this -- there was profit sharing between the      20   litigation matters?
     21   two of us. So there's distribution is how the LLC    21        A. No, I don't have the number for this
     22   is set up. I'm not a lawyer, but you do have to      22   year. Like I said, it's about the same amount as
     23   distribute assets at the end of the year. So we      23   last year in terms of being less than 30 percent,
     24   did distribute assets based on a 50/50 scale.        24   and my guess is it's closer to the less than 20


                                                                                6 (Pages 18 to 21)
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      1   percent. But I will tell you that with trials         1        Obviously the COVID pandemic work issues
      2   kicking back in, it will absolutely be going up.      2        impacted everyone, including me.
      3        Q. Are you able to tell me the amount            3   BY MR. HEGARTY:
      4   of revenue your company received in 2020 from         4       Q. With regard to the percentage of
      5   litigation work?                                      5   your -- with regard to your fees from litigation
      6                MS. PARFITT: Objection.                  6   consulting, what percentage of those fees this
      7                You can answer.                          7   year are from talc litigation?
      8                THE WITNESS: I don't -- no,              8       A. From this year? I don't know.
      9        I don't have a number. It was about 18           9   Certainly I would tell you that right now it is
     10        percent of -- of the revenue stream that        10   the most active litigation I'm involved in. It's
     11        came in. So a company may -- I mean, we         11   the only trials that have started back up for me
     12        can guess. You want me to guess? I can          12   has been the talc trials.
     13        guess for you, but I don't know.                13       Q. Okay.
     14   BY MR. HEGARTY:                                      14       A. So I can't tell you. I would
     15        Q. Are you able to take 18 percent of           15   imagine if I could run the numbers for you at the
     16   your revenue from the company in 2020 and give me    16   end of the year and find that out, but right now I
     17   an estimate?                                         17   can't tell you, no.
     18        A. Well, the company made about                 18                MR. HEGARTY: We were provided
     19   $270,000 in 2020. So I don't have the math. I        19        prior to the deposition copies of
     20   think that was what it was after expenses.           20        invoices that I want to mark as exhibits.
     21        Q. Fair enough.                                 21                I'm going to start by marking
     22        A. Yeah.                                        22        as Exhibit No. 1 a copy of invoices that
     23        Q. How about 2019? Are you able to              23        begin with the first one of "Talc MDL"
     24   tell me the revenue received by your company from    24        November 30, 2018.

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      1   litigation matters in 2019?                           1               (Document marked for
      2        A. I don't have that number off the top          2        identification as Plunkett Exhibit 1.)
      3   of my head. I believe I have testified to that        3   BY MR. HEGARTY:
      4   before, though, maybe even in talc litigation, but    4       Q. Do you see that?
      5   I don't recall. I would say maybe look back at my     5       A. Yes.
      6   deposition testimony in another case for talc and     6       Q. All of these invoices include as the
      7   I think that is there.                                7   project name or description "Talc MDL"; is that
      8        Q. Are you able to estimate the revenue          8   correct?
      9   from your company from 2019?                          9       A. Yes.
     10               MS. PARFITT: Objection.                  10       Q. And I received the two sets of
     11               THE WITNESS: I can only                  11   invoices, and this is one set.
     12        estimate the -- are you asking -- are you       12            Are these invoices -- do these
     13        asking me what went into the taxes on the       13   invoices in Exhibit No. 1 represent those that you
     14        tax forms?                                      14   have invoiced for your work on the Talc MDL?
     15   BY MR. HEGARTY:                                      15       A. Yes, that's correct. That's that --
     16        Q. Fair enough.                                 16   they're segregated that way because I believe you
     17        A. What I remember from 2020 was the            17   asked for them that way on the notice of
     18   company --                                           18   deposition.
     19        Q. I'm sorry. 2019.                             19       Q. If you turn over to the March 31,
     20        A. Oh, I'm sorry. For 2019. The 2019            20   2019 invoice?
     21   I don't recall --                                    21       A. Yes.
     22               MS. PARFITT: Objection.                  22       Q. When you -- when you make reference
     23               THE WITNESS: -- the exact                23   to "review of documents," what do you include in
     24        number, but it was more than 2020.              24   the definition of documents?


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      1        A. So it would be any documents that --          1   BY MR. HEGARTY:
      2   and the reason I use the word "documents" is          2       Q. Would you tell me what those sets --
      3   because it's not just published literature public.    3   that set of invoices represents?
      4   It would include the internal company documents       4       A. This is other talc litigation. So
      5   that I have access to. It could include               5   this would be the state cases that I've worked on
      6   deposition testimony of individuals, even myself      6   since my deposition that was given in the MDL.
      7   within the case. So it's broader.                     7       Q. Would you turn to the invoice dated
      8             It could include published                  8   April 30, 2020, and tell me when you can find it.
      9   literature, but it's a broad definition versus        9       A. Yes, I'm there.
     10   just published literature, for example.              10       Q. The description of the work on that
     11        Q. And on that invoice it says                  11   invoice says "review of documents and call with
     12   "conference call re MDL deposition."                 12   client."
     13             Do you remember who the conference         13             What does "client" mean?
     14   call was with?                                       14       A. That would be the attorneys. I
     15        A. Don't remember the exact number of           15   apologize.
     16   people, no, but I'm sure it was either someone --    16       Q. Okay.
     17   it may have been a combination of people from        17       A. Yeah. Yeah. Yeah. I don't -- I
     18   Beasley Allen and maybe Ms. Parfitt as well. I       18   don't speak with plaintiffs specifically. This is
     19   don't know. Both of those -- both of those firms     19   my client would be the law firm.
     20   are involved with me working on the MDL.             20       Q. Would you turn to the next invoice.
     21        Q. Would you turn to the last page of           21   That invoice is also not dated.
     22   Exhibit No. 1. That invoice is not dated.            22             Can you tell me the date of that
     23             Do you -- are you aware of a date of       23   invoice?
     24   that invoice?                                        24       A. I apologize these aren't dated. And


                                                 Page 27                                                 Page 29
      1       A. This would have -- should have been            1   you know what? Maybe I should get you those with
      2   -- hold on. Should have been sent the end of -- I     2   dates on them. So I apologize for that. I don't
      3   filed the report on July 2nd. So it would have        3   know the -- the date. I'd have to look at the
      4   been June 20 -- and I apologize. It should be on      4   date --
      5   there.                                                5       Q. Okay.
      6       Q. Okay.                                          6       A. -- to tell you what that was.
      7       A. June 2021.                                     7             The same thing with the next one I'm
      8       Q. Does the time set out in this report           8   noticing it doesn't have a date either. So...
      9   represent the -- all the time you spent in            9       Q. On the one we were looking at,
     10   preparing your amended MDL report?                   10   there's a list -- there's a list of a number of
     11       A. Just this invoice?                            11   cases.
     12       Q. Just this invoice.                            12             Are those all cases in which you
     13       A. No. I would say document review               13   have done -- done work on as reflected in this
     14   that may have occurred early. Some of these          14   invoice?
     15   documents that I reviewed in 2020 were discussed     15       A. Yes. And so this was an unusual
     16   within my report. But I would say to you if you      16   request from the law firm to break out document
     17   want to talk -- if you're asking me about the time   17   review into variety of different cases, and so
     18   I sat down and actually drafted it, it would be      18   that's what I did.
     19   this time, yes.                                      19       Q. I did not see a reference in the
     20               MR. HEGARTY: All right. The              20   invoices provided to the Kleiner case from
     21        next set of invoices I will mark as             21   Pennsylvania.
     22        Exhibit No. 2.                                  22             Have you billed any time to the
     23               (Document marked for                     23   Kleiner case in Pennsylvania?
     24        identification as Plunkett Exhibit 2.)          24       A. Not yet, but I would be billing when


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                           Laura M. Plunkett, Ph.D, D.A.B.T.
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      1   I show up at the trial.                               1       Q. You say you are in the process of
      2             Let me just clarify. The issue is           2   preparing a report?
      3   that it wasn't until sometime in 2020 where I was     3       A. Yes. I've been working on a report,
      4   asked to always make sure to reference individual     4   yes.
      5   cases if I could. Before that, I would -- may put     5       Q. And does this invoice reflect the
      6   MDL or state cases, but -- but I've been asked to     6   time you spent in working on that report?
      7   do it this way.                                       7       A. As for this month that was -- that
      8             And actually based on the payment of        8   was invoiced here, yes, and there's another one.
      9   this, I will tell you, being that it was paid in      9       Q. And the next one --
     10   February, my guess is the bill would have been       10       A. Yeah.
     11   sometime within 90 days before that.                 11       Q. And the next one is also related to
     12        Q. Okay.                                        12   a Canada case.
     13        A. Okay? Just -- but I can -- if you            13            Is that the same matter?
     14   need those, I can certainly provide that.            14       A. Same matter. This one hasn't -- let
     15        Q. Would you turn to the next page.             15   me see check something. Yeah. This one has not
     16   There's no description of the -- the matter other    16   been paid you'll notice. So this is an
     17   than "talc."                                         17   outstanding invoice. So it says paid, that means
     18        A. (Laugh). I apologize for that.               18   I have received payment. If it isn't, then it's
     19        Q. What does this invoice represent?            19   an outstanding invoice.
     20   It's the one that's --                               20       Q. Do you know what Canadian province
     21        A. Sure.                                        21   the case is pending in?
     22        Q. -- for 450 total.                            22       A. I don't know.
     23        A. Yeah. So this would have been                23       Q. You mentioned that it related to
     24   unspecified state cases. So, in other words,         24   regulatory matters?

                                                Page 31                                                 Page 33
      1   where I wasn't asked to specify or needed to          1       A.      Well, the --
      2   specify a state case, but it is not the MDL. I        2                MS. PARFITT: I'm going to
      3   always was asked to separate MDL from other cases.    3        object at this point in time, Mark, with
      4       Q. Same question same answer for the              4        regard to the fact there's been some
      5   next one?                                             5        consulting responsibilities.
      6       A. Yes, exactly.                                  6                MR. HEGARTY: Fair enough.
      7       Q. That's the one that said $1200.                7                MS. PARFITT: Thank you.
      8       A. Uh-huh.                                        8   BY MR. HEGARTY:
      9       Q. If you turn to the next one, there's           9        Q. Would you look through the rest of
     10   a reference to a Canada case or cases.               10   the invoices and tell me whether Exhibit No. 2
     11            What is that?                               11   represents the -- all of the invoices that you
     12       A. So I have been asked to look at               12   have provided to counsel since 2000 -- in 2019
     13   issues related to the regulatory system in Canada    13   through 2021.
     14   and I have not yet filed a report, but I've been     14        A. Yes, I believe so because I actually
     15   working on that.                                     15   went to my system and -- and had these pulled.
     16       Q. Is that related to a particular               16        Q. Okay.
     17   matter or case?                                      17        A. So, yes.
     18       A. A case in Canada, but I don't know            18        Q. We talked earlier about your
     19   any more details. I have to -- to dig into that.     19   consulting outside of litigation matters.
     20       Q. What law firm are you working with?           20             Are you currently consulting outside
     21       A. I'm working through Beasley Allen             21   of litigation matters on any cosmetic product?
     22   and I believe Ms. Parfitt's firm, Ashcraft is also   22        A. Not a product. On ingredients.
     23   involved. But definitely, definitely Beasley         23        Q. What kind of ingredient?
     24   Allen.                                               24                MS. PARFITT: I'm going to


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                           Laura M. Plunkett, Ph.D, D.A.B.T.
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      1        object at this point in time as well as          1   ingredient?
      2        far as her consulting activities because         2                MS. PARFITT: Objection.
      3        I'm not certain whether there's some             3                THE WITNESS: I don't know.
      4        proprietary aspect to which -- for which         4        That's a good question. It's possible
      5        we would obviously be concerned.                 5        that the finished products may. I don't
      6                MR. HEGARTY: Let me lay some             6        know.
      7        foundation.                                      7   BY MR. HEGARTY:
      8                MS. PARFITT: Thank you.                  8       Q.     How many consulting matters did you
      9   BY MR. HEGARTY:                                       9   have in 2019 involving cosmetics? Just
     10       Q. And tell me whether you can answer            10   approximately.
     11   the question.                                        11       A.     Well, it was -- it was ongoing work.
     12             Are you able to provide the type of        12       Q.     These are non-litigation matters.
     13   or description or generalities as to the             13       A.     In 2019 you said?
     14   ingredient as opposed to identifying the company     14       Q.     2019.
     15   you're working for?                                  15       A.     Probably 20 percent of the time that
     16       A. So I can give you some general                16   I spent overall in my consulting practice, and it
     17   description. I mean, the company is I typically      17   was probably 80 percent of the work I was doing
     18   would not do that without checking with the -- I'm   18   through my sister's law firm at the time.
     19   working through an attorney on intellectual          19       Q.     Same question as to 2020.
     20   property issues as well as regulatory issues.        20       A.     About the same. Although it also --
     21       Q. Are you able to through your -- are           21   I would say it wasn't all cosmetic ingredients. I
     22   you able to give me any kind of general              22   also worked on some food ingredients for the same
     23   description of the cosmetic ingredient?              23   client --
     24       A. Yes. I can tell you that there is a           24       Q.     Yeah.

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      1   variety of different types of ingredients.            1       A. -- who is a company that has a
      2   They're -- a lot of them are natural plant            2   variety of different kinds of subsidiaries.
      3   extracts. A lot of the ingredients I'm looking        3       Q. And my question is exclusive as to
      4   at. So they're complex mixtures of plant extracts     4   cosmetic.
      5   that are going into various cosmetics based on the    5       A. I couldn't give you a percentage.
      6   bioactivity of the -- of the ingredient.              6   As I say, I know I would worked on more than
      7        Q. Are you able to identify for me the           7   cosmetic ingredients for this client in 2020.
      8   types of cosmetics that these ingredients going on    8       Q. What percentage of your time in 2021
      9   into?                                                 9   has been spent on consulting matters involving a
     10                MS. PARFITT: I'm going to               10   cosmetic ingredient?
     11        object again because I'm concerned we're        11       A. Probably about 20 percent of my
     12        getting a little too close to the               12   overall time this year so far.
     13        proprietary nature of this.                     13       Q. From 2019 to 2020, did you do any
     14   BY MR. HEGARTY:                                      14   consulting for the American Chemistry Council?
     15        Q. Is that getting into the proprietary         15       A. No.
     16   part of your consulting relationship?                16       Q. Have you consulted from 2019 to
     17        A. It would to give you the exact               17   today with any trade group?
     18   names. I could just tell you that it's all           18       A. No, I don't believe so.
     19   different kinds of products. They would go into a    19       Q. Have you consulted from 2019 to
     20   variety of different kinds of formulations. It's     20   today with any pesticide manufacturer?
     21   not just one particular product.                     21               MS. PARFITT: Again, just
     22        Q. Are you currently consulting outside         22       object just to the extent it may reveal
     23   of litigation matters as to any cosmetic             23       some proprietary relationship. So...
     24   ingredient or any cosmetic that has talc as an       24               THE WITNESS: No, I don't


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      1         believe I have. No.                             1               MS. PARFITT: -- I just --
      2   BY MR. HEGARTY:                                       2               THE WITNESS: Okay.
      3        Q. Have you consulted from 2019 to               3               MS. PARFITT: -- caution you
      4   today with any chemical manufacturer?                 4        to be careful with --
      5                MS. PARFITT: Again, objection            5               MR. HEGARTY: Yeah.
      6         to the extent it may involve some type of       6               MS. PARFITT: -- regard to any
      7         proprietary consulting arrangement.             7        type of proprietary --
      8                THE WITNESS: Yes. There have             8   BY MR. HEGARTY:
      9         been some companies that make chemicals,        9        Q. And this question --
     10         yeah, with the general term "chemical,"        10               MS. PARFITT: -- arrangement.
     11         yes.                                           11   BY MR. HEGARTY:
     12   BY MR. HEGARTY:                                      12        Q. And this question would be public.
     13        Q. All right. What -- what are your             13   That's public.
     14   limitations on talking about those consulting        14        A. Yeah. Not -- no, not in that time
     15   matters?                                             15   frame. I have not.
     16        A. Because it comes through an                  16        Q. Have you communicated with any
     17   attorney. So I look at what I do as being            17   regulatory agency or group on any topic in the
     18   privileged and confidential without gaining -- in    18   2019 to 2021 time period?
     19   other words, it's not a direct agreement with the    19        A. Yes.
     20   -- I don't have a direct contract with the           20        Q. What agency, what regulatory agency
     21   company. I work through a law firm.                  21   or group?
     22        Q. Okay. Have you done any consulting           22        A. So I -- you should be aware I was --
     23   in the last three years on any lead paint product?   23   I attended and participated in the February
     24                MS. PARFITT: Again, objection           24   2020 --


                                                 Page 39                                                  Page 41
      1        to the extent it reveals any consulting          1       Q. Yes.
      2        proprietary agreement that Dr. Plunkett          2       A. -- talc meeting at FDA.
      3        has.                                             3       Q. Any other such regulatory agency or
      4                THE WITNESS: No, I can say               4   group meeting or presentations that you were
      5        that definitively I have not. That has           5   involved in?
      6        not come up in the last couple of years.         6       A. Yes, for some of my clients. Again,
      7   BY MR. HEGARTY:                                       7   some of that is confidential work at this point,
      8       Q. Same question as to any pesticide              8   but, yes, I -- in the BioPolicy Solutions space,
      9   products.                                             9   I'm currently assisting with regulatory
     10                MS. PARFITT: Objection to the           10   submissions to the FDA for four different clients.
     11        extent it goes into proprietary                 11   So I'm interacting with the FDA by e-mail at
     12        consulting arrangements.                        12   least, but also we've had some virtual meetings.
     13                THE WITNESS: I do, indeed,              13       Q. Are there any -- have there been any
     14        continue to work on some issues related         14   publicly available or publicly aware -- known
     15        to products that are active ingredients         15   communications with any regulatory group or any
     16        in pesticide formulations, yes.                 16   regulatory agency or group besides the FDA?
     17   BY MR. HEGARTY:                                      17                MS. PARFITT: Again, object.
     18       Q. Have you communicated with any                18        I'm not sure I understand the question.
     19   regulatory agency or group on behalf of the          19   BY MR. HEGARTY:
     20   American Chemistry Council or any other company or   20       Q. Where you -- sure.
     21   trade group in the 2019-2021 time period?            21             Other than your presentation to FDA
     22                MS. PARFITT: Objection.                 22   in February 2020, have you communicated in a
     23        Again, Dr. Plunkett --                          23   public way that's not in a confidential manner
     24                THE WITNESS: Myself, no.                24   with any other regulatory agency or group in the


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      1   2019-2021 time period?                               1        was food. EFSA was food, but not
      2               MS. PARFITT: About anything              2        everything was food.
      3       at all?                                          3   BY MR. HEGARTY:
      4   BY MR. HEGARTY:                                      4       Q.     Would any of those product have talc
      5      Q. About anything.                                5   as an ingredient?
      6      A. Outside of the FDA?                            6                MS. PARFITT: Objection.
      7      Q. Yes.                                           7                THE WITNESS: That I worked
      8      A. Yes.                                           8        on?
      9      Q. What have you done outside of the              9   BY MR. HEGARTY:
     10   FDA?                                                10       Q.     That you worked on.
     11               MS. PARFITT: Objection.                 11       A.     The project -- I don't believe so,
     12               THE WITNESS: Just in general            12   but I can't -- I don't think so, no.
     13       I can tell you that I've had interactions       13       Q.     Other than the interaction you had
     14       with the Singapore Food Authority. I've         14   with FDA in 2020, have you provided testimony to
     15       had some interactions with the EFSA and         15   any regulatory group or organization in the 2019
     16       interactions with the Ministry of Health,       16   to 2021 time period?
     17       Labour and Welfare, MHLW, in Japan.             17       A.     Not how I define testimony as having
     18   BY MR. HEGARTY:                                     18   been like in a public meeting or commenting, no.
     19      Q. What --                                       19                MS. PARFITT: And I assume
     20      A. And also -- and also FSANZ, Food              20        that was the nature of the question.
     21   Safety -- the food safety group New Zealand and     21                MR. HEGARTY: Correct. That
     22   Australia. I think it's called FSANZ, F-S-A-N-Z.    22        was my question.
     23      Q. You said an acronym earlier.                  23   BY MR. HEGARTY:
     24            What was that acronym?                     24       Q.     How about where you submitted a

                                               Page 43                                                   Page 45
      1        A. MHLW. The Ministry of Health,                1   written statement that's public to any regulatory
      2   Labour and Welfare I believe is what it means at     2   group or organization? Have you done that in the
      3   Japan. It's the -- it's the Japanese equivalent      3   2019 to 2021 time period?
      4   to -- they do a lot of the same things that the      4        A. Nothing that's public, but I have
      5   FDA does for certain kinds of products.              5   submitted comments to the agencies as part of my
      6        Q. The other one you mentioned was              6   work with clients that is still considered
      7   EFSA?                                                7   confidential business information.
      8        A. EFSA.                                        8                 MR. HEGARTY: I'm going to
      9        Q. What is that?                                9         mark as the next exhibit Exhibit No. 3.
     10        A. European Food Safety Authority. So          10                 (Document marked for
     11   it's a separate body that advises the European      11         identification as Plunkett Exhibit 3.)
     12   Union, the EC, and the European Commission on       12   BY MR. HEGARTY:
     13   issues related to food safety.                      13        Q. Exhibit No. 3 is the list of
     14        Q. Did all of these interactions that          14   testimony that we have been provided that you have
     15   you just mentioned involve food safety in one way   15   given either by deposition or at trial in the last
     16   or another?                                         16   four years or I guess since 2016.
     17                MS. PARFITT: Again, to the             17              Is this list that we marked as
     18         extent it involves any proprietary            18   Exhibit No. 3 a complete list of the testimony
     19         communication --                              19   that you have provided either by deposition or at
     20                THE WITNESS: Sure.                     20   trial in litigation since 2016?
     21                MS. PARFITT: -- I ask you not          21        A. Yes.
     22         to respond.                                   22        Q. If you would turn over to page 5,
     23                THE WITNESS: Product safety            23   there's a reference towards the bottom to Coleman
     24         in general I would say. Not everything        24   case, Cook Medical?


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      1        A.     Uh-huh.                                   1   been any kinds of global settlement or things like
      2        Q.     Can you give any better description       2   that.
      3   of what that matter is?                               3       Q. Do you have any depositions
      4        A.     It was an IVC filter that was             4   scheduled in 2021 after today?
      5   manufactured by Cook Medical. Particular -- I         5       A. No. Just some trial testimony
      6   don't remember the particular model but -- and I      6   that's scheduled.
      7   gave a deposition related to the injuries caused      7       Q. And that trial testimony would
      8   by, but I was mainly talking in this case about       8   include -- or let me back -- let me back up.
      9   some of the regulatory oversight for 510(k)           9             Other than talc cases, do you have
     10   devices at FDA. I was working on behalf of           10   any planned trial testimony in 2021?
     11   plaintiffs that had filed injury cases, and this     11       A. I have --
     12   actually may have been someone who died. I'm not     12               MS. PARFITT: Where you've
     13   sure.                                                13        been disclosed.
     14        Q.     Do you recall where that case was        14               THE WITNESS: Yeah.
     15   located?                                             15   BY MR. HEGARTY:
     16        A.     What state? I don't know. I can't        16       Q. Where you've been disclosed, yes.
     17   tell you that. I don't recall.                       17       A. Yeah. Yeah. Yeah.
     18        Q.     Would you turn --                        18             So, no, I have dates on my calendar
     19        A.     Could be -- this could be one that       19   for upcoming trials in several IVC filter cases,
     20   settled. So I just don't -- I don't recall.          20   and I have an upcoming trial testimony scheduled
     21        Q.     Would you turn over to page 7,           21   in November for Taxotere.
     22   please. Towards the top, there's a reference to      22       Q. What defense firm represents the
     23   McDermott case.                                      23   defendant in the IVC filter cases?
     24             Can you provide any more details           24       A. Oh, a lot of different defense

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      1   about that case name besides the McDermott case?      1   firms. I can't tell you. I'm trying to think
      2        A. So that I believe was also an IVC             2   who -- I'm trying to think of his name.
      3   filter case, and I'd have to dig out to get you       3        Q. Is there a national counsel?
      4   which company was involved. It may have -- it was     4        A. Yeah, I'm sure there -- well, there
      5   -- it would have either been Rex Argon, Cook          5   is for Cordis. I'm not sure on Rex Argon. It's a
      6   Medical, or Cordis.                                   6   company based out -- all the cases are coming out
      7        Q. Okay.                                         7   of Philadelphia because they're a Pennsylvania
      8        A. Those are the three types of                  8   firm. I'm trying to think who showed up. There
      9   devices -- those are the manufacturers of the         9   are people I don't usually see.
     10   three types of devices that I have been working      10        Q. Okay.
     11   on.                                                  11        A. They're not -- they're not like
     12        Q. Have there been any cases since 2018         12   Covington and the big firms that I sometimes see.
     13   where you have been identified or disclosed as an    13   Or like your firm. Yeah.
     14   expert witness, but where you have not given         14        Q. So you don't remember who represents
     15   deposition or trial testimony?                       15   Cordis?
     16             Besides those listed in --                 16        A. No. But if you go to the
     17        A. Well, I --                                   17   depositions, obviously if you pull the
     18        Q. -- Exhibit 3.                                18   depositions, you'll -- you'll -- they will all be
     19        A. Yeah. So I'm sure that I have been           19   listed there.
     20   designated in other talc cases, for example. That    20               MR. HEGARTY: I'm going to
     21   for sure, and I'm sure there's other IVC filter      21        mark next as Exhibit 4 a copy of at least
     22   cases. Those are the two areas of litigation that    22        one of the more recent CVs of yours.
     23   are what I call active right now where I know that   23               (Document marked for
     24   there are trials upcoming and that there hasn't      24        identification as Plunkett Exhibit 4.)


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                                                Page 50                                                   Page 52
      1   BY MR. HEGARTY:                                       1        Q.     Did that presentation touch on any
      2        Q. Would you look at that and tell me            2   of the matters or opinions that you have in your
      3   whether that is, I guess, the -- the more recent      3   MDL reports?
      4   CV of yours with one update needed; is that           4        A.     It did touch -- I did use -- I did
      5   correct?                                              5   talk or was asked questions, actually, by the
      6        A. That's correct. Yes.                          6   students about talc and ovarian cancer. So, yes.
      7        Q. What is that update?                          7   I don't think I had a slide on that, but it came
      8        A. So on page 3 -- oh, no. This one              8   up because the students were -- had seen --
      9   actually has it. No. This one is good. (Laugh).       9   obviously in the press they see things, and they
     10   It has it on page 3.                                 10   were very interested in sort of topical nature of
     11             I was looking for one that has the         11   the kinds of things that are out there that deal
     12   listing for "President, Society of Toxicology,       12   with the issue of reproductive toxicology.
     13   Risk Assessment Specialty Section." So this one      13        Q.     Who invited you to give that
     14   is an updated one. So you have it.                   14   lecture?
     15        Q. Okay. Good.                                  15        A.     Judith Zelikoff. She's -- I met her
     16             So Exhibit 4 is your current               16   through the Society of Toxicology. We were both
     17   curriculum vitae?                                    17   on the nominating committee several years ago and
     18        A. That's correct.                              18   became friends, and I like to lecture and she's
     19        Q. You can keep that in front of you.           19   happy to bring people in from outside.
     20        A. All right.                                   20        Q.     Do you know that she's also a
     21        Q. Your curriculum vitae includes all           21   plaintiff's expert in the MDL?
     22   of your publications; is that correct?               22        A.     I do now. It's funny. When she and
     23        A. Yes.                                         23   I first met and I agreed to work with her, I did
     24        Q. It also includes all of your                 24   not know that, but yes.

                                                Page 51                                                   Page 53
      1   abstracts and presentations?                          1       Q. You mentioned that you knew her
      2       A. Yes.                                           2   before being invited --
      3       Q. If you turn over to page, I think,             3       A. Yes.
      4   7, there's a couple abstracts listed there since      4       Q. -- to this lecture?
      5   2019. They are actually dated 2021.                   5       A. That's correct. Yes. Through the
      6             What did those pertain to?                  6   Society of Toxicology.
      7       A. They're presentations that I gave at           7       Q. Paragraph 2 lists another
      8   two different meetings on the issues of regulatory    8   presentation.
      9   and commercialization issues with CBD products.       9            What did that -- I'm sorry. That's
     10   Cannabidiol is abbreviated CBD.                      10   the one we'll talk about here in a moment. I
     11       Q. Would you turn over to the                    11   meant paragraph number 3.
     12   presentations list on page 13. You have a couple     12            What did that lecture concern?
     13   presentations listed there in paragraphs 1 and 2     13       A. So that was a general lecture again,
     14   where you were invited lecturer first at NYU.        14   and she had a different course on risk assessment
     15             What did that lecture involve?             15   that year, and that course she asked me to speak
     16       A. It was a general toxicology lecture           16   about my experience with risk assessment for
     17   in a course that is held -- it's part of their       17   pesticides. And so I called it "Pesticide
     18   master's program at NYU and I was -- my lecture      18   Toxicology" being that recently that was -- that's
     19   was a general topic of reproductive toxicology.      19   the underpinning of the risk assessment. It's
     20   In other words, how do you test for it. Examples     20   done for registration of pesticides in the U.S.
     21   of reproductive toxicants. What kinds of injuries    21   You have to do a series of toxicological
     22   can be seen in people that may be harmed by          22   evaluations.
     23   something that attacks the parts of the              23       Q. This was, again, through
     24   reproductive system.                                 24   Dr. Zelikoff?


                                                                              14 (Pages 50 to 53)
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                           Laura M. Plunkett, Ph.D, D.A.B.T.
                                                Page 54                                                   Page 56
      1        A. Yes, exactly. Different course, but           1        On talc and those kinds of things, no.
      2   yes.                                                  2   BY MR. HEGARTY:
      3        Q. You mentioned that with regard to             3       Q. And since your deposition in
      4   the presentation that's listed in paragraph           4   December 2018 in the MDL, have you written -- have
      5   number 1 you did prepare a PowerPoint presentation    5   you published any article where you discussed any
      6   for that?                                             6   of these topics: talc, ovarian cancer, asbestos,
      7        A. Yes.                                          7   heavy metals, silica, or fragrances?
      8        Q. How about the presentation mentioned          8       A. No, not in a -- in an article, no.
      9   in paragraph number 3?                                9       Q. You mentioned earlier that you
     10        A. Yes, I did for that one as well.             10   had -- or let me strike that.
     11        Q. Since your --                                11             You identified in recent testimony a
     12        A. I should also tell you. I didn't             12   committee of the EPA to which you self-nominated
     13   put this on here. In number 1, that was actually     13   in 2020.
     14   a virtual presentation because we weren't allowed    14             Do you recall that testimony?
     15   to travel. So the 2019 one I actually traveled up    15       A. Yes, I do.
     16   to New York City, but that one was a virtual         16       Q. Can you identify for me any other
     17   presentation.                                        17   committees that you are nominated for either
     18        Q. Since your MDL deposition in                 18   yourself or by others to which you were not
     19   December of 2018, have you given any presentations   19   selected?
     20   to any group besides the FDA presentation where      20       A. Not since -- not since my last
     21   talc was discussed and this presentation that we     21   deposition. If you're limiting it to that time
     22   just talked about at NYU?                            22   period, that would have been the only example. In
     23        A. Uh-huh. I don't believe so, no.              23   the past, I have volunteered for committees at EPA
     24        Q. Same question as to ovarian cancer.          24   and may not have been chosen, but I don't -- I


                                                Page 55                                                   Page 57
      1       A.      I don't believe, other than the           1   don't have a list of those. So I can't tell you
      2   reproductive toxicology, no.                          2   that.
      3       Q.      Same question as to asbestos.             3       Q. Okay. With regard to the EPA
      4       A.      No, I don't believe I touched on          4   committee to which you were not selected in 2020,
      5   asbestos, actually, in those -- in that               5   do you have any documentation from -- remaining
      6   presentation -- either of those -- those lectures.    6   from your submission or from comments back or from
      7       Q.      Same question as to heavy metals.         7   any correspondence?
      8       A.      I did speak to heavy metals with          8       A. The only documentation, there was a
      9   reproductive toxicology because there's enough --     9   document marked as an exhibit at trial that had
     10   there's several that deal with -- you have to deal   10   the summary that I wrote. That summary was
     11   with that issue.                                     11   actually something that I wrote and that EPA put
     12       Q.      Since your MDL deposition in             12   into the -- the docket, I guess, to describe who
     13   December 2018, have you given any presentations      13   was being nominated.
     14   for any group where silica was discussed?            14             I may have an e-mail because I know
     15       A.      I don't believe so, no.                  15   I got an e-mail in maybe late 2020, early 2021
     16       Q.      How about where fragrances were          16   saying that I had not been chosen, but they were
     17   discussed?                                           17   keeping my credentials on record for further
     18       A.      Don't think so, no.                      18   committees that may come up.
     19       Q.      Do you have any presentations            19       Q. Other than possibly an e-mail, do
     20   planned through the rest of 2021 or 2022 regarding   20   you have any other documents related to the
     21   any of the topics I just covered?                    21   nomination for or response by this EPA committee
     22                 MS. PARFITT: Objection.                22   in 2020?
     23                 THE WITNESS: Other than                23       A. No, I do not.
     24        trial testimony, no, I don't believe so.        24       Q. Since your MDL deposition in 2018,


                                                                              15 (Pages 54 to 57)
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                           Laura M. Plunkett, Ph.D, D.A.B.T.
                                                Page 58                                                   Page 60
      1   have you discussed your opinions in your June 2021    1   go from making that call to actually being listed
      2   MDL report with any colleague or group not            2   as a presenter?
      3   involved in the litigation that we have not           3       A. So I had to be --
      4   discussed already?                                    4                MS. PARFITT: Objection.
      5               MS. PARFITT: I'm going to                 5        Form.
      6        object to the form.                              6                THE WITNESS: All I know is I
      7               If you could, you're free to              7        know I had to request. I had to send
      8        answer.                                          8        in -- on the website for the FDA, they
      9               THE WITNESS: Other than --                9        had you send in your name and your
     10        other than confidential discussions with        10        request and what you want to talk about.
     11        attorneys, no. If you're asking me about        11        So I sent that in myself and I was
     12        scientists outside of, no, I haven't. I         12        given -- what was it? -- five minutes
     13        haven't done that.                              13        during the public comment period to
     14   BY MR. HEGARTY:                                      14        present.
     15       Q. You mentioned earlier that you                15   BY MR. HEGARTY:
     16   appeared at the February 4, 2020 FDA meeting,        16       Q. Do you still have what you sent to
     17   correct?                                             17   FDA in some electronic or document form?
     18       A. Yes.                                          18       A. You mean my -- my PowerPoint
     19       Q. Did you hear about this meeting on            19   presentation?
     20   your own?                                            20       Q. No, I'm sorry. What you submitted
     21       A. I do believe I saw it in the Federal          21   to FDA --
     22   Register on my own. I don't know whether, though,    22       A. Oh, the ask.
     23   I had been told about it first by the attorneys      23       Q. -- to be put on the -- on the
     24   that are involved in litigation, but I did see it    24   speaker list.


                                                Page 59                                                   Page 61
      1   on my own as well. I get what I call daily            1       A.     I might. I might. I'm sure I have
      2   newsletters where those kinds of things show up       2   the e-mail still. I believe I did send a little
      3   from the FDA world, and so it was -- it was posted    3   bio sketch of who I am. So I probably do have
      4   and made available on those newsletters.              4   that.
      5       Q.     How did you come to speak at that          5       Q.     Did you get a response back from FDA
      6   presentation?                                         6   to which you still have a copy of?
      7       A.     Well, I actually -- I actually             7       A.     I got the e-mail back saying you --
      8   called the attorneys and let them know that I was     8   you can present during the public meeting. You're
      9   interested in doing so, and so actually I -- that     9   one of so many. This is how many minutes you
     10   was on my own dime. I paid my own way to go          10   have. Maybe it was three minutes. I don't
     11   and -- and developed my own comments in order to     11   remember, but it was a very small amount of time
     12   present at the meeting. I wanted it to be            12   that everybody was given to -- to present.
     13   Dr. Plunkett, not Dr. Plunkett through another --    13       Q.     Do you still have that e-mail?
     14   another body.                                        14       A.     I possibly do on that. That's
     15       Q.     You mentioned that you communicated       15   probably in my archives, yes.
     16   with the attorneys about going.                      16       Q.     But you had actually requested by
     17             What attorneys?                            17   contacting FDA to speak at that FDA meeting?
     18       A.     I believe I spoke with Mr. Meadows,       18       A.     Yes. Yes, that was the -- that was
     19   Ms. O'Dell, and maybe Ms. Parfitt was on the         19   the -- what was -- what was told -- that's what
     20   phone. I don't recall, but I did -- they would --    20   you were told to do at the website. If you wanted
     21   I called them. Obviously I wouldn't have done it     21   to speak, to send this in.
     22   without letting them know that I was doing that      22       Q.     Did you understand that this was a
     23   and that I had an interest in doing that.            23   public meeting where anyone could appear?
     24       Q.     To the extent you know, how did you       24       A.     Yes. Well, within limits of the


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                           Laura M. Plunkett, Ph.D, D.A.B.T.
                                                Page 62                                                   Page 64
      1   time that they had set aside. That was my             1               THE WITNESS: So Ms. O'Dell
      2   understanding.                                        2        was there. Mr. Meadows was there.
      3       Q. Other than sending in the                      3        Ms. Parfitt I believe. Maybe you were
      4   required -- requested information via the website,    4        there. I think so. Mr. Beattie, were
      5   did FDA ask you for any additional information?       5        you there? I can't recall.
      6       A. I don't recall. I don't believe so,            6   BY MR. HEGARTY:
      7   no, once -- once that you were told you could and     7        Q. Only who you can recall.
      8   you were given the time period.                       8        A. Yeah. Okay. So those three for
      9       Q. Did you meet with any lawyers for              9   sure. And then there were some other people there
     10   the plaintiff in the talc litigation about your      10   that I have recognized from the past, but I just
     11   testimony that you were going to provide at that     11   remember going into the room and seeing people
     12   meeting?                                             12   that I recognized from when I used to live in DC,
     13       A. I notified them and provided them a           13   but a specific name I can't tell you.
     14   copy of the slides I was going to present, yes, so   14        Q. Did -- other than I think you
     15   they had an understanding of what I was going to     15   mentioned having coffee with Ms. O'Dell before the
     16   do.                                                  16   meeting, did you meet with or had communications
     17       Q. Did they provide to you revisions or          17   with any other plaintiff's attorney in the talc
     18   comments or suggestions as to your slide deck?       18   litigation before the meeting about your
     19       A. No revisions, no. I mainly got                19   testimony?
     20   feedback, general feedback that -- that it was       20               MS. PARFITT: Objection.
     21   fine.                                                21               THE WITNESS: No. I had
     22               MS. PARFITT: Objection.                  22        conversations about I'm going. I'm going
     23               THE WITNESS: You know,                   23        to be staying here. Where are you
     24        essentially, I mean, it was -- there was        24        staying? Because we did get together for


                                                Page 63                                                   Page 65
      1        no -- there was no give-and-take. There          1        a dinner or a meal after the -- after the
      2        was no -- there was no change as to the          2        -- after the hearing.
      3        slides made at the request of the                3   BY MR. HEGARTY:
      4        attorneys.                                       4       Q. Who did you get together for a
      5   BY MR. HEGARTY:                                       5   dinner or a meal after the meeting?
      6       Q. Ms. Leigh O’Dell was at the meeting,           6       A. Ms. O'Dell, Mr. Meadows,
      7   correct?                                              7   paralegal -- a couple paralegals. I think that
      8       A. She did. She presented, yes.                   8   there was -- there was at least one or two of the
      9       Q. Did you meet or talk with her                  9   plaintiffs, the clients of the law firms were
     10   beforehand about the meeting?                        10   there. And I think at least one of them presented
     11       A. Only -- not about the specifics of            11   and I -- and I'd have to go back and look for the
     12   the meeting, but yes, she was there. We had          12   names. I apologize.
     13   coffee together. There were other people from --     13       Q. Did -- did you pay for your own
     14   attorneys I've worked with that were at the          14   lunch or meal?
     15   meeting, but so I did see them there. I just         15       A. Yes. I paid all my expenses and --
     16   didn't -- we did not -- we did not discuss any       16   and my hotel and my plane and all of that, yes.
     17   particular issues related to what I was going to     17       Q. That would include the dinner that
     18   be presenting, other than the time period I had.     18   you had?
     19       Q. You mentioned that you saw other              19       A. Oh, some -- you know what? They may
     20   attorneys there that you knew.                       20   have picked up the cost for the dinner afterwards.
     21             What other attorneys did you know          21   I don't recall. I believe, though, but I did -- I
     22   that were there?                                     22   did pay my -- all my other expenses. That one I
     23                MS. PARFITT: Objection.                 23   don't recall whether I threw my credit card down
     24        Form.                                           24   or not. I can't tell you.


                                                                              17 (Pages 62 to 65)
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                           Laura M. Plunkett, Ph.D, D.A.B.T.
                                               Page 66                                                   Page 68
      1       Q. And when you say you paid for it              1       A. I did.
      2   with your own -- your own money, does that mean      2       Q. Other than what you talked about
      3   you didn't bill that money?                          3   with regard to providing this to counsel for
      4       A. No. Yeah.                                     4   plaintiffs in the talc litigation, did any lawyer
      5       Q. You billed those expenses or that             5   for plaintiffs in the talc litigation assist you
      6   time?                                                6   in preparing this PowerPoint presentation?
      7       A. No. It was an expense for my                  7                MS. PARFITT: Objection.
      8   company and me personally at the time.               8        Asked and answered.
      9       Q. There were six other plaintiff's              9                THE WITNESS: No.
     10   experts who spoke at that meeting.                  10   BY MR. HEGARTY:
     11             Did you meet or talk with any of          11       Q. Did anyone besides yourself assist
     12   them?                                               12   you in preparing the PowerPoint?
     13       A. I saw them at the meeting, but I did         13                MS. PARFITT: Objection.
     14   not, and a couple of them may have been at the      14        Asked and answered.
     15   dinner afterwards or the meal afterwards, and I     15                THE WITNESS: My husband made
     16   don't even know if it was dinner. It may have       16        them look pretty. The slides. So, yes.
     17   been a lunch meeting afterwards, but yes.           17        He does formatting for me. So he would
     18       Q. Do you remember their names?                 18        have assisted with that.
     19       A. I believe Dr. Godleski was there,            19   BY MR. HEGARTY:
     20   and I don't know. That's the one I recall.          20       Q. With regard to the slide that says
     21       Q. Did you ride with any attorney for           21   "Fibers in Talc Body Powders"?
     22   plaintiffs in the talc litigation to the hearing?   22       A. The one that says "Publicly
     23                MS. PARFITT: Objection.                23   Available" right here?
     24                THE WITNESS: We stayed in              24       Q. Correct.


                                               Page 67                                                   Page 69
      1        different hotels. So my guess is no. I          1        A. Yes.
      2        know I did not ride there, but I                2        Q. Which of the studies that you list
      3        certainly did leave the meeting in Ubers        3   found what you call -- what you would call fibrous
      4        with other people, yes. Or I shouldn't          4   talc?
      5        say Uber. That's kind of an                     5        A. I'd have to -- well, I have it here.
      6        advertisement. In a cab. (Laugh).               6   The ones where it says an F. So all of these.
      7   BY MR. HEGARTY:                                      7   The Pooley and Rowlands says F, Rohl, Paoletti,
      8        Q. Okay. Fair enough.                           8   Blount and Anderson, and as well as the FDA Safety
      9        A. Afterwards. I was headed back into           9   Alert document.
     10   the city. I didn't leave the city until the next    10        Q. Would you turn to the next page with
     11   day.                                                11   the heading "Fiber Toxicity and Carcinogenicity."
     12               MR. HEGARTY: You mentioned a            12        A. Yes.
     13        moment ago that you prepared a PowerPoint      13        Q. Was this a slide that you had used
     14        for that presentation. I'm going to show       14   in litigation that you modified for this
     15        you what I marked as Exhibit No. 5.            15   presentation?
     16               MS. PARFITT: Thank you, Mark.           16                 MS. PARFITT: Objection.
     17               (Document marked for                    17                 THE WITNESS: No. It's a
     18        identification as Plunkett Exhibit 5.)         18         slide that I made based on my research in
     19   BY MR. HEGARTY:                                     19         the litigation, yes, some of this, and
     20        Q. Would you look at Exhibit No. 5 and         20         then these -- but these slides were made
     21   tell me whether that is the PowerPoints you used    21         for this purpose only.
     22   for that presentation.                              22                 I have -- I don't believe I've
     23        A. Yes, it is.                                 23         used any -- well, the only thing that
     24        Q. And did you prepare this PowerPoint?        24         might be similar to something that's been


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                           Laura M. Plunkett, Ph.D, D.A.B.T.
                                                Page 70                                                  Page 72
      1         shown at a trial would be the baby powder      1       A. And I sent that in after the
      2         bottle language.                               2   meeting, I believe, yes.
      3   BY MR. HEGARTY:                                      3       Q. Did you provide in advance of the
      4        Q. Okay. Would you turn to the one --           4   meeting the written statement to lawyers for the
      5   the slide that says "Fiber Toxicity and              5   plaintiffs in the talc litigation?
      6   Carcinogenesis."                                     6                MS. PARFITT: Objection.
      7              Was this a slide that you had used        7                THE WITNESS: I don't think
      8   in litigation that you modified for this             8        so, no. I did give it to them, though,
      9   presentation?                                        9        with the slides after the meeting, yes.
     10        A. Yes.                                        10   BY MR. HEGARTY:
     11        Q. If you know.                                11       Q. Did you write the written statement
     12        A. Yeah. Yeah, I did. I mean, this             12   yourself?
     13   was something that I modified for the -- for the    13       A. Yes, I did.
     14   purposes of here. You'll notice that some of this   14       Q. Did anyone assist you in writing
     15   is similar in terms of the -- I think I had this    15   that written statement?
     16   slide looks more like a stepdown PowerPoint that    16       A. No, that I would have typed up
     17   I've used at trial.                                 17   myself.
     18        Q. Did you modify this PowerPoint slide        18       Q. Other than providing your written
     19   by adding "fibers" to it whereas before it said     19   statement after the meeting to FDA, have you had
     20   "particles"? If you know.                           20   any contact with FDA with regard to that meeting
     21        A. Well, I certainly did put "fibers"          21   in any respect?
     22   on here and particles and fibers. So, yes. I        22       A. No. Although I continue to look at
     23   mean, I would have modified it for that in that     23   their website to look for what they are doing, and
     24   way, yes.                                           24   I haven't seen them -- seen the FDA make public

                                                Page 71                                                  Page 73
      1       Q. If you turn over to slide 8, the              1   any additional work from their internal work that
      2   Bibliography in Support of Plunkett Slide 8.         2   I believe that they are doing based upon what they
      3            Do you see that, Doctor?                    3   do say on the website.
      4       A. I do.                                         4             They say they're looking at certain
      5       Q. Do any of the studies listed on this          5   things, but I haven't -- I haven't seen anything
      6   slide refer to fibrous talc?                         6   else made public. And I have not called the
      7       A. So you asked me do they use the word          7   Office of Cosmetics, for example, to ask when to
      8   "fibrous talc" or do they use the word "talc         8   expect anything, no.
      9   fibers" or are you asking me --                      9       Q. Have you had any contact with FDA
     10       Q. First of all my question would just          10   about talc or asbestos other than this one
     11   be "fibrous talc," those two words.                 11   meeting?
     12       A. I don't know. I'd have to go back            12                MS. PARFITT: Objection.
     13   and look. I mean, some of them I don't believe      13        Form.
     14   would, but, I mean, some of the others may.         14                THE WITNESS: I'm thinking
     15       Q. With regard to the presentation that         15        back to the SOT meeting in 2019, which
     16   you gave that day, did you read from a written      16        was the last in-face meeting. There
     17   statement?                                          17        were, indeed, I did, indeed, talk to a
     18       A. I had prepared a written statement,          18        number of people at the meeting about
     19   but I had less time than I thought I would. So I    19        presentations on talc and fibers and
     20   believe -- when I got up there, if I remember       20        elongated mineral particles, and I can't
     21   correctly, I just talked from my slides, which is   21        tell you if any of them were FDA or not.
     22   what I typically do. But there was -- I did have    22        I don't know. I'd have to go back and
     23   a written statement prepared, yes.                  23        look.
     24       Q. Did you --                                   24   BY MR. HEGARTY:


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                           Laura M. Plunkett, Ph.D, D.A.B.T.
                                                Page 74                                                   Page 76
      1       Q.      What is this SOT meeting?                 1   one, but it was triggered by the finding of
      2       A.      Society of Toxicology. So it's an         2   asbestos in Johnson & Johnson's baby powder.
      3   annual meeting held where 15,000 toxicologists get    3   That's my understanding when you read what the
      4   together and talk about fun things.                   4   meeting announcement was about.
      5       Q.      Do you recall if you did give or          5       Q.      And with regard to that February
      6   have discussions with anyone at that meeting about    6   2020 meeting, you agree that you are not an expert
      7   talc or asbestos?                                     7   on the testing of talc for asbestos, correct?
      8                MS. PARFITT: Objection.                  8       A.      No, I don't. I don't do that kind
      9        Form.                                            9   of testing myself. I have expertise in -- in
     10                THE WITNESS: I did have                 10   interpreting data from types test, but I don't do
     11        conversations with different scientists         11   those tests myself.
     12        because there were several posters at the       12       Q.      You're not an expert on the methods
     13        meeting and so, yes, I did. I just --           13   used by Dr. Longo or Dr. Rigler to test talc for
     14        I'd have to go back and look at my              14   asbestos, correct?
     15        program in order to tell you which ones I       15                MS. PARFITT: Mark, I would
     16        went to. And off the top of my head --          16        just object to the extent that those
     17        that's been a couple years ago -- I don't       17        questions had previously been asked --
     18        recall the exact people who I spoke with.       18                MR. HEGARTY: Okay. All
     19   BY MR. HEGARTY:                                      19        right.
     20       Q.      That was going to be my next             20                MS. PARFITT: -- in 2018 and
     21   question.                                            21        '19 and '20 and '21. Thank you.
     22             Do you recall any of the scientists        22   BY MR. HEGARTY:
     23   that you spoke with at that meeting?                 23       Q.      At the 2020 meeting, you didn't
     24       A.      Anybody who had a presentation on        24   represent yourself as an expert on TEM, SEM, or

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      1   talc and asbestos or asbestos and talc or powders     1   XRD, correct?
      2   or elongated mineral particles, I made a point of     2        A. No. My comments were not directed
      3   going to those sessions if they didn't conflict.      3   to that specific topic, and there were others that
      4   In other words, sometimes, unfortunately, the         4   did that. That is correct.
      5   meeting is large and a poster session presenter is    5        Q. Since your MDL deposition in 2018,
      6   at the same time as a platform, and I may not get     6   have you had any communications with Health Canada
      7   to speak to the person in person.                     7   regarding any talcum powder products?
      8       Q. Do you have any planned                        8        A. I participated in a virtual press
      9   presentations or meetings with FDA regarding talc     9   conference that Health Canada held after they
     10   or asbestos?                                         10   released their -- their final risk assessment. So
     11               MS. PARFITT: Objection.                  11   I didn't -- I didn't speak up orally at the
     12        Form.                                           12   meeting, but they were there and they were on the
     13               THE WITNESS: As I sit here               13   phone. I could have -- could have spoken up.
     14        right now, no.                                  14   They did -- they did ask questions. It was
     15   BY MR. HEGARTY:                                      15   mainly, though, for the -- I believe it was to
     16       Q. The focus of the FDA's meeting in             16   invite the press to ask questions.
     17   February 2020 was on testing for asbestos,           17        Q. Any other communication with Health
     18   correct?                                             18   Canada since your deposition in December 2018
     19       A. Well, it was actually focused -- it           19   besides that one?
     20   was part of that, but the topic at the meeting was   20        A. Not on talc, no. I have interacted
     21   the toxicity of elongated mineral particles as       21   with Health Canada for some of my clients on other
     22   well. There were presentations done by government    22   issues.
     23   scientists on that general issue. So particles       23        Q. Have you communicated with any
     24   and fibers, the mineral fibers, which asbestos is    24   foreign regulatory authority about talcum powder


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      1   since your December 2018 MDL deposition?              1       have that information.
      2       A. Other than the meeting at FDA, no.             2   BY MR. HEGARTY:
      3       Q. Have you spoken to any expert in               3       Q. Do you know whether any of the MDL
      4   these cases -- the MDL, the Swann case -- about       4   plaintiffs saw any Johnson's Baby Powder or Shower
      5   their amended MDL reports or disclosures in the       5   to Shower advertisements prior to purchasing the
      6   Swann case?                                           6   product?
      7       A. No.                                            7                MS. PARFITT: Same objection.
      8       Q. Have you spoken to any of the MDL              8                THE WITNESS: Same answer. I
      9   plaintiffs or their family, that is, the              9       couldn't answer those questions. I'm not
     10   plaintiffs identified for the bellwether cases in    10       familiar with any of their testimonies or
     11   the MDL?                                             11       their statements.
     12       A. No.                                           12   BY MR. HEGARTY:
     13       Q. Do you know the names of the                  13       Q. Do you know whether any of the MDL
     14   plaintiffs in the cases selected for the trials in   14   plaintiffs had a BMI over 30 or were considered
     15   the MDL?                                             15   overweight?
     16                MS. PARFITT: Objection.                 16                MS. PARFITT: Mr. Hegarty, to
     17        Form.                                           17       the extent all these do go to
     18                THE WITNESS: Off the top of             18       case-specific issues, and I know we have
     19        my head, I don't. I may actually have           19       limited time. So I'm actually trying to
     20        heard those names before in filings --          20       help you on that.
     21        seen them in filings, but no, I can't           21                MR. HEGARTY: Right.
     22        tell you who they are.                          22                MS. PARFITT: She does not
     23   BY MR. HEGARTY:                                      23       have -- so I'll make a representation.
     24       Q. Do you know where any of the                  24       She's here as a general -- a general


                                                Page 79                                                   Page 81
      1   named -- any of the plaintiffs named in the -- let    1        expert witness and has no information
      2   me strike that.                                       2        about the case-specific. So to some
      3             Do you know the names of any of the         3        extent you may be using up your time for
      4   -- strike that.                                       4        information she doesn't have.
      5             As to any of the plaintiffs named in        5                MR. HEGARTY: Well, and I can
      6   the MDL bellwether cases, do you know where they      6        explain. I think there can be arguments
      7   lived?                                                7        made about whether certain testimony that
      8                MS. PARFITT: Objection.                  8        might relate to advertisements generally
      9         Dr. Plunkett is here as a general expert        9        as it pertains to these plaintiffs may
     10         witness and would not have any                 10        become relevant where you might argue
     11         familiarity with the specifics of the          11        that --
     12         cases.                                         12                MS. PARFITT: Sure.
     13                MR. HEGARTY: I know. I just             13                MR. HEGARTY: -- testimony
     14         need that -- I just need that from her.        14        about an ad that the plaintiff didn't see
     15                THE WITNESS: No, I'm not a              15        is relevant. So -- and Dr. Plunkett does
     16         case-specific expert. I don't know their       16        provide testimony about advertisements.
     17         names or where they live, no.                  17        So that's where I'm coming from.
     18   BY MR. HEGARTY:                                      18                MS. PARFITT: Sure, but I am
     19        Q. Do you have any knowledge of each of         19        just trying to make it easier for us for
     20   the plaintiffs use of Baby Powder or Shower to       20        the four hours that you have --
     21   Shower?                                              21                MR. HEGARTY: Right.
     22                MS. PARFITT: Same objection.            22                MS. PARFITT: -- that she has
     23                THE WITNESS: Same answer.               23        been provided no information with regard
     24         No, I'm not case-specific. So I do not         24        to any of the MDL witnesses or bellwether


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      1        cases. Absolutely none.                          1   which we will go ahead and mark as --
      2   BY MR. HEGARTY:                                       2                MS. PARFITT: And for ease,
      3        Q.     So is it correct, Dr. Plunkett, that      3        Mark, we have a copy of it in front of
      4   you've been provided no information about any of      4        her.
      5   the MDL plaintiffs; is that correct?                  5                THE WITNESS: You want to mark
      6        A.     That's correct.                           6        this?
      7        Q.     Is it also correct that you have not      7                MR. HEGARTY: Okay. I'm
      8   been provided any information about Ms. Swann in      8        trying to get rid of some of the copies
      9   the Swann case?                                       9        that I brought.
     10        A.     That's correct.                          10                MS. PARFITT: That's okay. We
     11        Q.     That would include anything about        11        can hold on to them.
     12   their demographics or their physical health or       12                MR. HEGARTY: I'm going to
     13   even their race?                                     13        mark as Exhibit No. 6 a copy of your
     14        A.     No. The only thing I know -- the         14        June 30, 2021 MDL report, amended MDL
     15   only thing I am aware of by their name whether       15        report.
     16   they're women (laugh), and obviously the one         16                (Document marked for
     17   question I always ask attorneys when I start         17        identification as Plunkett Exhibit 6.)
     18   litigation is, these are all cases about ovarian     18   BY MR. HEGARTY:
     19   cancer? Yes. Yes, that's what I know, but I          19       Q. Would you just take a quick look at
     20   don't know the specific women's cancer or when it    20   that and tell me whether that does appear to be
     21   occurred or any of those kinds of things.            21   your June 30, 2021 amended MDL report?
     22        Q.     Do you know of any testing that was      22       A. Yes, it is.
     23   done on either their tissues or any of the product   23       Q. And do you have a copy of that
     24   that they used?                                      24   report in front of you?


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      1               MS. PARFITT: Objection.                   1       A. I do. I don't know that I have all
      2               THE WITNESS: In the MDL?                  2   the appendices, though. You have all the
      3        No, I do not.                                    3   appendices.
      4   BY MR. HEGARTY:                                       4       Q. Did you make any notations or
      5       Q. In the MDL.                                    5   writing on the copy that's sitting in front of
      6             And I was going to ask you                  6   you?
      7   particularly about any testing that Dr. Godleski      7       A. No, I do not.
      8   has done.                                             8       Q. If I looked through that, I wouldn't
      9             Are you familiar -- are you aware of        9   see anything different than what I marked as
     10   any of the testing he has done as to the MDL         10   Exhibit No. 6?
     11   plaintiffs?                                          11       A. Other than it does not have the
     12               MS. PARFITT: Same objection.             12   appendices pages. I have the title page
     13               THE WITNESS: No, I am not.               13   "Appendix C," but I didn't bother to kill the tree
     14        I am not aware.                                 14   (laugh) to print out all those pages, but yes.
     15   BY MR. HEGARTY:                                      15       Q. And with regard to the -- do you
     16       Q. Okay. Same question as to                     16   have anything else in the notebook in front of you
     17   Ms. Swann.                                           17   besides the amended MDL report?
     18             Do you know of any testing that            18       A. I have the original MDL report.
     19   Dr. Godleski did as to Ms. Swann's tissues?          19   That one actually does have appendices with it. I
     20               MS. PARFITT: Same objection.             20   have the Health Canada final screening assessment,
     21               THE WITNESS: Same answer.                21   and I have the Taher paper that's referred to,
     22        No, I do not.                                   22   which actually is not new since, but certainly I
     23   BY MR. HEGARTY:                                      23   brought that because it is discussed within the
     24       Q. With regard to your MDL report,               24   Health Canada assessment.


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      1                MR. HEGARTY: You mentioned               1   PubMed documents.
      2        your prior MDL report, and I'm going to          2       Q.      Do you recall what search terms you
      3        mark as Exhibit No. 7 your November 16,          3   used in the PubMed search?
      4        2018 MDL report.                                 4       A.      Sure. PubMed I was just very
      5                (Document marked for                     5   general because I do those -- those searches about
      6        identification as Plunkett Exhibit 7.)           6   every four or five months. I did just did "talc"
      7   BY MR. HEGARTY:                                       7   and then I just looked -- I organize it
      8        Q. Is that the initial MDL report that           8   chronologically and I just looked at things since
      9   you prepared for the MDL?                             9   the last time I had -- I had done -- done research
     10        A. Yes, that's correct.                         10   or done a search.
     11                MR. HEGARTY: I'm going to               11       Q.      When you say "looked at things," how
     12        next mark as Exhibit No. 8 a supplemental       12   do you go about looking at this, the search
     13        expert report dated August 29, 2018.            13   results that you get from that broad of a search?
     14                (Document marked for                    14       A.      So I start -- I do it on my
     15        identification as Plunkett Exhibit 8.)          15   computer. I start with the titles and the
     16   BY MR. HEGARTY:                                      16   authors. I look at what's there and then I click
     17        Q. Can you tell me what that document           17   to the abstract, if there is one available. The
     18   is?                                                  18   good thing since the pandemic is almost every
     19        A. So this was a report I repaired --           19   journal provides almost every article free now.
     20   prepared before the MDL report, but after my         20              So in the -- in the research that I
     21   initial report in litigation, which I believe        21   did before the amended MDL report, in addition to
     22   was --                                               22   the abstract, I usually almost always able to see
     23                MS. PARFITT: Thank you, Mark.           23   the full article.
     24                THE WITNESS: -- in 2016 based           24       Q.      Is the time that you spent doing

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      1        on having -- having additional documents         1   that search reflected in the invoices that we
      2        that were reviewed. Well, some of it was         2   marked?
      3        new discovery and then some are new              3        A. Yes. The time for review of
      4        things that I reviewed and relied upon,          4   documents before I actually prepared the report,
      5        and then some additional research that I         5   but then during that month I was preparing the
      6        had done since the original report               6   report, that would have been also looking again at
      7        looking historically back in time at             7   the -- at it to see if there's anything new in the
      8        notice and what was known to the company.        8   literature that showed up in June of 2021.
      9   BY MR. HEGARTY:                                       9        Q. Did plaintiff's counsel provide you
     10        Q. Were you asked to do anything                10   with any literature or other materials that you
     11   different in preparing your amended MDL report       11   reviewed for your 2021 amended MDL report?
     12   than you had been asked to do in preparing your      12        A. Not literature, but let me -- which
     13   original MDL report?                                 13   one is it? Number 6?
     14        A. No.                                          14        Q. Number 6.
     15        Q. Did you do any medical or scientific         15        A. Yeah. I believe there was some new
     16   literature research for your amended report?         16   deposition testimony.
     17        A. Yes.                                         17                 MR. HEGARTY: And I have a
     18        Q. What databases did you search, if            18        copy.
     19   any?                                                 19                 MS. PARFITT: Thanks, Mark.
     20        A. I searched through the PubMed                20                 THE WITNESS: Let's see. So
     21   website and then I also did -- I think I did -- I    21        if you go to page -- pages 67 through 69
     22   may have even done a Google -- just a Google query   22        in the Appendix C where there's
     23   on talc and ovarian cancer to see if there was       23        deposition testimony. If there's
     24   anything that didn't show up on the -- in the        24        deposition -- there's some depositions


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      1        here that occurred after my original MDL         1   certainly I segregate. So, for example, articles,
      2        report that would have been provided             2   when I add them to my report, those are ones that
      3        through counsel. Actually, all of these          3   I've given weight to in terms I believe they're --
      4        documents on here always were provided           4   they're relevant to the opinions I've expressed in
      5        through counsel.                                 5   the case.
      6   BY MR. HEGARTY:                                       6             But you're asking me for -- I mean,
      7       Q.     When you say "all the documents on         7   my original MDL, the deposition, we spent a lot of
      8   here," what do you mean?                              8   time with Ms. Branscome I believe her name was --
      9       A.     I mean that I have a transcript. So        9       Q. Correct.
     10   anything on the transcript page would have been      10       A. -- going through this issue.
     11   provided through counsel, and I know that there      11   There's nothing different today that I did that is
     12   are documents on here that I saw -- well, for        12   different from what I did then.
     13   example, there was one -- there were two             13       Q. And that applies to both assessing
     14   depositions of Steven Mann taken in April of 2021.   14   the strengths and weaknesses and assigning a
     15   So that's something that I didn't have, obviously,   15   weight to the articles; is that correct?
     16   in 2018, right?                                      16       A. That's correct.
     17             And then there's also, even though         17       Q. And did you do either of those in
     18   there's a 2019 Alex Gorsky deposition, there's       18   some written format in some other document besides
     19   also deposition and exhibits from trial testimony    19   in your MDL report or your amended MDL report?
     20   of Alex Gorsky in a couple of trials. So towards     20       A. No.
     21   the end of here, there's a number of things that     21       Q. Did you perform any search of
     22   are since my MDL report.                             22   company documents for your amended report?
     23       Q.     Did you request any specific              23       A. Yes, I did. I requested some
     24   depositions or were those depositions just           24   searches be done specifically on a couple of


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      1   provided to you by counsel?                           1   issues that I knew there had been additional trial
      2       A. I requested any new depositions.               2   testimony about or things I had heard about in
      3   Actually, it's a standing request. If there's any     3   transcripts or read in transcripts.
      4   new depositions in the areas I typically cover,       4             So when I asked for exhibits to
      5   for example, or someone who has given a deposition    5   trials or depositions, I asked for additional
      6   before that now gives a second deposition, another    6   searches to be done around, for example, the
      7   deposition, I ask for that.                           7   issues of asbestos in talc, some additional
      8             I also, for example, after trials           8   information or additional data. Even documents
      9   that I've been at, if I know a certain person has     9   that actually may have been in the original
     10   testified and it covers, overlaps with my area, I    10   discovery ones that I had not focused on before.
     11   may ask for that.                                    11             So I spent a little more time
     12       Q. With regard to the new literature             12   focusing on some of that just because I had seen
     13   that you identified, did you assess the strengths    13   that come up, for example, in the Forrest trial
     14   and weaknesses of each article?                      14   that I participated in and some other -- other
     15       A. Same -- same way I always do, yes.            15   depositions I participated in.
     16   I applied my -- my -- the same method I would to     16        Q. Is the document database, that is
     17   the new articles just as I did to the old            17   the document database of produced documents by
     18   articles.                                            18   Johnson & Johnson, something that you have access
     19       Q. And as to the new articles that you           19   to?
     20   cited in your amended MDL report, did you assign a   20        A. I do and I will do searches, but in
     21   weight as it relates to your risk assessment to      21   the case of this most recent searches, I asked for
     22   those new articles?                                  22   others to help me. And I say "others." I asked
     23       A. In the same way that I've done it             23   the attorneys to do searches for these kinds of
     24   before. It's not a written document, but             24   documents.


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      1       Q. So with regard to your amended MDL             1                MR. HEGARTY: Correct.
      2   report as it relates to searches across company       2   BY MR. HEGARTY:
      3   documents, you asked the lawyers to do those          3       Q. This would be in preparing your
      4   searches.                                             4   amended report.
      5             You did not do them personally?             5       A. Sure. Yes, I was looking for
      6                MS. PARFITT: Objection.                  6   documents that discussed asbestos in talc powder.
      7                THE WITNESS: Well, I was --              7   Talc powder. I also was looking for documents
      8                MS. PARFITT: Misstates her               8   that talked about corn starch, additional corn
      9       testimony.                                        9   starch documents. What the company was doing in
     10                THE WITNESS: So I gave                  10   terms of development of corn starch.
     11       directions to the attorneys on what to           11             And then I think I also searched for
     12       look for in terms of keywords as in              12   some names of individuals that I had seen given
     13       topics, but no, I did not physically do.         13   deposition testimony. I think we did -- I did
     14                But what I do do, though, is            14   some additional looking for documents from Steve
     15       I'm given a Dropbox with lots of                 15   Mann, from Steve Mann based on some of the
     16       documents in it, and then I go through           16   testimony he gave more recently but also in the
     17       those myself and determine which ones I          17   past. He's been on different e-mails documents
     18       think are relevant to add to my reliance         18   that I've relied upon and presented at trial.
     19       list.                                            19             I think we searched for -- I think I
     20                For example, if there are               20   searched for Kathleen Wille again. I think I
     21       things that show up on my reliance list          21   searched also for -- I'm trying to think who else
     22       as new, those are all things I've said           22   was in there. Mann. Wille.
     23       that I believe were ones that I would            23             Let me look again on this. I might
     24       like to have added to my Appendix C.             24   be able to tell you by looking at it.


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      1   BY MR. HEGARTY:                                       1             Those are the two I can recall. I
      2       Q. As far as the company documents that           2   mean, it's possible I also searched nettle --
      3   you have access to, is this via a hard drive?         3   Nettesheim but...
      4       A. It's computer. I mean, there's a --            4       Q. When you get the results back from
      5   the attorneys have a large database that I've been    5   the document searches, how do you go about
      6   provided access to, and I can do that myself,         6   reviewing those documents?
      7   okay? So it's all electronic, but then I can          7       A. So they're provided to -- the
      8   print out documents if I want, obviously, download    8   documents themselves are put into a Dropbox. So
      9   and print out.                                        9   where I can -- where I don't have to go physically
     10       Q. Do you know whether this database             10   to their offices. They share them electronically,
     11   that you're provided access to has been updated as   11   and then I review them. So they're put in just
     12   new documents have been produced?                    12   individual folders for me, Dr. Plunkett's request
     13       A. It's my understanding, yes, and               13   or whatever and the date.
     14   that's one of the reasons why every once in a        14             And then I go through and open them,
     15   while I get a communication from the attorneys       15   read them, determine if there's ones that I
     16   that there's been new -- new documents that have     16   believe are ones I would, for example, want to
     17   been provided through -- from Johnson & Johnson to   17   cite in the amended report. Ones that I think
     18   plaintiff's counsel.                                 18   need to be added to Appendix C. Or there may be
     19       Q. Do you recall the search terms that           19   some that I feel are not really relevant to the
     20   you provided to counsel for plaintiffs to have to    20   opinions I'm expressing. So they may not
     21   use to search across the company document            21   necessarily go in, or they may. You know, it just
     22   databases?                                           22   depends.
     23                MS. PARFITT: And this would             23             I may just say, dump them all in.
     24        be between the '18 and the '21 report.          24   Sometimes I don't, though. I will say, just go


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      1   for this subsection of documents because those        1   I use the term "e.g.," for example, that means
      2   search terms weren't helpful. You know, sometimes     2   it's not every document that I reviewed that's
      3   I'll give a search term and what I get back is not    3   supportive, but those are kind of the ones I think
      4   helpful in terms of the kinds of testimony or the     4   really make the point or very -- of the -- of the
      5   kinds of opinions that I've expressed in the case.    5   statement I am -- I am making in that sentence
      6        Q. Do you read the entirety of the --            6   where I'm citing to it.
      7   or did you read the entirety of the documents that    7        Q. Since your MDL report, initial MDL
      8   were provided to you from this, the searches?         8   report, and deposition in 2018, have you done any
      9                 MS. PARFITT: Objection.                 9   additional work on heavy metals and ovarian cancer
     10         Form.                                          10   risk?
     11                 THE WITNESS: In most of them           11        A. I have not written any additional
     12         I do. Some of them I don't. And                12   reports, other than what you have, but I certainly
     13         sometimes you can tell from the first          13   have looked, for example, at some of the
     14         page. If it's a 40-page document and           14   literature that might have come up. Yes, that's
     15         it's something that just isn't really          15   possible I have looked at that. I certainly did
     16         relevant to the question I'm asking, then      16   -- I also did at one point -- and I want to say it
     17         I may not read all 40 pages, but I             17   was in response to questions asked at a deposition
     18         typically do.                                  18   since my MDL deposition. One of the state cases.
     19                 Majority of the documents that         19             I believe I did go and look at some
     20         I reviewed and added to the amended            20   of the IARC documents for the individual metals to
     21         expert report were -- were shorter than        21   see. Because I was asked questions somewhere
     22         that, though. So I would have looked or        22   about, well, can you point me to where it says
     23         skimmed through quickly the entire             23   ovarian cancer in that document? So I did go on
     24         document.                                      24   some of those and look and to see what was there.


                                                Page 99                                                  Page 101
      1   BY MR. HEGARTY:                                       1        Q. Since your MDL deposition December
      2        Q. And in your amended expert report,            2   2018, have you done any additional work on
      3   you've identified some new company documents and      3   fragrances and ovarian cancer risk?
      4   you've also included some new company documents in    4        A. In the -- I need to ask a question.
      5   your list of materials considered.                    5        Q. Sure.
      6              What is the distinction between the        6        A. I need to look. In the 2018 report,
      7   documents cited in the report versus the documents    7   the list of fragrances I had was long. I do --
      8   in the list of materials considered?                  8   yes, there has been since that time a shorter
      9        A. So the ones cited in the report are           9   list, I believe, that has shown up on the website
     10   being cited for a specific statement I'm making.     10   where they've cut -- when I say "they," the
     11   I believe that document is supportive of that        11   company has gone to -- gone to the work, I
     12   specific statement. There are also documents         12   believe, or they've -- they've started taking some
     13   that -- that I believe might be ones that would be   13   things out of their fragrance, and they
     14   potentially used at trial. I mean, some of those     14   reformulated their fragrance.
     15   you may recognize, the ones we have used in direct   15              Now, I don't have confidential
     16   testimony at trial before.                           16   documents that tells me that's the only thing in
     17              And then the ones considered may be       17   there, but that list is now much shorter than the
     18   ones that I may decide to use at trial, for          18   list that I relied upon for my -- my MDL report.
     19   example, may ask to be added to the list, or they    19   So that research I have done. I have gone to see
     20   may just be another. I have 10 documents that        20   what has been said, and I am aware that today
     21   talk about the same thing. So I cite one or two,     21   they've changed their fragrance constituents as
     22   but not all of them.                                 22   far as what's in the fragrance.
     23              You'll notice -- I think I've said        23        Q. Have you done anything specific to
     24   this to you before -- when I cite to documents, if   24   give your opinions as reflected in your June 2021


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                                               Page 102                                                  Page 104
      1   amended MDL report that's not reflected by the        1   restate that.
      2   report itself?                                        2             To the extent you intend to testify
      3        A. I don't recall. No, I don't -- I              3   about any company witness testimony, this would be
      4   don't believe so. Because I believe that's been       4   set out in your amended MDL report or your prior
      5   -- if that isn't -- that isn't -- if that issue on    5   deposition testimony, correct?
      6   the less fragrances wasn't discussed in the           6                MS. PARFITT: Or trial
      7   report, I would say to you I know I discussed --      7        testimony.
      8   we discussed it at a deposition since the MDL         8   BY MR. HEGARTY:
      9   report, but I don't recall if I had that              9       Q. Or trial testimony?
     10   discussion. I'd have to look.                        10       A. Or trial testimony. Yes, that's
     11        Q. I guess my question is: Are there            11   correct.
     12   any opinions or other work --                        12       Q. Is the same true for internal
     13        A. Oh.                                          13   company documents? To the extent you intend to
     14        Q. -- that you have that you intend to          14   testify about any internal company document, this
     15   offer in the MDL that's not -- that are not          15   would be set out in your amended MDL report or
     16   contained in your amended MDL report?                16   your deposition or trial testimony?
     17        A. No. I have attempted to give you --          17       A. Yes. As we sit here today, that is
     18   that's why I'm here today. To tell you that this     18   correct.
     19   is the opinions that I would be prepared to          19                MS. PARFITT: Mark, could we
     20   express in the MDL at this point in time based       20        take a short bio break?
     21   upon what is in the report or any of the documents   21                MR. HEGARTY: Yes.
     22   that are, obviously, in my appendices.               22                MS. PARFITT: Okay.
     23        Q. So is it a correct statement that            23                MR. HEGARTY: Yes. Let's go
     24   your amended MDL report contains all of your         24        ahead and take that break.


                                               Page 103                                                  Page 105
      1   current opinions and reliance materials?              1                MS. PARFITT: Is it a good
      2        A. Yes, that's true.                             2       place?
      3        Q. To the extent you --                          3                MR. HEGARTY: Yes, that's
      4        A. Well, does it cite to? With the --            4       okay.
      5   with the caveat, I always say that also anything      5                (Recess: 10:35 a.m. -
      6   that I've said or stated within testimony that I      6                10:50 a.m.)
      7   believe is incorporated into this, but if it's        7                MR. HEGARTY: We're back on
      8   not, I should point that out. Because I don't         8        the record.
      9   know that I list that as a separate appendix, but     9   BY MR. HEGARTY:
     10   yes.                                                 10       Q. Dr. Plunkett, we've been talking
     11        Q. You're talking about current                 11   about your June 2021 amended MDL report, and in
     12   opinions and reliance materials that you've          12   that report, did you set out any analysis that's
     13   provided during your deposition testimony?           13   specific to the subtypes of ovarian cancer for the
     14        A. Or trial testimony.                          14   plaintiffs in this case -- in these cases?
     15        Q. Or trial testimony?                          15       A. No.
     16        A. Yes, that's correct.                         16       Q. Did you do any type of risk
     17        Q. Between the deposition testimony,            17   assessment or analysis by subtype based on the
     18   trial testimony, and your amended MDL report, that   18   types of cancers that the MDL plaintiffs have?
     19   should contain all of your current opinions and      19                MS. PARFITT: Objection.
     20   reliance materials?                                  20        Form.
     21        A. Yes, that's correct.                         21                THE WITNESS: No. I'm not
     22        Q. To the extent you intend to testify          22        case-specific.
     23   about any company witness testimony that's           23   BY MR. HEGARTY:
     24   identified in your report, this would be -- let me   24       Q. Do you understand that in the MDL


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      1   there are two Johnson & Johnson companies in the      1        follow along with.
      2   case: Johnson & Johnson Consumer, Inc. and Johnson    2                (Document marked for
      3   & Johnson?                                            3        identification as Plunkett Exhibit 9.)
      4       A. Yes, I believe that's true. I've               4   BY MR. HEGARTY:
      5   seen that on the pleadings, yes.                      5       Q. With regard to the Federal Register
      6       Q. Does your amended report set out any           6   document listed there, do you recall if there's
      7   analysis specific to each defendant?                  7   anything in that Federal Register document that
      8       A. No. Some documents may relate only             8   you rely upon for your opinions in your MDL report
      9   to one entity in terms of the way it's listed, but    9   or amended MDL report?
     10   to me it's all Johnson & Johnson generally.          10       A. Why. It's part of -- it has been
     11   Everything applies to both, in my mind, in terms     11   part of my reliance materials for a long time. I
     12   of my opinions.                                      12   need to see if I cite to this specific one. You
     13       Q. Does your amended report set out an           13   want me to look and see?
     14   analysis where you address separately Johnson's      14       Q. Let me ask you about that.
     15   Baby Powder and Shower to Shower?                    15             The Federal Register document is 300
     16       A. No, does not.                                 16   pages, but within that there's a reference to
     17       Q. Your report at the end includes               17   antiperspirant drug products for over-the-counter
     18   references to other companies' labels.               18   human use.
     19             Do you recall that?                        19             Is that the part of that document to
     20       A. Yes.                                          20   which you are referring to?
     21       Q. Since your MDL deposition in                  21       A. I'd have to -- that may very well
     22   December of 2018, have you done any analysis of      22   be, but I'd have to pull that one out to tell you
     23   any other company's knowledge and reason for         23   that for sure.
     24   including warnings on their talcum powder product?   24       Q. We'll see if I have time and I'll


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      1       A.      No, I have not because I would have       1   come back to that.
      2   done that based upon having access to their           2             You make several references --
      3   internal company documents or conversations with      3   strike that.
      4   individuals. So, no, I have not done that.            4             Within Exhibit No. 9, there are
      5       Q.      You have not since your MDL               5   several references to cosmetovigilance.
      6   deposition looked at any internal company             6             Is there anything in those documents
      7   documents or spoken to anyone at these companies      7   that you rely upon for your amended MDL report?
      8   who put ovarian cancer warnings on their talcum       8   Because I didn't see anything cited to those in
      9   powder products?                                      9   your amended MDL report.
     10       A.      No, I have not.                          10       A. I don't have a specific reference to
     11       Q.      You have testified several times         11   these documents, but they are relevant to my
     12   that you're not a causation witness.                 12   opinions related to the responsibility of a
     13             With regard to your amended MDL            13   company.
     14   report, is that still the case?                      14             So if you read these documents, they
     15       A.      Yes, I'm not doing general               15   talk about what companies can do in terms of
     16   causation.                                           16   setting up systems and procedures within the
     17                MR. HEGARTY: We were provided           17   company to look for adverse events and safety
     18        prior to your deposition some materials         18   concerns that arise after the drug has been -- I'm
     19        that you have reviewed, and we've looked        19   sorry, not the drug -- after the product has
     20        at several of those so far.                     20   entered the marketplace.
     21                And I want to mark as Exhibit           21                MR. HEGARTY: I'll mark as
     22        No. 9 the printout of a Dropbox we were         22        Exhibit No. 10 the references, the
     23        provided which contains the first page of       23        document that says "All References and
     24        the documents that, hopefully, we can           24        Materials." It's the first row to the


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      1        far right.                                       1   what that is. Things that I have looked at more
      2                (Document marked for                     2   recently.
      3        identification as Plunkett Exhibit 10.)          3       Q. I'll mark --
      4                THE WITNESS: Uh-huh.                     4       A. Because I continue to work on this
      5   BY MR. HEGARTY:                                       5   because I have other cases coming up and...
      6       Q. Can you tell me what Exhibit No. 10            6                MR. HEGARTY: I'll mark next
      7   is or what it represents?                             7        as Exhibit No. 12 a copy of the Boorman
      8       A. Yeah, I've seen that.                          8        article, which is not new, but it is
      9                MS. PARFITT: The far right.              9        included on the materials that were
     10                THE WITNESS: Yeah. Yeah.                10        provided to us for purposes of this
     11        Yeah. Yeah.                                     11        deposition.
     12                So can you -- can you provide           12                (Document marked for
     13        me with the notice of deposition? That          13        identification as Plunkett Exhibit 12.)
     14        might make it easier because these --           14   BY MR. HEGARTY:
     15        that's what these are responsive to, and        15       Q. Is there a reason that we were
     16        I might be able to tell you by looking at       16   provided the Boorman article versus other articles
     17        what you asked for. Do you understand?          17   that you referred to before or that are dated well
     18   BY MR. HEGARTY:                                      18   before your MDL report?
     19       Q. I do.                                         19       A. No. This -- this is -- as far as I
     20       A. Because --                                    20   know, this has been in my materials for a long
     21       Q. Sitting here -- but looking at the            21   time. So...
     22   document, you can't tell what it is? What it         22                MS. PARFITT: And, Mark, if I
     23   represents?                                          23        can just, maybe it will be helpful.
     24       A. These are clearly internal company            24                MR. HEGARTY: Sure.

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      1   documents that are within my -- within my reliance    1                MS. PARFITT: What happened
      2   materials. That I can tell by just general            2        is, because there were other reliance
      3   looking at what they are. But in order to tell        3        lists, we tried to cross-check in the
      4   you which -- what it's responsive to, it's            4        MDL, and it may have been that for state
      5   responsive to something you asked for. So that's      5        court cases or even back as early as the
      6   why I said if you show me --                          6        original report, there were documents
      7        Q.    Okay.                                      7        that were provided to you and we
      8        A.    -- your notice of deposition               8        duplicated them out of an abundance of
      9   subpoena, I can maybe answer that more fully.         9        caution.
     10        Q.    Okay. Maybe we'll come back when I        10                MR. HEGARTY: Okay.
     11   have some time.                                      11                MS. PARFITT: So feel free to
     12        A.    Okay.                                     12        inquire about any particular one, but
     13                MR. HEGARTY: There's another            13        that's why you see some that are,
     14        document I want to show you that was            14        frankly, redundant that had been provided
     15        provided that I'll mark as Exhibit              15        to you earlier.
     16        No. 11.                                         16   BY MR. HEGARTY:
     17                (Document marked for                    17       Q. If you would turn to the second to
     18        identification as Plunkett Exhibit 11.)         18   the last page of Exhibit No. 9, there is a
     19   BY MR. HEGARTY:                                      19   document in the lower left-hand corner P1851,
     20        Q.    Can you tell me what that document        20   which is "Johnson's Baby Talcum Powder: A
     21   is?                                                  21   Comprehensive Review, March 17, 2020."
     22        A.    Yes. So this is a document looking        22              Do you recall that document?
     23   at things that I have considered more recently.      23       A. Yes.
     24   So up till today essentially, right? So that's       24       Q. Have you read that document?


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      1        A. I have. Now I have, yes.                      1   point or topical areas of opinions as it relates
      2        Q. When did you first read it?                   2   to the comprehensive review document, first of
      3        A. First read it as it was -- as with            3   all, and then second as it relates to
      4   respect to trial testimony in the last case by        4   Dr. Kuffner's testimony?
      5   Dr. Kuffner. So it was made -- I was made aware       5        A. I think I've told you the general --
      6   of that document.                                     6   my general issues. I mean, if you want to go line
      7        Q. Have you done an assessment of any            7   by line through it, we can talk about it.
      8   strengths and weaknesses about that document?         8        Q. Probably don't have time to do that.
      9        A. I formed some opinions about                  9        A. Yeah. I'm sorry.
     10   strengths and weaknesses, yes, after reading his     10        Q. So are you able to just give me the
     11   trial testimony and that document.                   11   subject areas of opinions that we have not already
     12        Q. What are those opinions?                     12   covered.
     13        A. So consistent with what I have, I            13        A. So I disagree with some of the
     14   think, already testified in the past, that           14   discussion in there when you go to the sections
     15   particular document and their review is, again, in   15   where they talk about the weight of the evidence
     16   my opinion, not consistent with what the weight of   16   from the EPI studies, the weight of the evidence
     17   the evidence says. So I disagree with the            17   from some of the animal work. I mean, if you've
     18   conclusions drawn. They're certainly -- many of      18   read my report, you know that I don't agree with
     19   the studies and some of the information, they're     19   some of the conclusions that are drawn in that --
     20   some of the same ones that I have reviewed.          20   in that review. Absolutely.
     21              I also in Dr. Kuffner's trial             21             The issues related -- I think he
     22   testimony where he discusses his review, I           22   covers -- covers migration, for example. We have
     23   disagree with some of the statements he makes        23   a disagreement about that as well.
     24   about what individual pieces of evidence may or      24             And then on Dr. Kuffner's trial

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      1   may not mean.                                         1   testimony, you know, I just disagree with the
      2             I mean, if you want -- it's going to        2   conclusions he draws about it.
      3   be a long discussion, but if you want to go           3             I also would point out that it's
      4   through. I mean, essentially I disagree with how      4   very clear that he himself did not do the review
      5   he -- how he describes -- how he looks at the         5   of those individual pieces of evidence. In other
      6   results of the Canadian final safety assessment       6   words, he -- he talks about he gave it to some
      7   versus what other -- other assessments may have       7   epidemiologist to look at it or this person to
      8   been done.                                            8   look at it.
      9             The Health Canada assessment is a           9             So, you know, I just -- I disagree
     10   much more comprehensive, in-depth assessment         10   with what he says because I don't believe he has
     11   across the literature than, for example, anything    11   the -- has done the in-depth analysis, for
     12   that you find on the NCI website or you find even    12   example, that I've done of each of those pieces of
     13   done by the CIR when they did their review. And      13   evidence.
     14   those are opinions I've already expressed to you     14       Q. With regard to the comprehensive
     15   about the limitations of those.                      15   review document, did you find anything that you
     16             But I think that that testimony and        16   found to be wrong, mistaken, any omissions that
     17   that document are, in my view, additional evidence   17   you thought should have been included, or anything
     18   for the fact that the company is not recognizing     18   along those lines?
     19   or refuses to recognize the importance of the        19                MS. PARFITT: Okay. And I'll
     20   information that is available to the hazard of       20        just object to the very broad nature of
     21   their product and the need to have provided for      21        that question and Dr. Plunkett's ability
     22   years a warning to women or consumers about the      22        to actually address that with any
     23   use of the product.                                  23        specificity.
     24       Q.     Do you have any other sort of bullet      24                THE WITNESS: Yeah. So as I


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      1        sit here today, I would not be able to           1   that I have marked as an exhibit.
      2        give you that. I haven't -- again, this          2             The first paragraph that I want to
      3        is something I just got in the last week         3   talk about that has been revised is paragraph 22.
      4        after the trial in St. Louis.                    4   Tell me when you are there.
      5                 So I haven't had an                     5       A.      I am.
      6        opportunity to necessarily cite to you           6       Q.      Towards the end of that paragraph,
      7        everything that I would point to, but            7   you added the sentence beginning: "It also is
      8        certainly I think I've given you an              8   important to note."
      9        understanding of what I believe about            9             Do you see that sentence?
     10        that document.                                  10       A.      Yes.
     11   BY MR. HEGARTY:                                      11       Q.      With regard to the statement in that
     12       Q. Right.                                        12   sentence that "use of the term 'hazard' rather
     13       A. I don't believe it's an accurate              13   than 'risk' by FDA in its cosmetic labeling
     14   reflection of the weight of the evidence. I don't    14   standard means that the likelihood of the harm
     15   believe that -- I don't agree with some of the       15   being discussed (i.e., cancer) does not need to be
     16   assertions he makes.                                 16   understood; it only requires that the inherent
     17              I am familiar with Dr. Kuffner from       17   properties of the substance indicate the substance
     18   the Tylenol litigation, as you may be aware. So,     18   is capable of harm," why did you add this sentence
     19   again, not surprised by some of the things I see,    19   to your report?
     20   but it's -- I don't think it's consistent with the   20       A.      Because during trial testimony and
     21   evidence in the case.                                21   questions asked by defense, it was very clear that
     22       Q. Yeah. But from your first review of           22   this was an important distinction to make. In
     23   the comprehensive review, did you find anything      23   other words, the standard for warnings for a
     24   that was missing or did you find anything that you   24   cosmetic product are different than the standard

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      1   recall here today that was a mistake or error?        1   for warnings for some other types of FDA-regulated
      2                MS. PARFITT: Again, objection            2   products where risk and understanding the
      3        to the very broad nature of that question        3   likelihood are more important because there's a
      4        and Dr. Plunkett's ability to answer with        4   risk-benefit weighting, right? And there's no
      5        any specificity.                                 5   risk-benefit weighting for this.
      6                THE WITNESS: Yeah. I haven't             6              This sentence was added specifically
      7        done a side-by-side to see if everything         7   because I felt that in the discussion I've given
      8        he cites is everything I've cited and            8   in trial, that this is the opinion I have
      9        that's -- I think that's answers part of         9   expressed. So I wanted to make sure. I think
     10        your question.                                  10   it's important to understand.
     11                And I would reserve the right           11        Q. What does capable of causing harm
     12        to do that. I just haven't had a chance         12   mean in this sentence?
     13        to do that yet.                                 13        A. It means that there is a hazard that
     14   BY MR. HEGARTY:                                      14   has been identified based on reliable scientific
     15       Q. Okay.                                         15   evidence. So capable of causing harm means
     16       A. And certainly I'll make you aware if          16   that -- that it can happen, but we don't know --
     17   I have a new opinion about this area.                17   you don't have to know -- and this is the issue --
     18       Q. I want to now turn to your MDL                18   we don't need to know that it happens one in a
     19   report, which we have marked as Exhibit 6, I         19   million people, but we know that cancer can occur.
     20   believe.                                             20              So it's the idea that that hazard is
     21             Do you have a copy in front of you?        21   there. The potential is there.
     22       A. Yes, I do.                                    22        Q. When you say "does not need to be
     23       Q. And feel free to work from your --            23   understood," what do you mean?
     24   the report you have in front of you or the one       24        A. That the likelihood. You have to --


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      1   you have to get the whole phrase.                     1   from 1975.
      2       Q. Okay.                                          2             Tell me what other authorities.
      3       A. The likelihood of the harm does not            3       A. And if you go to the description
      4   need. So it's the number, the quantification of       4   within the -- the original description within the
      5   that.                                                 5   1938 law about what the standards are for
      6       Q. You refer in that sentence to FDA's            6   marketing a cosmetic.
      7   "cosmetic labeling standard."                         7             And then the other one would be, I
      8             To what are you referring to?               8   cite somewhere else in this document in this
      9       A. Referring to 740.1, but I'm also               9   report the 1978 paper by Dr. Kennedy. He also
     10   referring back to the Federal Register from where    10   talks about that.
     11   they discuss this in 1975 and also back to the       11             And then I would point you to the --
     12   Food, Drug, and Cosmetic Act, which talks about      12   the Congressional testimony in 2012 and the GAO
     13   some of the basic responsibilities of putting a      13   report from 1978.
     14   safe product on the market.                          14       Q. And those are otherwise referenced
     15       Q. And the Federal Register is                   15   in your amended MDL report?
     16   something that you've talked about previously?       16       A. They're all in here, yeah. Exactly.
     17       A. I have, yes.                                  17   Just not cited in this paragraph. But if you're
     18       Q. As well as the other documents you            18   asking for the cites for that, that's what I would
     19   just referenced?                                     19   be building from, that foundation I laid in
     20       A. Yes, that's correct.                          20   earlier paragraphs or later paragraphs in my
     21       Q. Do you cite, though, in this part of          21   report.
     22   your report those other sources that you just        22       Q. And what is your definition in this
     23   referenced?                                          23   sentence of "harm"?
     24             Because you cite no published              24       A. Harm -- well, I'm referring,

                                               Page 123                                                 Page 125
      1   authorities for the statement, that is --             1   obviously, in this report to cancer, but harm
      2        A. Where?                                        2   would be anything. Toxicity to tissues.
      3        Q. Well, you say that -- you make                3   Depending upon what piece of evidence that you're
      4   reference to the FDA's cosmetic labeling standard,    4   looking at. So harm is -- is something that is an
      5   but you include no citation to what that standard     5   adverse response in the individual or in the
      6   is.                                                   6   tissues of the individual.
      7        A. Well, I'll give you 21 -- oh, I give          7       Q.      Have you published any article where
      8   it in another part of -- I give it in another         8   you set out the kind of standard that you're
      9   part. Not in this paragraph. So I take you to         9   talking about here?
     10   740.1 in another paragraph.                          10                 MS. PARFITT: Objection.
     11        Q. Okay.                                        11        Form.
     12        A. Here -- here the view of this                12   BY MR. HEGARTY:
     13   paragraph is, I'm trying to explain the issue of     13       Q.      In that added sentence.
     14   drug labeling where there is a higher standard for   14       A.      I need to look at my -- to answer
     15   adding a warning to a product than there is in       15   that, I have to go to the CV to answer. I can do
     16   cosmetics -- than there is for a cosmetic, and I     16   that if you'd like.
     17   discussed this at the last trial a bit, too. It      17       Q.      Okay. Please.
     18   is different.                                        18       A.      Here it is. I got it.
     19        Q. I just want to make sure that I have         19             So I'm in Exhibit 4.
     20   the published authorities that you rely upon for     20             So in the general part of this
     21   the sentence that we're talking about.               21   sentence about the difference between hazard and
     22             You mentioned 740.1.                       22   risk, that is in some of my papers where I talk
     23        A. Right.                                       23   about toxicity programs and testing.
     24        Q. You mentioned a Federal Register             24             So, for example --


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      1       Q. Do you have any paragraph numbers?            1   or cosmetic ingredients whose labeling applies
      2       A. Oh, I'm sorry. On page 4,                     2   this standard or that you would hold up as an
      3   references number 4 and 5. I'm talking about the     3   example of a labeling that applies the standard
      4   concepts of hazard versus risk in those -- in        4   from this new sentence you've added?
      5   those. So that's -- that's kind of generally what    5                MS. PARFITT: Objection.
      6   I'm talking about here.                              6        Form.
      7            I can see if there's any other. So          7                THE WITNESS: I would say to
      8   it would be things like that in my CV.               8        you that I hope that every marketed
      9            In 8, I talk about hazard and risk,         9        cosmetic, indeed, applies it because
     10   paragraph -- that paper, too. I also talk about     10        they're supposed to. I have worked with
     11   hazard and risk in paper 9.                         11        clients that I instruct them on this
     12       Q. Do the references you cite refer to          12        standard. Some of which I can't tell you
     13   hazard and risk in the cosmetic ingredient          13        the names of the companies, but obviously
     14   context?                                            14        so. That's why I point to the published
     15       A. They're not talking just about               15        literature because -- and then the GAO
     16   cosmetics. They're talking about chemical           16        report talks about this issue as well.
     17   exposures. So which would include cosmetic          17   BY MR. HEGARTY:
     18   ingredients. So to me this sentence here, I agree   18       Q. Based on your added statement in
     19   I reference the cosmetic labeling standard, but     19   paragraph 22, you agree that a cosmetic does not
     20   the most important part of why I'm adding this is   20   need a warning about a hazard it is not capable of
     21   to have people understand there's a different       21   causing, correct?
     22   between hazard and risk.                            22                MS. PARFITT: Objection.
     23            So that I'll say let me point you to       23        Form.
     24   there for right now. There are some other           24                THE WITNESS: If no hazard

                                              Page 127                                                 Page 129
      1   presentations that I've done on regulatory           1       exists and that has been verified by the
      2   paradigms, and I've talked to you about before.      2       company, I would agree.
      3   Before. Maybe not you, maybe someone else took my    3               There is the other caveat that
      4   deposition. Where I've discussed cosmetics as        4       if the company has not -- has not done
      5   part of the FDA regulatory world and the             5       the assessment to look at whether there
      6   differences in the standard.                         6       is a hazard, then there is the
      7               MS. PARFITT: And I would just            7       requirement to put a statement on the
      8        object to the extent that                       8       label -- and I've talked about this
      9        Ms. Branscome --                                9       before --
     10               MR. HEGARTY: Right.                     10   BY MR. HEGARTY:
     11               MS. PARFITT: -- back in her             11      Q. Sure.
     12        deposition went at length about hazard         12      A. -- right -- that the safety of this
     13        and risk and what the differences were.        13   product has not been determined.
     14   BY MR. HEGARTY:                                     14      Q. A related question based on your
     15       Q. With regard to the sentence we've            15   added statement.
     16   been talking about, other than what you've          16            You agree that a cosmetic -- you
     17   identified so far, can you cite for me any FDA      17   agree that a cosmetic does not need a warning
     18   authority for the labeling standard that you are    18   about a hazard objectively it is not capable of
     19   discussing?                                         19   causing, correct?
     20       A. Well, I would -- the Kennedy paper.          20               MS. PARFITT: Objection.
     21   Kennedy was a commissioner of the FDA. So I'd       21               THE WITNESS: If the
     22   cite you to that as an authority, and then the      22       assessment has been done to determine
     23   regulations themselves.                             23       that, yes. Again, it all has to
     24       Q. Okay. Can you identify any cosmetic          24       predicate back to whether or not an


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      1        assessment was done.                             1   bulk samples or on an air filters, they may appear
      2   BY MR. HEGARTY:                                       2   to be fibres and have been identified as such.
      3        Q.    If you would turn next to paragraph        3   Talc may also form as true mineral fibres that are
      4   28 of your amended MDL report.                        4   asbestiform."
      5        A.    Okay.                                      5             So between those two parts of that
      6        Q.    There is language in the middle of         6   addition, are those talking, in your view, about
      7   that paragraph that you added beginning the "IARC     7   two different types of talc?
      8   in its 2010 Monograph on talc"?                       8                MS. PARFITT: Objection.
      9        A.    Yes.                                       9                THE WITNESS: I wouldn't say
     10        Q.    Do you see that part that you added?      10        two different. I would say type -- types
     11             Why did you add this language to           11        of talc if what you're referring to is
     12   this part of your report?                            12        physical form, yes. But not -- they're
     13        A.    Because this is consistent with           13        all talc and they're all in talcum
     14   testimony that I've given in talc cases that I       14        powder.
     15   have worked on, so -- since the original MDL         15   BY MR. HEGARTY:
     16   report was written and so I thought it was           16       Q. But do you agree that the sentence
     17   important to clarify. Obviously based on             17   that you added in quotations includes two --
     18   questions asked at trial, there appears to be some   18   describes two different types of physical -- the
     19   confusion about this issue.                          19   physical form of talc?
     20        Q.    This section, the section that you        20                MS. PARFITT: And I would just
     21   added, describes two different types of talc.        21        make the comment. That's not the
     22   First, one that may appear as fibers and second,     22        completed sentence. It goes on to say
     23   talc that has been formed as asbestiform fibers      23        "Asbestiform describes the pattern of
     24   that are "very long and thin and occur in parallel   24        growth." So you've referred her to just

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      1   bundles that are easily separated from each other     1        part of the sentence, not the complete
      2   by hand pressure," correct?                           2        sentence.
      3       A. That statement is there. That is               3                 MR. HEGARTY: Sure.
      4   correct.                                              4    BY MR. HEGARTY:
      5       Q. In other words, do you agree that              5       Q.      And what I'm trying to just
      6   the additional statement you added describes two      6   establish is whether, in adding this sentence, you
      7   types of talc: one that appears as fibers and the     7   understood that the quoted material from the IARC
      8   second that has been formed as asbestiform fibers?    8   2010 Monograph is talking about two different --
      9                MS. PARFITT: You're asking               9   two different physical forms of talc.
     10        her if that's what that statement says?         10                 MS. PARFITT: Objection.
     11                MR. HEGARTY: Correct.                   11                 THE WITNESS: I would say it
     12                THE WITNESS: I don't think I            12        is -- it is referring to talc that can
     13        understand.                                     13        occur in a -- in a powder physically that
     14   BY MR. HEGARTY:                                      14        looked different under a microscope. So,
     15       Q. Sure.                                         15        in other words, they do look different
     16       A. I don't think the question is that.           16        and they have some different physical
     17   I would agree with you that there are platy talc     17        properties because of that.
     18   and there's fibrous talc. If that's what you're      18                 However, all of them are
     19   asking me, I would agree to that.                    19        within talc. Talc itself is a natural
     20       Q. Let me ask in a different way.                20        product that has these things within it.
     21             The way that the quoted language as        21   BY MR. HEGARTY:
     22   I read it says:                                      22       Q.      And what are the physical properties
     23             "Talc particles are normally               23   of the first talc they describe that where they're
     24   plate-like. When viewed under the microscope in      24   talking about "in bulk samples or on air filters,


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      1   they may appear to be fibres and have been            1   talcum powder, silica.
      2   identified as such"?                                  2             Do you see that addition?
      3               MS. PARFITT: I would -- I'm               3        A. Yes, I do.
      4       going to object. This examination with            4        Q. Why did you add silica to your list
      5       regard to fibers, asbestiform,                    5   where you had not done that before?
      6       asbestiform the pattern was all examined          6        A. So I don't know why it wasn't there
      7       exhaustively by Ms. Branscome back in her         7   before because I believe it's in one of my earlier
      8       2018 deposition. We talked about IARC             8   reports before the MDL report. So if you go back
      9       '87, '10, '12.                                    9   and look at my 2016 original report, I talk about
     10               So I would suggest that this             10   silica, and I talk about silica in my original MDL
     11       is material that is not new material that        11   report in the section on chemical constituents. I
     12       Dr. Plunkett has examined, not only in           12   think I mention it.
     13       her last deposition but, frankly, in the         13             But -- so I added it just because I
     14       multiple trials in between that window.          14   believe that this is consistent with things I have
     15               MR. HEGARTY: But I am                    15   said before at trial and also consistent with, I
     16       talking, though, about a new section             16   believe, my original report in 2016.
     17       that's been added to this paragraph only         17        Q. In your original report, that was
     18       that was not there before.                       18   not in the MDL, though, right?
     19               MS. PARFITT: Yeah, a new                 19        A. No, but it formed the basis for me
     20       section, but the materials precisely what        20   eventually writing my MDL. All of my reports have
     21       was addressed in the deposition. She may         21   built one on the other. So certainly when I
     22       have added that paragraph, but the               22   started to write the original MDL report, I
     23       examination of what that paragraph states        23   started with my report that I believe -- am I
     24       was something that Dr. Plunkett was              24   wrong on the date? I believe it's 2016 but --


                                               Page 135                                                  Page 137
      1        exhaustively examined about.                     1        Q. 2016 --
      2                MR. HEGARTY: So is that an               2        A. Yeah.
      3        area that we would disagree on that has          3        Q. -- is when you did a report.
      4        been covered before?                             4        A. Yeah, exactly. So -- so that's my
      5                MS. PARFITT: I believe it                5   answer to that is I was looking. I wanted to make
      6        would be, yes.                                   6   sure that everything in this amended report was
      7                MR. HEGARTY: Okay.                       7   consistent with things that were in my original
      8                MS. PARFITT: Yes.                        8   MDL report, but also consistent with any testimony
      9        Absolutely.                                      9   or discussion I may have had in throughout the
     10                MR. HEGARTY: So at least for            10   litigation that I participated in.
     11        now we'll -- we'll --                           11        Q. Do you recall if in those prior
     12                MS. PARFITT: Put it over to             12   reports whether you did a risk analysis as it
     13        that category.                                  13   relates to silica in baby powder?
     14                MR. HEGARTY: -- mark that as            14        A. So what do you mean by "a risk
     15        an area that we disagree on whether we          15   analysis"?
     16        covered it or not.                              16        Q. Let me restate my question.
     17                MS. PARFITT: That's fine.               17             Do you recall in any prior report
     18   BY MR. HEGARTY:                                      18   whether you did any type of analysis of any risk
     19       Q. The next paragraph that I want to             19   of ovarian cancer as it relates to silica exposure
     20   reference is paragraph 30 in your report, and tell   20   in talcum powder?
     21   me when you're there.                                21        A. I did not do a separate risk for
     22       A. I am.                                         22   silica as a particular constituent of baby powder
     23       Q. About five lines down, you added to           23   that drove a risk. Instead what I did with
     24   that, to the list of material that you say is in     24   silica, as I did with all of these constituents


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      1   listed here, is that they all contribute to the       1        Q.    The next paragraph I want to talk
      2   risk. So, in other words, these are multiple          2   about is paragraph 33. Tell me when you are
      3   compounds that have this ability to cause             3   there.
      4   irritation and chronic inflammation.                  4        A.    I am.
      5        Q. All right. If you would look at the           5        Q.    You say towards the beginning of
      6   next paragraph, paragraph 31. You added the line      6   that paragraph or you added towards the beginning
      7   at the end that says:                                 7   of that paragraph that "the data has shown that
      8             "My analysis is consistent with how         8   powders contain variable levels of fibers,
      9   IARC considered the cancer risks of different         9   including" then you added the phrase "fibrous talc
     10   forms of talc."                                      10   as well as."
     11             Do you see that additional line?           11             Do you see that addition?
     12        A. Yes.                                         12        A.    I do.
     13        Q. Why did you add that additional              13        Q.    Whereas, before you had only said
     14   line?                                                14   "including fibers that were stated to be
     15        A. Because I believe that is consistent         15   asbestos."
     16   with what I've had said at trial before when I've    16             Why did you add that reference here?
     17   talked about the different issues related to the     17        A.    To make the clear distinction
     18   IARC analysis.                                       18   that -- that as -- as I have discussed within my
     19        Q. And when you say "considered the             19   testimony that there is a separate constituent
     20   cancer risks," are you saying your approach was      20   known as fibrous talc that is not asbestos. There
     21   identical to IARC's approach?                        21   is asbestos fibers and then there's talc fibers,
     22        A. No. I'm saying that my analysis is           22   and they are, indeed -- and there are in these
     23   consistent in terms of the fact of identifying the   23   documents cited here, for example, some of the
     24   fact that there are multiple constituents which      24   internal company documents. They distinguish

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      1   can drive the risk.                                   1   between fiber amphiboles within talc, which they
      2        Q. Did you go and compare the materials          2   call "tremolite," but they don't call it asbestos,
      3   you reviewed with the materials IARC reviewed in      3   and then they have other times that they talk
      4   2006 to see if you had reviewed the same thing?       4   about asbestos.
      5        A. I did do that. I believe I was                5             So it's -- it is in order to be
      6   asked about that a while ago. I did initially do      6   consistent with the documents that I'm relying
      7   that, yes. I looked at the literature that IARC       7   upon, I think that's important to point out.
      8   described, and obviously they don't have all the      8       Q. Later on in that paragraph, you have
      9   literature I have because they -- the analysis        9   added additions to what Drs. Longo and Rigler
     10   from 2010 was based upon literature up to 2006,      10   reported in their report of August 2, 2017.
     11   for example. But yes, I did do that initially.       11             Do you see that -- that part of the
     12        Q. And based on the data available to           12   addition to this paragraph?
     13   IARC in 2006, do you agree with where IARC came      13       A. Yes.
     14   down at the time?                                    14       Q. There you make reference to them
     15                MS. PARFITT: Objection. This            15   referring to or finding asbestiform talc. Then
     16        area was previously examined --                 16   you say "report of Longo and Rigler dated
     17                MR. HEGARTY: Okay.                      17   February 1, 2019."
     18                MS. PARFITT: -- back on her             18             Do you see that reference?
     19        deposition of 12/18/19.                         19       A. In the next sentence? Yes.
     20                MR. HEGARTY: Okay. I'm not              20       Q. Yes, the next sentence.
     21        sure that's correct, but we'll put that         21       A. Yes, I see that.
     22        aside for now.                                  22       Q. And when you say "asbestiform talc"
     23                MS. PARFITT: Sure. Okay.                23   as it relates to that report, to what are you
     24   BY MR. HEGARTY:                                      24   referencing?


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      1        A. I'm referencing how they referred to         1   asbestos and cancer risk apply equally to
      2   it in their report, which I believe that is          2   asbestiform talc."
      3   exactly what they said. I attempted to take the      3             Do you see where I'm reading from?
      4   language of the report.                              4       A. No, I'm sorry. On the next page?
      5        Q. In this -- this addition that you've         5   Are you on page 22?
      6   provided here, are you defining fibrous talc the     6       Q. It's towards the bottom. It's the
      7   same as Longo and Rigler are defining it in their    7   last third of the paragraph.
      8   report?                                              8       A. Okay. Yeah, I got it. I see that.
      9                  MS. PARFITT: Objection.               9       Q. Do you see that?
     10         Form.                                         10             And the addition, the next line
     11                  THE WITNESS: I'm defining            11   says:
     12         it -- I'm defining it in my report and        12             "This makes clear that IARC has
     13         that's what I'm relying on.                   13   classified fibrous talc as a known human
     14                  So I can't answer that without       14   carcinogen. Other regulatory authorities have
     15         -- I don't recall whether or not -- what      15   addressed the cancer risk associated with fibrous
     16         they say in terms. I mean, they have          16   talc."
     17         their own report and their own definition     17             Do you see those additions?
     18         potentially. I think I'm consistent with      18       A. I do.
     19         that, though.                                 19       Q. Are you referring in this addition
     20                  They understand -- when I've         20   to fibrous talc as the same thing as asbestiform
     21         looked at their data in their reports,        21   talc?
     22         they are, indeed, recognizing that there      22               MS. PARFITT: Objection.
     23         are fibers of talc, fibrous talc, and         23        Again, these questions have been asked at
     24         that there are also can be at times           24        the prior deposition.


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      1        asbestos as well.                               1                MR. HEGARTY: I don't think
      2   BY MR. HEGARTY:                                      2        this. I think this is specific to these
      3       Q. Well -- and then my question really           3        additions. So I don't agree with that.
      4   goes with regard to the additions you have here,     4        I'm just talking about in these lines --
      5   are you defining fibrous talc the same as Longo      5        these two lines.
      6   and Rigler are defining it?                          6                MS. PARFITT: Sure.
      7                MS. PARFITT: Objection.                 7    BY MR. HEGARTY:
      8        Asked and answered.                             8       Q. Are you equating fibrous talc with
      9                THE WITNESS: All I can tell             9   asbestiform talc?
     10        you is, I have -- I don't -- I haven't         10       A. Fibrous talc would be talc in the
     11        done that comparison to tell you that.         11   asbestiform habit. Yes, that is correct.
     12                I can tell you I have defined          12       Q. Okay.
     13        it the way I am using it, and so when I        13       A. Which is consistent with IARC's
     14        testify, hopefully you understand and you      14   discussion in their documents.
     15        read this, you know what I mean. I             15       Q. And you make reference here to other
     16        believe it's consistent, but I haven't         16   regulatory authorities that have addressed cancer
     17        gone to read every word to see if every        17   risk associated with fibrous talc. You give one
     18        definition is the same.                        18   example there. Actually, you give a couple
     19   BY MR. HEGARTY:                                     19   examples.
     20       Q. Towards the end of that paragraph,           20             Do you have any other examples
     21   you added the line:                                 21   besides -- that you're referring to when you're
     22             "In IARC's most recent findings           22   saying "other regulatory authorities" besides
     23   regarding asbestos and cancer (IARC, 2012)          23   those you list there?
     24   scientists explicitly stated that its findings on   24       A. Well, I think -- I think I could --


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      1   I only listed this here, but any -- if I look         1       A.      (Reviews document.)
      2   across the world, there are many regulatory bodies    2                 MR. HEGARTY: Can we go off
      3   that have called talc -- have called asbestiform      3        the record just for a second.
      4   fibers known human carcinogens. I certainly           4                 (Recess: 11:30 a.m. -
      5   haven't given you every one. So certainly Health      5                 11:32 a.m.)
      6   Canada would fit here.                                6                 MR. HEGARTY: We're back on
      7       Q. All right. Did Health Canada,                  7        the record.
      8   though, in its 2021 assessment use the phrase         8                 And when we went off the
      9   "fibrous talc"?                                       9        record, I had asked Dr. Plunkett to find
     10       A. No. They used the word -- they used           10        in either the Health Canada -- the Health
     11   words such as "asbestiform habit" or                 11        Canada risk assessment that we marked as
     12   "non-asbestiform," yes.                              12        Exhibit No. 13 where she believes Health
     13       Q. And in particular, though, as it              13        Canada applies their findings to fibrous
     14   relates to the Health Canada assessment, that        14        talc.
     15   assessment was directed at talc without asbestos,    15                 And during the course of being
     16   correct?                                             16        off the record, Dr. Plunkett also
     17       A. The without asbestos, that's                  17        indicated she needed to look at her
     18   correct.                                             18        report in a particular paragraph for that
     19       Q. And that assessment was also                  19        report.
     20   addressing -- also addressed talc without what you   20   BY MR. HEGARTY:
     21   would call fibrous talc, correct?                    21       Q. And I believe, Dr. Plunkett, you
     22                MS. PARFITT: Objection.                 22   have not yet found that reference you're looking
     23                THE WITNESS: I don't know               23   for; is that correct?
     24        whether I agree with that or not. I -- I        24       A. Yes, that's exactly right. Although


                                              Page 147                                                  Page 149
      1        think -- let's pull it out because they          1   I think I already answered the question. I don't
      2        actually -- let me look at their                 2   believe they use the word "fibrous talc." That's
      3        language.                                        3   for sure. So...
      4   BY MR. HEGARTY:                                       4        Q.     Did you find anything in the risk
      5       Q. Okay. Let me --                                5   assessment itself of a description of -- of a
      6       A. Because they do have specific                  6   description that you thought was applicable to
      7   language. So...                                       7   fibrous talc? In other words, where you thought
      8               MR. HEGARTY: Let me go ahead              8   that the assessment would apply to fibrous talc
      9        and mark that just so you have it for the        9   based on the language used?
     10        record. I'll mark it as -- the Health           10        A.     Right. I would say that based on
     11        Canada risk assessment as Exhibit No. 13.       11   the language used, what I -- what I remember from
     12               (Document marked for                     12   this -- and that's why I was looking -- is that
     13        identification as Plunkett Exhibit 13.)         13   there's a -- there's actually a discussion that
     14               MR. HEGARTY: I have a copy,              14   they are focusing on findings for non-asbestiform
     15        counsel, for you.                               15   talc, right, in other words, and they found that
     16               MS. PARFITT: Thank you.                  16   to be a carcinogen, not even looking at, I
     17               THE WITNESS: I have one                  17   believe, this issue of the known human
     18        here, too.                                      18   carcinogenicity of asbestos and those things.
     19   BY MR. HEGARTY:                                      19             But I believe they were focusing on
     20       Q. Okay. And you get that one.                   20   the issue of asbestos-free, and that's what I need
     21             The question now standing is: Where        21   to look at. So...
     22   in that assessment do you identify Health Canada     22        Q.     Okay. We'll make a note and come
     23   as indicating that assessment applies to fibrous     23   back to that.
     24   talc?                                                24                 MS. PARFITT: See where we are


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      1        time-wise, yes.                                  1        Form.
      2   BY MR. HEGARTY:                                       2                THE WITNESS: So it would be
      3       Q. Towards the end of that paragraph,             3        my training and experience in toxicology.
      4   actually at the very end of the paragraph we're       4                And I'd also say this is
      5   looking at, which is paragraph number 33.             5        consistent, although it's making a
      6       A. Yeah.                                          6        different point than IARC, but IARC
      7       Q. You added a statement:                         7        documents make the point that fibrous
      8            "A finding that also could be                8        forms of talc, asbestiform habit talc, is
      9   applied to similar fibers, such as fibrous talc."     9        a known human carcinogen just as asbestos
     10            You see that addition?                      10        would be.
     11       A. Yes.                                          11                So I would start there, go to
     12       Q. And that sentence now reads:                  12        the fact that the general principles of
     13            "This means that human exposure to          13        toxicology would dictate that the
     14   even very low levels of asbestos increase the risk   14        physical form is the issue. And so at
     15   of toxic effects including cancer."                  15        very low levels of a physical form of
     16            Then you added:                             16        asbestos cause carcinogenicity, I would
     17            "A finding that also could be               17        expect there to be very low levels cause
     18   applied to similar fibers, such as fibrous talc."    18        it with talc.
     19            Do you see where I'm reading from?          19                I'm not saying they have the
     20       A. Yes.                                          20        exact same threshold if we could find
     21       Q. Can you identify for me any written           21        one, which we don't for either of these,
     22   authority for applying that same finding as to low   22        but it would be the same principle in
     23   levels of asbestos to fibers, such as fibrous        23        terms of health protection and -- and
     24   talc?                                                24        risk, or hazard.


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      1         A.     So it would be based upon -- there's     1   BY MR. HEGARTY:
      2   a document that I've either used at trial or maybe    2       Q. If we turn next to paragraph 37.
      3   it's in my report here where the company              3   You added a couple of statements in this paragraph
      4   themselves recognizes that fibers of talc carry       4   directed at silica. In particular, you added a
      5   the same type of hazard as asbestos does, and then    5   statement that referred to a few Johnson & Johnson
      6   it's the -- it's general principle of toxicology      6   documents. 260573 through 5704, 260570, 260709.
      7   that knowing that what drives asbestos is the         7             Do you see where I'm reading from?
      8   shape. It's the fibrous form of asbestos.             8       A. I do.
      9              So other fibers would be expected to       9       Q. Then towards the end of the
     10   have the same issue in terms of being carrying a     10   paragraph, you added the sentence:
     11   risk even at low levels of exposure because the      11             "With respect to silica, levels also
     12   tissue can't handle the fiber. That's the same       12   appeared to vary across lots. Like asbestos and
     13   issue. Asbestos fibers get into the tissue. They     13   fibrous talc, silica is a known human carcinogen."
     14   aren't degraded by the tissue or can't be based      14             Do you see that?
     15   upon they're too big for the macrophage to engulf.   15       A. I do.
     16   Same thing with the talc fiber.                      16       Q. And with regard to silica and your
     17         Q.     So other than what you recall as a      17   statement that it is a known human carcinogen,
     18   company document that makes reference to fibrous     18   what types of cancer has it been shown to cause?
     19   talc in relation to asbestos, can you cite for me    19       A. I'd have to pull the -- certainly it
     20   any other written document that makes this same      20   has been shown to cause lung cancer. I'd have to
     21   statement that you have extended from very low       21   pull out the -- to give you a complete list, I'd
     22   levels of asbestos to fibers, such as fibrous        22   have to pull the monograph out.
     23   talc?                                                23             But the issue is, it's a hazard of
     24                  MS. PARFITT: Objection.               24   cancer, just like it's a hazard of cancer for


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      1   these other fibrous or particle-like substances       1        for example, this document talks about
      2   within the -- so I'm using this in hazard in          2        dose-response.
      3   notice. I'm not necessarily building a block for      3   BY MR. HEGARTY:
      4   general causation because I'm not doing that,         4       Q. I guess the -- the first question,
      5   actually, but it's a different issue.                 5   just generally whether in making the statement
      6               MR. HEGARTY: One of the                   6   that silica is a known human carcinogen whether
      7        materials we were provided that we had           7   you did an assessment as far as what doses are
      8        looked at earlier from Exhibit No. 9 is          8   necessary for it to have carcinogenic effect.
      9        what I'm marking as Exhibit No. 14.              9                MS. PARFITT: Objection.
     10               (Document marked for                     10        Dr. Plunkett was examined with regard to
     11        identification as Plunkett Exhibit 14.)         11        heavy metals and some of the other types
     12               MR. HEGARTY: I only have one             12        of minerals.
     13        copy. I'm sorry.                                13                MR. HEGARTY: Right.
     14   BY MR. HEGARTY:                                      14                MS. PARFITT: You are correct.
     15       Q. What is that? What is Exhibit                 15        Silica at that time was not examined.
     16   No. 14?                                              16                MR. HEGARTY: Right.
     17       A. So this is the report on carcinogens          17                MS. PARFITT: But I believe
     18   from 1998. So in the litigation, I've talked         18        her general explanation with regard to
     19   about the RoC process for talc. Well, there was a    19        all heavy metals and dosages and
     20   RoC process for silica, and so this was one of the   20        thresholds and all of that was clearly
     21   documents.                                           21        examined.
     22            I've actually had this in my files          22                THE WITNESS: So the answer
     23   for a long time, but since I was filling out --      23        to your question is, I did not do a
     24   I'm sorry -- this section of my report with a        24        silica-specific ovarian cancer risk


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      1   little more detail, I added this one, too, because    1        assessment. That's probably the best
      2   I had this one already in my files. I pulled this     2        answer to your question.
      3   a while ago.                                          3               Again, my assessment for the
      4        Q. Okay. Do you recall reviewing any             4        heavy metals, as well as silica, was
      5   published medical literature that has linked          5        focusing on the issue of a complex
      6   exposure to silica to ovarian cancer risk?            6        mixture of constituents that could have
      7                 MS. PARFITT: Objection.                 7        additive effects when you talk about
      8         Form.                                           8        cancer hazard and also even risk.
      9                 THE WITNESS: I did not do a             9               Because we know that in cancer
     10         specific assessment for only ovarian           10        risk assessments, compounds that share
     11         cancer risk and silica, no.                    11        the same mechanism of action, which by
     12   BY MR. HEGARTY:                                      12        the way this one causes irritation,
     13        Q. For the statements you've added to           13        chronic inflammatory responses, as a
     14   your paragraph regarding silica, did you do any      14        plausible mechanism discussed for the
     15   assessment as it relates to dose levels of silica    15        onset of cancer.
     16   that create any type of risk?                        16   BY MR. HEGARTY:
     17                 MS. PARFITT: Objection.                17       Q. You say that "silica levels also
     18         Form.                                          18   appeared to vary across lots."
     19                 THE WITNESS: Are you asking            19             Are you talking about lots of
     20         me about, did I try to determine if            20   Johnson's Baby Powder?
     21         there's a particular threshold within          21       A. Yes, that's correct. And I
     22         talcum body powder that needs to be            22   apologize. That would have been more precise to
     23         reached, or are you just asking me             23   say that. I should say lots of Johnson &
     24         generally about dose-response? Because,        24   Johnson's Baby Powder as well as -- and what I


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      1   mean by that, also I would say even there's some      1   you make reference to Canadian government action
      2   -- some data on the -- not the bottle of the          2   in 2007 as well as the risk assessment that Canada
      3   powder, but also the drums of the baby powder as      3   did as it relates to talc in December 2018 and
      4   well.                                                 4   April 2021.
      5       Q. When you referred to silica varying            5             Do you see that?
      6   across lots, did you make any assessment as to        6       A. I do.
      7   whether the amount of silica in those lots was at     7       Q. Those additions?
      8   a dose capable of causing any type of cancer?         8       A. Yes.
      9               MS. PARFITT: Objection.                   9       Q. What is your authority or source
     10        Form.                                           10   document for the statements regarding the Canadian
     11               THE WITNESS: I didn't do a               11   government's findings in 2007?
     12        dose analysis, no. But what I did do was        12       A. So that's at their website. If you
     13        look at and I'm aware of what the company       13   go to the Hotlist for talc, you'll find that there
     14        themselves, and there may be some of            14   was an addition of a warning to the product that
     15        these documents that I'm citing here            15   was talked about in 2007.
     16        about levels of silica. They may have           16       Q. Did that additional warning result
     17        made that comment.                              17   from a finding of toxicity with talc products?
     18               It's the idea that silica is             18       A. I'd have to go look at the site.
     19        something that -- there are                     19             It had to do with the data and the
     20        specifications where you don't want             20   information about -- about talc products, yes,
     21        certain levels of silica in powder              21   about talc powder and lung toxicity, yes. I
     22        products.                                       22   believe it had to do with these issues -- part of
     23               So there were even, I think,             23   it was related to the issues of not only the
     24        within the specifications for Johnson &         24   infants, but more than that as well.


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      1        Johnson some issues about that. Yet,             1       Q. But my question was or what I was
      2        they still were detecting it at times in         2   trying to get at was whether the warning as
      3        certain product.                                 3   relates to inhaling talc particles was limited to
      4   BY MR. HEGARTY:                                       4   asphyxiation?
      5       Q.     You did not do an assessment as to         5       A. No, I don't think this one was.
      6   whether the amounts of silica that you have seen      6   Because this one is also related, I believe, to
      7   reported in Johnson's Baby Powder lots are capable    7   the WHMIS Toxic TEA, which talks about lung
      8   of creating an ovarian cancer risk by themselves,     8   toxicity in workers. So it's not just certainly
      9   correct?                                              9   the infants were there, but it was the worker. I
     10                MS. PARFITT: Objection.                 10   believe this has to do with the WHMIS as well.
     11        Form.                                           11       Q. Whatever the references would be or
     12                THE WITNESS: That is                    12   citations would be reflected in the website that
     13        correct. Because my -- my issue on              13   you just referred me to, correct?
     14        ovarian cancer risk is driven by the            14       A. Either looking at the WHMIS listing
     15        complex mixture, not just by individual         15   for it or the -- I mean, if you search "talc" on
     16        constituent.                                    16   the Health Canada website, you can link to all
     17   BY MR. HEGARTY:                                      17   these pages and so that's where I went. And there
     18       Q.     Okay. If you would next turn to           18   are actions in 2007 that are reflected by these,
     19   paragraph 41.                                        19   the statement I'm making.
     20       A.     Okay.                                     20       Q. And the reason I ask that was
     21       Q.     Towards the end of that paragraph,        21   because you don't include a citation after that
     22   you make reference to findings of -- or let me       22   sentence.
     23   back up.                                             23       A. Oh. So the citation that should be
     24             Towards the end of that paragraph,         24   there is the Health Canada website. So I


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      1   apologize. You noticed I tended to do that for        1        something I'd have to do an analysis of.
      2   you, and that's one that should be there, yes.        2        It's very possible that in the broad FDA
      3        Q. Regarding the Health Canada risk              3        world, for example, that that has
      4   assessment that you describe here, again, you have    4        happened across different products and
      5   not had any communication with the Canadian           5        different categories. It's very
      6   regulatory authority about talc or asbestos,          6        possible, but I haven't done that
      7   correct?                                              7        analysis.
      8        A. That's correct. I have dealt with             8                So I'd have to look to answer
      9   Health Canada before in other venues for other        9        that question.
     10   compounds. I'm very familiar with them, but not      10   BY MR. HEGARTY:
     11   with talc. I haven't talked to them specifically.    11       Q. Are you aware of any written
     12        Q. And we'll talk about that just in a          12   assessment from any regulatory authority that has
     13   moment.                                              13   cited to expert reports in litigation?
     14              Did you provide any of your expert        14                MS. PARFITT: Objection.
     15   reports to Health Canada?                            15        Asked and answered.
     16        A. No, I did not.                               16                THE WITNESS: Any regulation?
     17        Q. When you reviewed the Health Canada          17        You mean not just FDA?
     18   risk assessment, did you note that it included in    18   BY MR. HEGARTY:
     19   its list of reliance materials expert reports from   19       Q. Any regulation, not just FDA.
     20   litigation?                                          20                MS. PARFITT: Objection.
     21        A. In the final screening assessment?           21                THE WITNESS: I'd have to go
     22   It did.                                              22        look. I can't answer that without
     23        Q. Yes.                                         23        looking. I've never done that type of
     24        A. That's correct. The public --                24        analysis.

                                               Page 163                                                 Page 165
      1   public was invited to submit and some of the          1   BY MR. HEGARTY:
      2   reports of both defense and plaintiff's experts in    2       Q. You are aware that IARC limits its
      3   litigation were submitted to the website or to the    3   review to published medical literature, correct?
      4   docket.                                               4       A. Public --
      5        Q. Have you in any of your published             5       Q. Publicly available.
      6   articles ever referenced to or cited litigation       6                MS. PARFITT: Objection.
      7   reports?                                              7                THE WITNESS: Publicly
      8        A. In my published articles?                     8        available information. That's correct.
      9        Q. Correct.                                      9   BY MR. HEGARTY:
     10        A. I probably have not, no. It doesn't          10       Q. IARC would not consider expert
     11   mean that I haven't seen it done by -- by -- other   11   reports in litigation, correct?
     12   regulatory authorities do do that because            12                MS. PARFITT: Objection.
     13   everything that comes in must be listed as part of   13        Form.
     14   the information they looked at.                      14                THE WITNESS: It may. It may
     15        Q. And I was limiting my question to            15        consider an expert report in litigation
     16   just your published articles.                        16        in terms of the science cited that's
     17             And you have not done so?                  17        public, but no, I can't imagine that they
     18        A. No, I have not.                              18        would rely on an expert report by itself
     19        Q. Can you cite for me to any risk --           19        without digging all the way into the
     20   to any written safety assessment from FDA where it   20        science, which is what they do. They go
     21   cited to expert reports from litigation?             21        to the -- the primary sources that have
     22               MS. PARFITT: Objection.                  22        been looked at.
     23        Form.                                           23   BY MR. HEGARTY:
     24               THE WITNESS: That's                      24       Q. Have you ever advised a client as to


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      1   an issue about a cosmetic based on an expert          1        where they can go and they'll put --
      2   report from litigation?                               2        that's what they have done with the --
      3                MS. PARFITT: Objection.                  3        that's what they did back in 2007, I
      4                THE WITNESS: No. It's never              4        believe, where they also talked about
      5         come up in the clients I've worked with.        5        putting it onto the labeling.
      6   BY MR. HEGARTY:                                       6   BY MR. HEGARTY:
      7        Q.     Have you looked for any other             7       Q. Is there a Canadian regulation that
      8   Canadian authorities that has come -- that have       8   defines the warning standard for cosmetics?
      9   come to a conclusion similar to Health Canada's       9       A. Not in the exact same way as in the
     10   risk assessment?                                     10   U.S. Do you want me to explain?
     11                MS. PARFITT: Objection.                 11       Q. Sure.
     12                THE WITNESS: For any                    12       A. Because it's a long explanation
     13         chemical in any? I don't understand.           13   but --
     14   BY MR. HEGARTY:                                      14       Q. Well, when you say "long
     15        Q.     No. Let me restate the question.         15   explanation," can you give me an estimate of how
     16              With regard to Canada's risk              16   long it will take?
     17   assessment on talc that came out in April of 2021,   17       A. It will take me a couple of minutes.
     18   have you looked for any other Canadian authorities   18       Q. Okay. Well, let me just -- let's
     19   have cited to that or come to similar conclusions    19   stick with my question.
     20   as it relates to talcum powder products?             20       A. Okay.
     21                MS. PARFITT: Objection.                 21       Q. Is there a Canadian regulation that
     22         Form.                                          22   defines the standard for warning for cosmetics?
     23                THE WITNESS: Well, there                23       A. It does, but it's not the exact
     24         would be no other Canadian authority that      24   same. It's not directly analogous to the U.S.,

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      1       would do this. You have to understand.            1   the way the regulations in the U.S. are laid out,
      2       Health Canada is the FDA of Canada. So            2   and that's what why I'm saying. I would need to
      3       just like in the U.S., if you're talking          3   explain to you, but they do have a standard. It's
      4       talcum powder products, the regulatory            4   just not where I can go to, like I can to 740.1,
      5       authority would be FDA, and there it is           5   and find it so concisely stated. That's what I'm
      6       Health Canada.                                    6   telling you.
      7   BY MR. HEGARTY:                                       7        Q.     What would be the regulation
      8       Q. Do you consider yourself an expert             8   citation where you would go to look?
      9   on the Canadian system for regulating cosmetics?      9        A.     So it would be looking at the law
     10               MS. PARFITT: Objection.                  10   first. So in Canada, under cosmetics, there is a
     11       Form.                                            11   -- there's a food drug law. Then there's a
     12               THE WITNESS: I do, yes. I                12   cosmetics regulation that was established back in
     13       have dealt with that with my clients, and        13   the 1980s. And within those, when you read them,
     14       that's one of the reasons that when I            14   you will find there is a discussion of what the
     15       talk to you about all dimension worldwide        15   standard is in terms of regulating the cosmetics.
     16       authority, I do more than cosmetics just         16             They have very similar standard.
     17       in the U.S.                                      17   Premarket safety assessment. It has to be safe
     18   BY MR. HEGARTY:                                      18   before it's marketed. And they also require that
     19       Q. Under Canada's regulatory system,             19   information be provided in the label that informs
     20   can Health Canada require a warning on a cosmetic?   20   the consumers of the hazards of the product. So
     21               MS. PARFITT: Objection.                  21   it's a hazard standard, just like it is in the
     22               THE WITNESS: They can                    22   U.S.
     23       through this type of rulemaking. So they         23             But you don't get it in the same
     24       have to do these kinds of assessments            24   way. Again, it's not as -- that's the problem is


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      1   it's not as -- it's not laid out in quite the same    1               MS. PARFITT: Objection.
      2   way because their regulatory system and their         2       Form.
      3   regulations aren't laid out in the same way ours      3                THE WITNESS: They may. We
      4   are.                                                  4        just don't know. That's what I'm saying
      5             However, you can go and find                5        to you. I don't know yet. That's what
      6   statements on their website for different             6        they're in the process of doing.
      7   chemicals where they talk about the process. They     7                They also may ban it. It's
      8   go through it, and it's exactly the same basic        8        possible they could decide to ban it
      9   process in terms of a hazard standard, a              9        for -- for use.
     10   possibility standard, not -- for cosmetics and       10                And then you also have the
     11   those types of ingredients, not like a drug          11        issue of the product is no longer being
     12   standard where there's -- they do risk-benefit       12        sold in Canada, just like it isn't being
     13   weighting there just like they do in the U.S.        13        sold here. So that may impact the
     14        Q. Is there a numerical -- is there a           14        actions Canada takes as well. I don't
     15   regulation that you can cite to?                     15        know. You'd have to talk to the
     16        A. I can, but not off the top of my             16        regulator to ask them that.
     17   head. So I have those in my files. If you're         17   BY MR. HEGARTY:
     18   interested in that, I'd have to pull. I have a       18       Q. You agree, though, that the Health
     19   file at home on cosmetic regulations in Canada       19   Canada risk assessment is not just limited to body
     20   and, yes, there's citations I can give you.          20   powders, correct?
     21        Q. Has Canada mandated an ovarian               21       A. No. It discusses -- in fact, if you
     22   cancer warning on talc for perineal use?             22   read their website, it talks about all the
     23        A. It's in the process of developing            23   different places, other types of personal care
     24   their recommendations that will go onto the          24   products -- and I realize I'm talking really

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      1   Hotlist. So there will be, I believe, just like       1   fast -- that this could apply to, and so it's not
      2   you see currently for the -- for the regulation,      2   just body powders. That is correct.
      3   the warnings that they're going to ask or the risk    3       Q. But from your understanding so far
      4   mitigation processes that they're going to put in     4   as it relates to a manufacturer of a product
      5   place. And some of that is already on the Health      5   containing talcum powder products, there's been no
      6   Canada's website.                                     6   mandate or requirement to take any action,
      7             So it's what Health Canada does             7   correct?
      8   rather than what the company does, but I do           8                MS. PARFITT: Objection.
      9   believe there's going to be something that will       9        Form.
     10   happen. It just hasn't happened yet, and that's      10   BY MR. HEGARTY:
     11   because this risk assessment screening assessment    11       Q. From Health Canada.
     12   just came out, and it's going to take time.          12                MS. PARFITT: Objection.
     13             And I think if you listened -- when        13        Form.
     14   I went on and listened to that -- the reason I       14                THE WITNESS: At this point
     15   went to that press release to listen to what they    15        in time, they have not mandated a
     16   were saying, they discuss that issue. How they       16        specific language for a label. That is
     17   are -- there's going to be actions taken as far as   17        correct. They have put on notice
     18   changes to the Hotlist for this particular issue,    18        companies to understand what their
     19   and you'll notice that the consumer-facing page --   19        opinion is, but you're correct.
     20   in the last trial we showed that -- is different.    20                The next step is to see what
     21       Q. So is it your understanding that the          21        actions they will take for risk
     22   Health Canada will actually mandate that talcum      22        mitigation. That's what they call it
     23   powder products contain a warning about ovarian      23        there. That next step is risk
     24   cancer for perineal use?                             24        mitigation: labeling, banning from a


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                                               Page 174                                                 Page 176
      1        product, limiting the percentage                 1      A.    Not for --
      2        potentially. There's a number of actions         2              MS. PARFITT: Objection.
      3        they could take to mitigate the risk.            3              THE WITNESS: Not that I can
      4   BY MR. HEGARTY:                                       4      recall for a cosmetic for sure. Cosmetic
      5       Q. Have you ever published an article             5      ingredients, possible. I'd have to think
      6   where you referred to a safety assessment finding     6      back. I don't -- I don't recall
      7   by Health Canada?                                     7      something off the top of my head, but I
      8                MS. PARFITT: Objection.                  8      have done that before for ingredients
      9        Form.                                            9      that are used in cosmetics.
     10                THE WITNESS: I don't think              10   BY MR. HEGARTY:
     11        I've published an article, but I have           11      Q. Have you ever advised clients about
     12        seen that in other peer-reviewed                12   Canadian regulations for warnings on a cosmetic?
     13        publications where others that I know           13              MS. PARFITT: Objection.
     14        or -- well, other articles I have seen          14      Form.
     15        cite to Health Canada screening risk            15              THE WITNESS: In general
     16        assessments, yes.                               16      terms, yes. I've never told them what to
     17   BY MR. HEGARTY:                                      17      put on their product, but I -- for
     18       Q. Have you ever lectured to a medical           18      example, some of the work that I do where
     19   or scientific group where you have discussed         19      I told you I've been working with someone
     20   Canadian regulation of cosmetics?                    20      who's an ingredient supplier, I deal with
     21       A. Sorry. Your question?                         21      Canadian compliance, EU compliance, U.S.
     22       Q. Sure.                                         22      compliance, Japanese compliance, as well
     23             Have you ever lectured to a medical        23      as other worldwide authorities.
     24   or scientific group where you have discussed         24   BY MR. HEGARTY:

                                               Page 175                                                 Page 177
      1   Canadian regulation of cosmetics?                     1       Q. Did you assess for purposes of your
      2        A. No. I have talked to students about           2   MDL report the strengths and weaknesses of the
      3   it, but not to a -- not like a presentation at a      3   Canadian final risk assessment --
      4   scientific meeting. No, I have not done that.         4       A. Yes.
      5        Q. Have you ever interacted directly             5       Q. -- for talc?
      6   with Health Canada regarding a cosmetic?              6       A. For the amended report?
      7                MS. PARFITT: Objection.                  7       Q. Yes.
      8        Form.                                            8       A. Yes, I did do that.
      9                THE WITNESS: Not a finished              9       Q. What are the weaknesses? What
     10        product, no, but ingredients that I know        10   weaknesses did you find with regard to that final
     11        can be used in cosmetics, yes.                  11   risk assessment?
     12   BY MR. HEGARTY:                                      12               MS. PARFITT: Objection.
     13        Q. Have you ever been involved in a             13        Form.
     14   Health Canada safety assessment for any cosmetic     14               THE WITNESS: So I can't --
     15   or cosmetic ingredient?                              15        I'm not going to -- I don't think I have
     16        A. No, I have not been. By that I               16        a particular weakness.
     17   would think you would -- you're meaning performing   17               I actually found that the
     18   the assessment or submitting comments?               18        assessment was consistent with the type
     19        Q. Right.                                       19        of assessment that I did and it was --
     20             Any type of assessment that Health         20        appeared to be including all of the
     21   Canada has done for a cosmetic or cosmetic           21        relevant articles that I would expect to
     22   ingredient. Along the lines you just talked          22        see.
     23   about. Whether you provided materials. You           23               They discuss some limitations
     24   provided comment. You were some way involved.        24        of their own or weaknesses in their own


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      1      assessment, and so maybe I would just              1   analysis that's pooling across studies of the same
      2      point you to that.                                 2   type. These are the cohort studies.
      3               I mean, consistent with a high            3             And another I think an advantage to
      4      quality assessment, you should discuss             4   this study is they did look at the data in terms
      5      like that that you did. In a regulatory            5   of people with a patent reproductive tract versus
      6      body, you have to lay out your strengths           6   someone who doesn't have a reproductive tract that
      7      and weaknesses for transparency purposes,          7   would enable talc to travel up the -- up towards
      8      and so it was there.                               8   the fallopian tubes or the ovaries. So that's
      9               I didn't find any particular              9   definitely a strength of it.
     10      weakness that I would point to to say             10             The weaknesses of this are similar
     11      that there's a reason I would discount            11   to the weaknesses of some of the individual
     12      something they did, but certainly I did           12   studies in that we, unfortunately, still have
     13      consider that when I looked at -- at it.          13   limited data on when people were exposed and for
     14               MR. HEGARTY: Can we go ahead             14   how long. Not for all the studies.
     15      and take a quick break? We've been going          15             We have some better data in some
     16      a little while.                                   16   studies, but the Nurses' Health Study -- that's
     17               MS. PARFITT: Yes.                        17   one of those studies that we can keep going back
     18               (Recess: 11:59 a.m. -                    18   to that is a big part of this -- is a study that
     19               12:15 p.m.)                              19   was not designed to look at the relationship
     20               MR. HEGARTY: Back on the                 20   between talc and ovarian cancer. And as a result,
     21      record.                                           21   the question that was asked was asked at a time
     22   BY MR. HEGARTY:                                      22   period and then that frequent -- that duration of
     23      Q. Dr. Plunkett, the next paragraph I             23   exposure was never tied down.
     24   want to talk about is paragraph 72 of your report.   24             So those are the same kind of basic.

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      1             In this part of your report, you            1   The things that existed within the studies that
      2   discuss the O'Brien study, correct?                   2   are used in the analysis are still there. So
      3        A. Yes, that's correct.                          3   those weaknesses are still there. It can't be
      4        Q. And what are the strengths and                4   corrected based upon the analysis they've done.
      5   weaknesses of the O'Brien study, in your opinion?     5             But I think to me a strength of it
      6        A. So the -- the strengths and                   6   is the fact that they did focus in on this issue
      7   weaknesses of the O'Brien study -- and if you want    7   of patent versus nonpatent reproductive tracts,
      8   all of them, I'm going to need to pull it out, but    8   and that's what I talk about a little bit. I
      9   essentially --                                        9   think that's -- do I mention that? I think I talk
     10                MR. HEGARTY: I have a copy of           10   about that in my -- in this paragraph that I added
     11        the O'Brien study --                            11   it.
     12                THE WITNESS: Okay.                      12             And I added this study in this
     13                MR. HEGARTY: -- that I'll               13   paragraph just because this is new. So I did try
     14        mark as Exhibit No. 15.                         14   to update with some of the newer. Because you
     15                (Document marked for                    15   know I mention -- I try to mention the available
     16        identification as Plunkett Exhibit 15.)         16   epidemiological data, and so that's why this was
     17                MS. PARFITT: Thank you. Got             17   added.
     18        it.                                             18        Q. Any other strengths and
     19                THE WITNESS: Go ahead. I'm              19   weaknesses --
     20        sorry.                                          20                MS. PARFITT: Objection.
     21   BY MR. HEGARTY:                                      21   BY MR. HEGARTY:
     22        Q. I'm ready whenever you're ready.             22        Q. -- that we haven't talked about?
     23        A. Yeah. Okay. So the strengths of              23        A. No, and I would point you to the
     24   the O'Brien study is that it is a -- it is an        24   paper itself where they discuss their strengths


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      1   and weaknesses there, and things I've said before     1        conclusions.
      2   generally about -- about some of the individual       2                THE WITNESS: Can you ask it
      3   studies that are part of this.                        3        again?
      4       Q.      Do you agree the O'Brien study was        4   BY MR. HEGARTY:
      5   sufficiently powered to identify a 1.3 relative       5       Q. Sure.
      6   risk if it exists?                                    6       A. Can you read the question again?
      7                 MS. PARFITT: Objection.                 7       Q. The conclusion and relevance in the
      8        Form. For what? Patent, not patent?              8   paper itself says that:
      9                 MR. HEGARTY: Between -- well,           9             "In this analysis of pooled data
     10        let me ask it. Let me rephrase it.              10   from women in four U.S. cohorts, there was not a
     11   BY MR. HEGARTY:                                      11   statistically significant association between use
     12       Q.      Do you agree that the O'Brien study      12   of powder in the genital area and incidence of
     13   was sufficiently powered to identify a 1.3           13   ovarian cancer. However, the study may have been
     14   relative risk between every use of body powder and   14   underpowered to identify a small increase in
     15   ovarian cancer risk if it exists?                    15   risk."
     16                 MS. PARFITT: Are you speaking          16             Did I read that correctly?
     17        with regard to patent tubes?                    17       A. You did exactly.
     18                 MR. HEGARTY: No. Just the              18       Q. Do you state that conclusion
     19        overall conclusion of the study, just as        19   anywhere in your report?
     20        I said in my -- inn my question.                20                MS. PARFITT: Objection.
     21                 MS. PARFITT: Objection.                21        Misstates not only her report, but the
     22                 THE WITNESS: I have formed             22        conclusions in the study and data in the
     23        the opinion that it was underpowered to         23        study.
     24        do that or overpowered. I relied on what        24                THE WITNESS: So I don't -- I


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      1       the authors themselves said in terms of           1        do not quote the sentences, if that's
      2       how they designed the study and what they         2        what you're asking me. I think that's
      3       looked at.                                        3        what you're asking me.
      4               So I don't have a criticism               4   BY MR. HEGARTY:
      5       that it was -- that it was underpowered           5       Q. Well --
      6       to do that. Although the biggest                  6       A. But I do think -- go ahead.
      7       criticisms of these studies is that none          7       Q. I don't -- let me just restate my
      8       of them were designed to look at it and,          8   question. We don't -- don't get off-track. I'm
      9       as a result, don't have sufficient                9   not asking whether you quoted it.
     10       information, in my view, on exposure to          10             I'm asking: Do you include the
     11       be able to say that you can definitively         11   conclusion or reference to the conclusion about
     12       say whatever use or -- ever use versus           12   there not being "a statistically significant
     13       never use really was in the individuals          13   association between use of powder in the genital
     14       and how long that went on.                       14   area and the incidence of ovarian cancer," that
     15   BY MR. HEGARTY:                                      15   part of the report anywhere in your MDL report?
     16       Q. You're referring in this part of              16                MS. PARFITT: Objection.
     17   your report to the subgroup analysis on women with   17        Form.
     18   patent tubes.                                        18                THE WITNESS: Well, I think I
     19            You agree that the O'Brien study            19        do in my report. I mean, I -- I'm
     20   came to an overall conclusion with regard to body    20        looking at the exact language I used in
     21   powder use in the genital area in the incidence of   21        my report about this study, but I think
     22   ovarian cancer, correct?                             22        if you read what I have -- what I have
     23               MS. PARFITT: Objection.                  23        written about the study and then read the
     24       Misstates the article and the                    24        the quote I did pull out.


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      1                Because there were some                  1   without regard to the -- would apply to the
      2        criticisms or some comments or letters to        2   overall look at the cases and controls --
      3        the editor about the study where O'Brien         3                MS. PARFITT: Objection.
      4        actually responds to questions asked             4       Form.
      5        about the fact that there may have been a        5   BY MR. HEGARTY:
      6        lack of statistical significance within          6       Q. -- as opposed to looking at a
      7        some parts of the study in terms of what         7   subgroup analysis?
      8        was found.                                       8                MS. PARFITT: Objection.
      9                But to me, as I have stated, I           9       Form. Misstates the data.
     10        think the study shows that there, indeed,       10   BY MR. HEGARTY:
     11        is within the women with a patent               11       Q. You can answer.
     12        reproductive tract a statistically              12                MS. PARFITT: And study
     13        significant increased finding.                  13       results. Go ahead.
     14                I don't know what else to tell          14                THE WITNESS: Okay.
     15        you. I'd say I'd refer you to my                15                So, again, I think the best
     16        paragraph where I attempted to, I think,        16       way to answer that is to point you to
     17        give an accurate reflection of what the         17       what Dr. O'Brien herself says or himself
     18        study is.                                       18       says -- it's a her I think -- says about
     19   BY MR. HEGARTY:                                      19       it in response to Dr. Harlow.
     20       Q. If you turn over to the Discussion            20                Because I think she's pointing
     21   section on page 56, do you agree with the            21       out that the data is consistent with
     22   statement, the first statement that "In this         22       the -- with their hypothesis. The data
     23   pooled analysis of four large U.S. cohorts, there    23       they have is consistent with the
     24   was no statistically significant association         24       hypothesis and it doesn't say that

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      1   between self-reported use of powder in the genital    1        there's no risk.
      2   area and risk of ovarian cancer"?                     2                But I don't disagree with you.
      3                 MS. PARFITT: Objection.                 3        They have described it with that
      4        Asked and answered. She said that's what         4        sentence. I agree that's there.
      5        it says, but she did not say she agreed.         5                I think, however, the study
      6   BY MR. HEGARTY:                                       6        provides important evidence that adds to
      7       Q. Do you agree that that's -- that               7        the weight of the evidence that there,
      8   sentence describes what the study found?              8        indeed, is a repeated signal, repeated
      9                 MS. PARFITT: Objection.                 9        finding of an increased risk of ovarian
     10        Misstates the study results and data.           10        cancer in women that use talc genitally.
     11   BY MR. HEGARTY:                                      11   BY MR. HEGARTY:
     12       Q. You can answer.                               12       Q. Do you agree with the next sentence
     13       A. So I -- my first answer was going to          13   in that section that we're looking at as a finding
     14   be, you have read that correctly. I agree that       14   from this study that "There was no clear
     15   that statement is there.                             15   dose-response transfer duration and frequency of
     16              But as I have stated in my -- in my       16   powder use in the genital area in relation to
     17   report, I believe that there is statistically        17   ovarian cancer risk"?
     18   significant findings that inform on this             18                MS. PARFITT: Objection.
     19   association between use of genital talc and risk     19        Misstates the data.
     20   of ovarian cancer.                                   20                THE WITNESS: So I agree that
     21              But I don't disagree with you that        21        you have read that correctly, and I would
     22   that's -- this sentence is absolutely there. I       22        say in response to that that I don't
     23   see that sentence.                                   23        think that's an accurate reflection of
     24       Q. Does that sentence accurately apply           24        the weaknesses of the study.


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      1               In other words, I've already              1        that are in the study, but I don't know.
      2       told you that they themselves talk about          2        They don't -- they don't comment on that.
      3       the fact that they don't have the data on         3        So I can't answer that. I can't answer
      4       frequency and duration on all of them.            4        that for you.
      5       So if they don't have it, obviously then          5   BY MR. HEGARTY:
      6       you're not going to be able to find it,           6       Q. Does the paper identify the extent
      7       right?                                            7   of exposure to talcum or body powder at the time
      8               So I think I understand why               8   they had the tubal ligation or other procedure
      9       they have written this sentence, but I            9   where their tubes became nonpatent?
     10       think there if you go further into the           10       A. In answer to that, I'd have to dig
     11       paper, they actually talk about these            11   into their records. I don't know. I don't recall
     12       particular issues about the fact that            12   that being stated in here, but I don't. You want
     13       they don't -- they don't have that               13   me to read it and look? I can't answer that
     14       information on duration.                         14   without looking.
     15   BY MR. HEGARTY:                                      15       Q. Well, do you recall sitting here
     16      Q. With regard to the subgroup analysis           16   today one way or the other?
     17   on women with patent and nonpatent tubes, does the   17       A. I don't recall looking for that
     18   paper identify data on the age of the women at the   18   information. So I don't recall that, no.
     19   time they had the tubal ligation or where their      19       Q. Did women who had nonpatent tubes
     20   tubes became nonpatent?                              20   have enough exposure to baby powder prior to their
     21               MS. PARFITT: Objection.                  21   tubes becoming nonpatent to increase their risk of
     22       Form.                                            22   ovarian cancer, in your opinion?
     23               THE WITNESS: I don't believe             23                MS. PARFITT: Objection.
     24       it does, but let me look if they were            24                THE WITNESS: I haven't


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      1        able to get that.                                1        formed that opinion one way or the other.
      2               (Reviews document.)                       2   BY MR. HEGARTY:
      3               I don't believe they had that             3       Q. Does the paper identify the
      4        information because I think they're              4   difference in exposure history to talcum or body
      5        saying here that it was not recorded. So         5   powder between the women with and without a tubal
      6        they don't have that information for             6   ligation at the time they had the procedure where
      7        everything.                                      7   their tubes became nonpatent?
      8               Is that what you're asking me?            8       A. I'll have to look to answer that
      9   BY MR. HEGARTY:                                       9   question. I didn't attempt to look for the answer
     10       Q. Yes.                                          10   to that question when I was reviewing the paper.
     11       A. If it was done post their entry into          11       Q. Did you review the editorial comment
     12   the study. So if they had -- they had -- they        12   by Gossett published at the time of O'Brien?
     13   have that data for individuals as they enter the     13       A. Was it -- if it was within the
     14   study, but are you asking me -- but they don't       14   comments at the same time that Harlow's comments
     15   have complete information based on what they're      15   were given -- I think there were several -- then I
     16   saying here.                                         16   may have. If it's in a different edition or a
     17            Is that what you're asking me?              17   different -- if it's in a different time, then I
     18       Q. My question: Does it identify the             18   don't know. I'd have to see it.
     19   age at which the women -- women's tubes became       19                MR. HEGARTY: Let me mark as
     20   nonpatent as to that group?                          20        Exhibit No. 16 the Gossett --
     21               MS. PARFITT: Objection.                  21                MS. PARFITT: Thank you.
     22        Form.                                           22                MR. HEGARTY: -- editorial
     23               THE WITNESS: I imagine you               23        that was published in JAMA January 7,
     24        could get that if you went to the records       24        2020.


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                                              Page 194                                                 Page 196
      1                (Document marked for                    1   personal knowledge of any of that.
      2        identification as Plunkett Exhibit 16.)         2       Q. Do you have any criticisms of
      3   BY MR. HEGARTY:                                      3   Exhibit No. 16?
      4       Q. Can you tell me whether you had               4                MS. PARFITT: Objection.
      5   reviewed this at the same time you reviewed the      5        Form.
      6   O'Brien study?                                       6                THE WITNESS: I haven't
      7       A. I will try to answer that for you.            7        formed an opinion based on this document
      8   I'm looking at something that I can find in my --    8        at this point in time.
      9   (reviews document.)                                  9   BY MR. HEGARTY:
     10             I believe I've seen this before. I        10       Q. If you look over at Exhibit No. 16
     11   don't know that it -- this was not part of the --   11   page 30?
     12   the letters to the editor. So this is a different   12       A. Okay. I'm there.
     13   document. So I believe this was published maybe     13       Q. The first full paragraph beginning
     14   not in the same -- I don't know if it's published   14   with the word "Given."
     15   in the same one. Let me look and see.               15             Do you see that paragraph?
     16       Q. It was published in the --                   16       A. Yes.
     17       A. That's what I --                             17       Q. This paragraph relates to the
     18       Q. -- same volume as the O'Brien                18   subject area of patent tubes, and it says:
     19   article?                                            19             "Given this punitive mechanism of
     20       A. Right. But it was not -- it was not          20   exposure, the subgroup analysis of women with
     21   something that was in the back like the Harlow      21   patent reproductive tracts is of particular
     22   comments is what I'm saying.                        22   interest. However, it is not possible to equate a
     23       Q. Correct.                                     23   patent reproductive tract with exposure in a
     24       A. Yes, exactly. So I have seen this            24   nonpatent reproductive tract with non-exposure."

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      1   before, yes. If that's what you're asking me?        1              Do you agree with that sentence?
      2        Q. Yes.                                         2                 MS. PARFITT: Objection.
      3             And did you --                             3         Dr. Plunkett has indicated that she not
      4        A. Yes, I have seen it before.                  4         only did not cite this as a reference,
      5        Q. I saw it -- strike that.                     5         but had not digested the article and had
      6             My review of your amended report           6         no opinions with regard to its context.
      7   doesn't show that you reference this Gossett         7                 THE WITNESS: Well, I mean,
      8   editorial; is that correct?                          8         I've seen -- you have read that statement
      9        A. I do not reference this in the -- in         9         correctly. I see it.
     10   the body of my report. That is correct.             10   BY MR. HEGARTY:
     11        Q. But you had read it at the time that        11        Q. Do you agree with that statement?
     12   you prepared your amended report, correct?          12        A. That -- are you asking me do I agree
     13        A. I read it when I retrieved the              13   with whether or not you can't equate the two
     14   information on the O'Brien article, yes. I can't    14   generally or are you asking me about --
     15   tell you exactly when I read it, but I did, yes.    15        Q. Yes.
     16        Q. Do you know Dr. Gossett?                    16        A. -- their study?
     17        A. No, I don't believe I do.                   17        Q. I am asking you: It is not possible
     18        Q. Do you know Dr. del Carmen?                 18   -- is it correct that it is not possible in this
     19        A. No, I do not.                               19   study to equate a patent reproductive tract with
     20        Q. Do you know their qualifications?           20   exposure and a nonpatent reproductive tract with
     21        A. Only by what they list here.                21   non-exposure?
     22        Q. Okay.                                       22                 MS. PARFITT: Objection.
     23        A. I could tell you based on the paper,        23                 THE WITNESS: I think that
     24   but I don't know them specifically. I have no       24         would be highly dependent on the


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                           Laura M. Plunkett, Ph.D, D.A.B.T.
                                              Page 198                                                 Page 200
      1       information you had. I think it's -- I            1   group with nonpatent tubes, you find that there
      2       certainly think the patent versus                 2   are no statistical difference between the two,
      3       nonpatent is important in terms of                3   correct?
      4       biologic mechanism that we believe it has         4                MS. PARFITT: Objection.
      5       to get there, but I don't -- I don't know         5        Misstates her testimony.
      6       that I can answer that -- that question           6                THE WITNESS: I agree -- if
      7       that I agree or disagree simply because I         7        you're asking me do I agree that that is
      8       think there's more to it than that.               8        written there? I absolutely do.
      9                 The sentence is not saying --           9                What I'm saying to you is, I
     10       I don't think it's saying quite how              10        disagree that that's what the authors
     11       you're -- you're stating it. I think             11        themselves feel about their data. That's
     12       it's -- I think he's -- I think it's you         12        all I'm saying to you.
     13       have to read that in conjunction with the        13                I think that they're saying if
     14       rest that's in the paragraph.                    14        you read what -- read this response to
     15   BY MR. HEGARTY:                                      15        Dr. Harlow, they talk about it. They
     16       Q. Well, the next sentence says:                 16        talk about what their findings are.
     17             "Women who undergo tubal ligation or       17                They talk about the fact that
     18   hysterectomy (nonpatent) and use powders in the      18        the findings are not -- may not all be
     19   genital area cannot be assumed to have started       19        equally important and that there was,
     20   using them only after their surgeries."              20        indeed, the positive association is
     21             Do you agree with that statement?          21        consistent with the hypothesis that
     22                 MS. PARFITT: Objection.                22        there's an association, which is
     23       Form.                                            23        different than using this study to draw
     24                 THE WITNESS: I haven't                 24        an overall conclusion.


                                              Page 199                                                 Page 201
      1        looked at their data. So I can't --              1               I don't think the authors are
      2        that's why I said to you. I'd have to go         2       doing that. I don't do that. No one
      3        look at the data to know if they have            3       should do that. You should look across
      4        that or not. I can't answer that.                4       all the data.
      5   BY MR. HEGARTY:                                       5   BY MR. HEGARTY:
      6       Q. If you continue down in that                   6       Q. Do you agree a P value for
      7   paragraph, it says:                                   7   heterogeneity of .15 means that there is no
      8             "The fact that there are no                 8   heterogeneity between the groups?
      9   significant differences in the HRs in the patent      9               MS. PARFITT: Objection.
     10   and nonpatent groups where they list HR 1.13 and     10       Misstates the article. Misstates the
     11   HR .99, P value for heterogeneity comparing these    11       science. Misstates --
     12   subgroups of .15 confirms the overall conclusion     12   BY MR. HEGARTY:
     13   that there is no demonstrable statistically          13       Q. You can answer.
     14   significant association between use of powder in     14               MS. PARFITT: -- her
     15   the genital area and ovarian cancer risk."           15       testimony.
     16             Do you see the sentence I'm reading        16               THE WITNESS: If you're
     17   from?                                                17       asking me simply as a general premise, if
     18       A. You've read that correctly, and I             18       you had a P value of .15, what conclusion
     19   disagree based on what they -- the authors           19       would you draw? Is that what you're
     20   themselves say about -- about their findings on      20       asking me?
     21   page 53 of my report.                                21   BY MR. HEGARTY:
     22       Q. Well, that sentence is saying that            22       Q. Yes.
     23   if you do a test for heterogeneity between the HRs   23       A. Okay. By that, I would say that I
     24   for the group with patent tubes and the HR for the   24   have seen that conclusion drawn with those types


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                           Laura M. Plunkett, Ph.D, D.A.B.T.
                                               Page 202                                                  Page 204
      1   of values.                                            1   highlighted by the statistically unsophisticated
      2             I'm saying to you, however, that's a        2   reader as evidence of a relationship."
      3   different question than what the actual -- the        3             Did I read that correctly?
      4   actual authors draw about the conclusions --          4       A. I'm looking where you are. I
      5       Q. Right.                                         5   apologize. I lost you. So...
      6       A. -- of their study.                             6       Q. All right.
      7       Q. And my question is simply as a                 7       A. Oh, here it is. Okay. I'm sorry.
      8   matter of epidemiological statistical analysis.       8             You did read that correctly. Yes, I
      9             And you're familiar with statistical        9   do see that line.
     10   analysis for epidemiologic studies, correct?         10       Q. Okay. Do you agree with that
     11       A. Yes, I am.                                    11   statement?
     12       Q. And you agree when you compare two            12                MS. PARFITT: Objection.
     13   HRs statistically and there is a test for            13        Misstates her testimony.
     14   heterogeneity that comes out that's not              14                THE WITNESS: I haven't
     15   statistically significant, you can't say the two     15        formed an opinion one way or the other on
     16   values are different --                              16        this statement. As I told you, I have
     17                MS. PARFITT: Objection.                 17        not formed any opinions on this paper at
     18   BY MR. HEGARTY:                                      18        this point in time.
     19       Q. -- correct?                                   19   BY MR. HEGARTY:
     20                MS. PARFITT: Objection.                 20       Q. And why was it that you chose not to
     21        Misstates her testimony.                        21   cite the Gossett study within your amended MDL
     22                THE WITNESS: So I think that            22   report?
     23        depends. I mean, on that question, if           23                MS. PARFITT: Objection.
     24        you want to go that specific to -- to           24        Form.

                                               Page 203                                                  Page 205
      1        this data, I would point to the                  1                THE WITNESS: No particular
      2        epidemiologists in these cases, which are        2        reason where I -- I can't tell you that I
      3        going to deal with these issues.                 3        have a particular reason for this was not
      4                 I'm just -- I answered the              4        cited. I can tell you what I did cite,
      5        general premise question to you to tell          5        which is what I believe to be
      6        you my experience. I understand what             6        appropriate, which would be the authors'
      7        these tests are used for. So as a                7        own conclusions about their own findings.
      8        general premise, I can see that done.            8                And, again, it's -- it's how
      9                 I am saying to you, however,            9        when you do weight of the evidence, you
     10        that I don't think it's a simplistic            10        look at each individual piece of
     11        saying that that one value is what should       11        information on its own and draw
     12        drive your overall conclusions for the          12        conclusions based upon what that author
     13        study, and I think that's what is               13        says about their own work.
     14        consistent with what the authors                14                And then you put that into an
     15        themselves are saying.                          15        analysis of what I as a scientist --
     16   BY MR. HEGARTY:                                      16        conclusions I will draw or would draw
     17       Q.      If we continue in that paragraph, it     17        based upon what I see in that -- in that
     18   says:                                                18        data.
     19             "The subgroup analysis suggesting          19   BY MR. HEGARTY:
     20   that women with intact reproductive tracts who use   20       Q. You don't know whether any of the
     21   powder in the perineal area developed ovarian        21   plaintiffs that were -- that were -- that are part
     22   cancer more frequently than nonusers is below the    22   of the cases we're looking at, the MDL plaintiffs
     23   effect size that epidemiologists generally           23   or the Swann plaintiffs have patent or nonpatent
     24   consider important and should not be selectively     24   tubes, do you?


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                           Laura M. Plunkett, Ph.D, D.A.B.T.
                                              Page 206                                                 Page 208
      1               MS. PARFITT: Objection. It's             1              MS. PARFITT: Objection.
      2       a case-specific question and Dr. Plunkett        2       Form. Broad.
      3       is not here to give opinions on                  3              THE WITNESS: I don't know
      4       case-specific issues.                            4       quite what you mean by --
      5               THE WITNESS: I am -- I'm not             5              MS. PARFITT: The analysis?
      6       case-specific.                                   6              THE WITNESS: I don't know
      7               MS. PARFITT: Objection.                  7       quite what you mean, other than I think I
      8               THE WITNESS: So I can't                  8       can tell you that I did cite to it. It's
      9       answer that question for any of the              9       part of my weight of the evidence.
     10       individual plaintiffs in this case.             10              Are you asking me something
     11   BY MR. HEGARTY:                                     11       else?
     12       Q. If you would turn next to paragraph          12   BY MR. HEGARTY:
     13   75 in your report.                                  13       Q. Well, do you agree with the way that
     14            In that paragraph, you talk about          14   Taher analyzed the data to come to its
     15   the Taher study, correct?                           15   conclusions?
     16       A. Somewhere here I think I do. Are             16              MS. PARFITT: Objection.
     17   you -- are you -- you're further back in time,      17       Form.
     18   though. You're paragraph 104?                       18              THE WITNESS: Well, I don't
     19               MS. PARFITT: Paragraph 75.              19       disagree with his method.
     20   BY MR. HEGARTY:                                     20   BY MR. HEGARTY:
     21       Q. I'm sorry. Paragraph 75.                     21       Q. Okay.
     22       A. 75. Oh, I'm sorry.                           22       A. I mean, he's done a different. I
     23       Q. Toward the end, you include an               23   mean, I'm very familiar who this group is. I
     24   analysis in this paragraph about the Taher study,   24   actually know Dr. Krewski, Dr. Krishnan, and

                                              Page 207                                                 Page 209
      1   correct?                                             1   Dr. Madison to some extent. I know this group. I
      2       A. Yes, I do. I talk about it down               2   know their reputation. So absolutely when I read
      3   here.                                                3   it, I wasn't -- I expected, as I did see, was I do
      4                MR. HEGARTY: I'll mark as               4   see a quality assessment in terms of what they've
      5        Exhibit 17 the Taher paper.                     5   gone through, but it's, you know, it is a piece of
      6                (Document marked for                    6   evidence on its own.
      7        identification purposes as Plunkett             7              It's not the only piece of evidence
      8        Exhibit 17.)                                    8   that I think I or Health Canada, if you look at
      9   BY MR. HEGARTY:                                      9   what they did, relied upon.
     10       Q. First of all, Health Canada relied           10        Q. Do you agree with the conclusions
     11   on this paper as part of the making its risk        11   that the authors reached in the Taher paper?
     12   assessment, correct?                                12                  MS. PARFITT: Objection. Is
     13                MS. PARFITT: Objection.                13         there a specific question? Specific
     14        Form.                                          14         conclusion? It is a multiple page study.
     15                THE WITNESS: It certainly              15                  THE WITNESS: So in this --
     16        referred to this paper as part of the          16         in the MDL, first off, I'm not providing
     17        work that they did, yes. They made             17         a causation analysis, right?
     18        their -- Health Canada took this and then      18                  But certainly I see his -- are
     19        they -- they developed their own               19         you asking me about his conclusion that
     20        screening assessment outside of just this      20         perineal use of talc is a possible
     21        paper.                                         21         cause --
     22   BY MR. HEGARTY:                                     22   BY MR. HEGARTY:
     23       Q. Do you agree with the Taher analysis         23        Q. Correct.
     24   as set out in Exhibit No. 17?                       24        A. -- of humans?


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                           Laura M. Plunkett, Ph.D, D.A.B.T.
                                              Page 210                                                  Page 212
      1             I think you should know, based on           1        you have to deal with the limitations on
      2   testimony I've given in other cases, that I           2        the data you have, and I think they talk
      3   believe perineal talc use can cause ovarian cancer    3        about there's some, you know, some things
      4   in women, yes. So that, I guess, we agree with        4        would be nice.
      5   the fact that there is a causal connection, but       5                 Like in the cohort studies, it
      6   I'm not in the MDL providing a causation opinion.     6        would have been really nice if we had
      7        Q. And the same is true for the Swann            7        complete exposure information, which we
      8   case?                                                 8        don't have. Things like that.
      9        A. If it's part of the MDL or not?               9                 But I think the strengths of
     10   It's a separate case?                                10        this is, they did a detailed weight of
     11        Q. Swann is the state court, Missouri           11        the evidence, and it's very transparent
     12   case.                                                12        for you. They lay it out in detail.
     13        A. Oh, I'm not doing general causation,         13   BY MR. HEGARTY:
     14   no.                                                  14       Q. You said you know this group.
     15        Q. Okay.                                        15             What do you know about some of these
     16        A. So unless you've been told I'm doing         16   folks in this group?
     17   general cause, which I don't think you've been       17       A. So I published with Dr. Krewski on
     18   told that, then, no.                                 18   my public -- on my -- my list of publications,
     19        Q. What are the strengths and                   19   you'll see I have a copper puff paper. So I have
     20   weaknesses of the Taher article I've marked as       20   met with him, worked with him one-on-one on
     21   Exhibit No. 17?                                      21   projects. And Dr. Krewski may be the last author
     22                MS. PARFITT: Objection.                 22   in this paper, but, boy, he is always a driver
     23         Form. Broad.                                   23   between anything -- in anything he works on.
     24                THE WITNESS: So -- well,                24             So I, you know, it is -- it is an

                                              Page 211                                                  Page 213
      1        like all the papers that I look at,              1   issue of, I know the McLaughlin Centre for
      2        luckily they give you a description of --        2   Population Health Risk Assessment, which is where
      3        of what -- what the strengths and                3   Dan Krewski is.
      4        weaknesses are of the data they looked at        4             And Dr. Taher I don't know
      5        as individual pieces.                            5   personally, but all of the people that I've ever
      6                You know, they do provide --             6   known that came out of his what I call group or
      7        in fact, Dr. -- I mean, my earlier depo,         7   his oversight are good quality risk assessors.
      8        Ms. Branscome went through this issue            8       Q. You make reference in this paragraph
      9        with me. She asked me questions about            9   to two papers by Wu.
     10        the Klimisch scoring. She asked me              10             Why did you add the two papers by Wu
     11        questions about all of that in here.            11   to this paragraph?
     12                I think I told her that what I          12       A. You're in paragraph?
     13        see here is consistent with a weight of         13       Q. Same paragraph.
     14        the evidence like I've done, it's just          14       A. Oh, I'm sorry.
     15        they've laid it out in a different way.         15       Q. 75.
     16        But I don't know how else to answer.            16       A. I think they were always in my
     17                So the strength would be that           17   reliance list, if I remember correctly, but I'm
     18        it's consistent with general methodology        18   giving you ones that the 2006 panel did not have.
     19        used when you're doing a weight of the          19   So if you read starting on page 55, I said it
     20        evidence. Strength is that I know these         20   should be noted that the 2006 IARC did not have
     21        people. I know they're a high quality           21   access to reports, and the Wu's are listed.
     22        group.                                          22             So what I did here in this report is
     23                And then a weakness of any              23   go ahead and give you a description of what each
     24        publication is -- is that you can only --       24   of those are. It really was mainly for my


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                           Laura M. Plunkett, Ph.D, D.A.B.T.
                                               Page 214                                                     Page 216
      1   benefit. So if you asked me in a deposition I can     1        Q. How about since you left ENVIRON?
      2   remember who Wu was based upon. But I just tried      2        A. Probably not, no.
      3   to tell you what it was that they did generally       3        Q. And how -- in what way did you deal
      4   and lay it out as evidence that was not considered    4   directly with PCPC when you were at ENVIRON?
      5   by IARC, showing that there has been an               5        A. So we worked on projects where PCPC
      6   accumulation of evidence post-IARC.                   6   were in meetings with clients of ours that, you
      7       Q. You made reference to what the IARC            7   know, we would have a meeting with a client. PCPC
      8   group did not have in front of it. You mentioned      8   would also be in the meeting. I don't know that
      9   the Wu paper.                                         9   we only ever worked for the PCPC, but certainly we
     10             But IARC also did not have in front        10   did work on issues that involved the client as
     11   of it the Gates 2010 paper, the Houghton 2014        11   well as the PCPC.
     12   paper, and the Gonzalez 2016 paper, correct?         12        Q. The next paragraph, number 90, you
     13       A. That is correct. Anything that came           13   also added; is that correct?
     14   after 2006 would not have been included in that      14        A. Yes, that's correct.
     15   assessment.                                          15        Q. And why did you add that paragraph?
     16       Q. But in your report, you don't make            16        A. Again, I think this would be
     17   reference to the IARC group not having those         17   consistent with additional documents that I either
     18   studies either, correct?                             18   discussed at trial testimony -- during trial
     19       A. That is correct. I do not.                    19   testimony or -- and so I was trying to give a
     20       Q. Why didn't you do that?                       20   little more detail in terms of some of the
     21       A. No particular reason to not include           21   additional evidence or themes that had been
     22   them. It's just that these are -- I'm citing for     22   developed since my initial MDL report.
     23   you the evidence that I think is additional          23        Q. At the beginning of that paragraph,
     24   information for the weight of the evidence.          24   you say, you make the statement:


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      1             In other words, these are studies           1               "The influence of industry on FDA
      2   that add to that weight showing that there is a       2   actions."
      3   statistically significant increased risk in human     3             What do you mean by that phrase
      4   populations that have been looked at. It's not to     4   "influence of industry"?
      5   say that there aren't studies that don't show a       5       A. It's -- well, it's the evidence
      6   statistically significant increased risk, but         6   showing that when -- when it came to interactions
      7   these studies do.                                     7   on the issues related to talc, industry being
      8       Q. The next paragraph I want to look at           8   either through the PCPC or industry themselves,
      9   is paragraph 89 of your report.                       9   people from Imerys or people from J&J, were having
     10             This is a new paragraph; is that           10   direct interactions with FDA staff.
     11   correct?                                             11             And in my view, if you read the
     12       A. Yes, this was a new document that I           12   documents where they describe the actions being
     13   had -- new -- new documents in terms of opinions     13   taken and the relationship -- some of those we've
     14   expressed. I believe they were brought out either    14   talked about at trials -- it's the idea that -- in
     15   from depositions that I read, and I think that's     15   fact, in the last trial, we talked about Johnson &
     16   where I got these from. These may be old             16   Johnson employees talking about -- and the Imerys
     17   documents in terms of time, but documents that       17   employees talking about John Bailey being the
     18   were discussed in either later testimony or other    18   person at FDA to carry their water. It's those
     19   things that occurred after I wrote my report in      19   issues.
     20   terms of my trial testimony.                         20             It's the idea of the fact that, in
     21       Q. Have you ever dealt directly with             21   my view, there was influence that I don't think,
     22   the PCPC?                                            22   in my view, was -- was appropriate in terms of
     23       A. Yes, I have, when I worked at                 23   what I would tell my clients to do in their
     24   ENVIRON.                                             24   interactions with -- with the FDA.


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                           Laura M. Plunkett, Ph.D, D.A.B.T.
                                               Page 218                                                  Page 220
      1             And many FDA employees -- well, the         1       know, unfortunately, because this
      2   two people that work for me right now or work with    2       influence was part of -- part of what
      3   me right now -- will talk to you about the ethics     3       happened.
      4   at FDA, and that's different than what we're          4               I can tell you based on what I
      5   seeing in some of these documents that occurred.      5       believe is, in my view, not appropriate
      6       Q. Is it your opinion that without the            6       based upon my working with the industry
      7   influence that you cite in these new paragraphs 89    7       or what I would influence -- I would tell
      8   and 90 that FDA would have done something             8       my -- my clients to do.
      9   different than what they have done so far to date?    9               And I also, like I said, I
     10                MS. PARFITT: Objection.                 10       have -- I have personal knowledge now of
     11        Form.                                           11       what people tell me people that work at
     12                THE WITNESS: I don't think I            12       FDA say about the kinds of interactions
     13        formed that opinion because I think these       13       they're allowed to have or not have, and
     14        paragraphs have to do with specific             14       I think that what was going on here was
     15        instances where I do believe that,              15       inconsistent with that.
     16        without the influence on the NTP process,       16   BY MR. HEGARTY:
     17        there might have been a very different          17      Q. In paragraph 91, you refer to the
     18        finding in terms of the listing of NTP.         18   PCPC and industry representatives failing to
     19        A listing in the 10th RoC. That's               19   provide FDA with accurate description of their
     20        paragraph 90.                                   20   knowledge of talc safety.
     21                So I do believe that the                21            Do you see that --
     22        influence of industry and industry              22      A. Where?
     23        themselves, the individual at the               23      Q. -- addition?
     24        companies are talking about their wins in       24      A. No. I'm looking now.


                                               Page 219                                                  Page 221
      1        terms of influencing the process. Not            1                MS. PARFITT: Here you go.
      2        getting a listing for talc with the NTP.         2   BY MR. HEGARTY:
      3        So that's the opinions I formed.                 3       Q. It's in the first part of --
      4               I haven't formed the opinion              4       A. Okay.
      5        the way you've expressed it.                     5       Q. -- I think paragraph 91.
      6   BY MR. HEGARTY:                                       6             Do you see where I'm reading from?
      7       Q. Yeah. My question was specific to              7       A. I do see that now. Starting with "A
      8   FDA.                                                  8   review of the minutes"?
      9             You understood that?                        9       Q. Correct.
     10       A. I did and I answered it first. I              10       A. Yes. Okay.
     11   thought I said that to you first. I can look.        11       Q. Who are the industry representatives
     12       Q. So you're not going to provide the            12   you're referring to in that addition to this
     13   opinion that one way -- any type of opinion as to    13   paragraph?
     14   relates to what FDA would have done with regard to   14       A. I would have to pull the document
     15   talc absent this what you call influence --          15   out to look at it. So who was at the meeting.
     16               MS. PARFITT: Objection.                  16   But the Talc Interested Party, it's referring to a
     17        Form.                                           17   meeting of those folks. There would be -- should
     18   BY MR. HEGARTY:                                      18   be J&J people there. There should be Imerys
     19       Q. -- that you cite in these two                 19   people there. There should be maybe Colgate
     20   paragraphs?                                          20   Palmolive there. Typically those were all members
     21               MS. PARFITT: I'm sorry.                  21   of the -- of the -- of the Talc Interested Party
     22        Objection. Form.                                22   task force, including PCPC.
     23               THE WITNESS: I think that's              23       Q. To what are you referring to when
     24        a crystal ball question. We'll never            24   you say that these representatives failed to


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                           Laura M. Plunkett, Ph.D, D.A.B.T.
                                               Page 222                                                  Page 224
      1   provide FDA with accurate information -- accurate     1                THE WITNESS: I think I just
      2   description of their cosmetic talc safety? To         2        told you what my opinion was.
      3   what documents are you referring to, if any?          3                I said when I see the
      4       A. Well, I'm referring to -- I give you           4        affidavit and then read her deposition
      5   examples. I say here. When you look at the            5        testimony, I questioned her -- her
      6   minutes to the meeting, I'm saying here examples      6        affidavit because of the lack of memory
      7   would be the knowledge that U.S. samples of           7        she has about almost everything else she
      8   cosmetic talc were not asbestos-free, and I           8        talks about.
      9   believe that document talks about it being            9   BY MR. HEGARTY:
     10   asbestos-free. They also -- and I point you there    10       Q. Okay.
     11   to the issue of a listing of talc. So that's an      11       A. That's what I'm saying to you. It's
     12   example.                                             12   an issue. I as an expert can look at the
     13       Q. Okay.                                         13   credibility of the evidence, and I'm just saying
     14       A. If you need other examples, let me            14   to you: When I read her deposition testimony, she
     15   pull the document out and I could try to help you    15   clearly has no memory of almost anything and, as a
     16   with that but...                                     16   result, the question is, how is there such a
     17       Q. That's okay.                                  17   specific memory of that?
     18             You refer in this paragraph to             18             But the evidence will speak for
     19   Ms. Wille's affidavit and deposition testimony,      19   itself. You know, a jury can decide what's
     20   correct?                                             20   credible and it's not, too, on their own. I'm
     21       A. Yes, I do.                                    21   just telling you it's my opinion that the
     22       Q. Have you read both her affidavit and          22   deposition testimony cast doubt on credibility.
     23   deposition testimony?                                23       Q. Have you read the entirety of Steve
     24       A. I have.                                       24   Mann's deposition?


                                               Page 223                                                  Page 225
      1       Q. Are you saying by this paragraph               1       A. I have.
      2   that Ms. Wille was not truthful in her affidavit      2       Q. Have you read the entirety of
      3   and deposition testimony?                             3   Ms. Telofski's deposition?
      4       A. I don't have proof that she wasn't             4       A. She has more than one, doesn't she?
      5   truthful, but in my view, when I read her             5       Q. Her most recent one in 2021?
      6   deposition testimony where she continually says       6       A. It's on my list, yes. I have read
      7   she doesn't remember, doesn't remember, doesn't       7   that. It's been a while, but I have read that,
      8   remember, but yet she's so definitive in her          8   yes.
      9   affidavit, I do question -- I do question that in     9       Q. Have you read the Nettesheim
     10   my mind.                                             10   deposition as well?
     11             But certainly it will speak for            11       A. Yes. All of the new ones I added, I
     12   itself and obviously that's what I would -- you      12   have read.
     13   notice I don't say anything further than just say    13       Q. If you would turn next to paragraph
     14   this exists, but I felt I needed to do this          14   96. At the end of that paragraph, you added the
     15   because during trial, these documents were put       15   statement:
     16   before me. So, again, I'm adding that in here        16             "Evidence in this case shows that
     17   because this is something I know came up at trial.   17   Defendants failed to perform such testing, despite
     18       Q. Well, for purposes of your opinions           18   awareness of safety concerns with cosmetic talc."
     19   as set out in the amended MDL report, are you        19             Do you see where I'm reading?
     20   choosing not to believe Ms. Wille in her affidavit   20       A. Yes.
     21   or her deposition testimony about this issue of --   21       Q. Do you have an opinion as to what
     22   that you describe in this paragraph?                 22   such testing should have been done?
     23                MS. PARFITT: Objection.                 23       A. I don't think I formed the opinion
     24        Form. Asked and answered.                       24   that a specific study should be done, but it's


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      1   very clear that no studies were done on this issue    1        Q. And have you formed opinions in this
      2   by the company. So I think it's more of an issue      2   case about what tests Johnson & Johnson should
      3   of what they didn't do versus should they have        3   have conducted to establish the safety of its baby
      4   done this test, that test, that test. I haven't       4   powder products?
      5   formed that specific opinion yet.                     5        A. I have not put together a specific
      6       Q. Is there any published authority               6   list of tests that they should have done.
      7   that defines what tests a manufacturer of a talcum    7   Instead, what I pointed out is that the test that
      8   powder product should do to establish its safety?     8   -- the studies that were available to them, in my
      9               MS. PARFITT: Objection.                   9   opinion, provided them the notice and the
     10        Form.                                           10   knowledge that they didn't act upon.
     11               THE WITNESS: So the                      11              So I do think that there's data --
     12        regulations in the U.S. do not prescribe        12   reliable data out there they didn't support, but
     13        a specific number of tests, and if you          13   they don't use in terms of what that notice should
     14        read the guidance that is there on the          14   have triggered in terms of either a warning on the
     15        FDA website for cosmetics, it talks about       15   product. Or in the case of what I've heard some
     16        the fact that the company is supposed to        16   of the -- I've seen in the testimony of J&J,
     17        ensure that the product is safe as used.        17   they've said numerous time that if we had any --
     18        And if they don't know if it's safe, they       18   had any reason to believe there was a problem, we
     19        have to inform consumers that they don't        19   would take it off the market, and they haven't
     20        know.                                           20   done that either. So...
     21               And neither of those --                  21        Q. Do you have an opinion as to what
     22        neither -- I don't see -- see either of         22   any such test would show as it relates to the
     23        those things happening in this case.            23   safety of talcum powder products if they had been
     24   BY MR. HEGARTY:                                      24   done?

                                               Page 227                                                 Page 229
      1       Q. Are you an expert on what tests                1                MS. PARFITT: Objection.
      2   should be done to ensure the safety of a talcum       2        Form.
      3   powder product?                                       3              THE WITNESS: Oh, I think --
      4               MS. PARFITT: Objection.                   4              MS. PARFITT: Vague.
      5        Form.                                            5              THE WITNESS: I think you can
      6               THE WITNESS: So as a                      6      go to the literature. I would answer
      7        toxicologist, I certainly have expertise         7      that in general terms. The literature.
      8        and I have given advice to my clients on         8      Studies show us if they had done studies
      9        what types of testing to do for cosmetic         9      like the ones in the published
     10        ingredients or even cosmetic products.          10      literature, what they would expect to
     11        So I do have that expertise, yes.               11      get, yeah.
     12   BY MR. HEGARTY:                                      12              I mean, if you look at the
     13       Q. Do you have -- are you an expert on           13      chinchilla study or you look at the
     14   what, though, a talcum powder product manufacturer   14      Hamilton study or you look at the
     15   should do to ensure the safety of its talc with      15      Buz'Zard study or you look at the
     16   regard to testing?                                   16      Fletcher studies or you look at -- oh,
     17       A. Are you asking me about testing for           17      there's a whole list of studies that you
     18   purity or testing for safety?                        18      could go through, animal.
     19       Q. Testing for safety.                           19              And then you can go to the
     20       A. So I certainly have that expertise,           20      epidemiological research and sponsoring
     21   yes, because it's -- it's the same expertise that    21      their own epidemiological research years
     22   I would apply to any of my --                        22      ago, which hasn't been done.
     23       Q. Okay.                                         23   BY MR. HEGARTY:
     24       A. -- my clients.                                24     Q. Do you have an opinion in this case


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      1   as to whether there are any tests that are not --     1   of baby powder?
      2   that have not been done on talcum powder products     2       A. The things on their own website.
      3   as far as their safety that should be done?           3   So -- and if you need the citation, I apologize
      4                 MS. PARFITT: Objection. I               4   for not giving you, but you can go to the Johnson
      5        believe her testimony was there were no          5   & Johnson website. There's also some press
      6        tests done. Vague.                               6   releases. I think Reuters had an article that we
      7   BY MR. HEGARTY:                                       7   may have talked about in one of the trials. So
      8       Q.      And then to be clear, I'm talking         8   there's some press as well as their own website.
      9   about you mentioned that all this testing that's      9                MR. HEGARTY: Did you -- let
     10   already out there that's already been done in the    10        me go ahead and mark that press release.
     11   public domain.                                       11        I mark as Exhibit No. 18 the Johnson &
     12       A.      Right.                                   12        Johnson press release --
     13       Q.      Do you have any opinion as to            13                MS. PARFITT: Thank you.
     14   whether there are additional tests beyond those      14                MR. HEGARTY: -- of May 19,
     15   that still be should be done?                        15        2020.
     16       A.      I do have an opinion.                    16                (Document marked for
     17                 MS. PARFITT: By the company?           17        identification as Plunkett Exhibit 18.)
     18   BY MR. HEGARTY:                                      18   BY MR. HEGARTY:
     19       Q.      Okay. By the company.                    19       Q. Have you seen that document?
     20       A.      I do have an opinion.                    20       A. I have seen this document, yes.
     21       Q.      Okay. What is that?                      21       Q. I think that's Exhibit 18?
     22       A.      My opinion is, there's more than         22       A. Yes.
     23   enough data already out there for the company to     23       Q. Have you reviewed the deposition
     24   take action to either remove the product from the    24   testimony of any company witnesses regarding the

                                               Page 231                                                 Page 233
      1   market or add a warning. There would -- in my         1   discontinuation of baby powder?
      2   view, there would be no need to do. The data has      2        A. I believe it's addressed maybe by
      3   been there for decades.                               3   trial testimony of Dr. Gorsky -- Mr. Gorsky. I'll
      4             But there's -- I mean, if you want          4   have to look. I do believe there's some testimony
      5   to ask me in a science question, we can talk about    5   about -- that I've read about this, but it may be
      6   that all day, but, I mean, I think this is what       6   trial testimony, not deposition.
      7   I've told you already before. That I believe that     7        Q. Do you cite in your report where you
      8   there's enough evidence to have. The company          8   talk about the discontinuation, any deposition or
      9   should have taken an action years ago.                9   trial testimony you've read about Johnson &
     10       Q. If you would next turn to paragraph           10   Johnson's decision to discontinue the product?
     11   109. You mention in that paragraph the               11        A. No, because all I'm trying to do in
     12   discontinuation of Johnson's Baby Powder. I'm        12   this sentence is state a fact. I'm not -- I'm not
     13   sorry. This is in paragraph 110.                     13   arguing a point. I'm saying this is what -- this
     14       A. Okay.                                         14   is what has happened.
     15       Q. You mention in paragraph 110 Johnson          15        Q. Do you intend to testify that the
     16   & Johnson's discontinuation of baby powder,          16   discontinuation was for reasons other than what's
     17   correct?                                             17   stated in Exhibit No. 18?
     18       A. I talk about the removal of                   18                 MS. PARFITT: Objection.
     19   constituents. Oh, you're -- the very last            19         Form.
     20   sentence?                                            20                 THE WITNESS: Well, if you're
     21       Q. Very last sentence.                           21         asking me to get into the mind of the --
     22       A. Yeah. Yeah. I state a fact, yes.              22         of the individuals, I can't do that. I
     23       Q. What documents have you reviewed              23         don't testify about their motivation
     24   that discuss Johnson & Johnson's discontinuation     24         because I haven't, you know, can't get


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      1       inside them. I can tell you what my               1   inside of Johnson & Johnson had safety concerns
      2       opinion is based on whether or not that           2   about Johnson's Baby Powder at the time --
      3       action made sense to do or not.                   3       A. Well --
      4               I think there should have been            4       Q. -- it chose to discontinue the
      5       things done way before this. But I                5   product?
      6       understand a company deciding to stop             6               MS. PARFITT: Objection.
      7       distributing because there's a safety             7        Form. Vague. Broad.
      8       concern. I mean, it was a clear safety            8               THE WITNESS: So I would say
      9       concern being raised by FDA about the             9        to you there were -- there were certainly
     10       presence of asbestos in the product.             10        concerns about safety raised throughout
     11   BY MR. HEGARTY:                                      11        the decades.
     12       Q. Is it your opinion that Johnson &             12               I don't believe that any of
     13   Johnson's decision to discontinue the sale of baby   13        the witnesses I've seen testify have said
     14   powder in U.S. -- in the U.S. and Canada was based   14        that the way you're asking it. So I
     15   on a concern about the safety of the product?        15        can't point to their testimony.
     16               MS. PARFITT: Objection.                  16               But there were certainly --
     17               THE WITNESS: I said to you,              17        for example, they were told by their own
     18       I can't get inside their minds. All I            18        consultants and their own internal people
     19       can tell you is, based upon what I know,         19        all kinds of issues over the years about
     20       that certainly there were safety concerns        20        what evidence was there. So I do believe
     21       being raised at right before this time           21        that they understood the safety concerns.
     22       not only by the FDA because of the               22   BY MR. HEGARTY:
     23       asbestos found in the product.                   23       Q. Well -- and I want to be direct on
     24               Also right before this time we           24   my questioning.

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      1       had that February meeting in 2020 with            1             My question is whether you're going
      2       the FDA. The public hearing. So we know           2   to come into the courtroom and say, based on
      3       FDA is looking at things.                         3   documents I reviewed or testimony I reviewed, I
      4                We know that Health Canada               4   know that I have the opinion that Johnson &
      5       is -- wrote a screening assessment, a             5   Johnson discontinued the product not for the
      6       draft one.                                        6   reasons that they said in their -- in their -- in
      7                I mean, all these things are             7   their press release, but for safety reasons?
      8       there. Safety has been questioned at              8       A. Oh, I don't think I can do that. I
      9       this point in time. But that's all I can          9   don't think a judge would let me do that. Because
     10       tell you.                                        10   that's, again, to me that's getting into the mind
     11                I am -- I can't get into the            11   of the company.
     12       mind of any one individual. I can tell           12             I'm saying to you, I can tell you
     13       you what I think the evidence shows, and         13   what I believe in terms of what was going on at
     14       the evidence shows there were significant        14   the time, what it clearly made sense to be doing.
     15       safety concerns that were going on at            15   I'm just telling you it should have been
     16       this point in time.                              16   happening --
     17                And would it make sense to              17       Q. Right.
     18       take the product off the market?                 18       A. -- much sooner than that.
     19       Absolutely. Would it make sense to do it         19                MR. HEGARTY: Could we take a
     20       a lot sooner? Absolutely.                        20        quick break? Can I -- we can go off the
     21   BY MR. HEGARTY:                                      21        record.
     22      Q. You mentioned safety concerns that             22                (Recess: 1:06 p.m. -
     23   were going on at the time.                           23                1:23 p.m.)
     24             Is it your opinion that anyone             24                MR. HEGARTY: Let's go back on


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      1       the record.                                       1                (Document marked for
      2              I want to mark next the                    2        identification as Plunkett Exhibit 21.)
      3       notices of the two depositions for the            3   BY MR. HEGARTY:
      4       MDL and the Swann case as Exhibits 19 and         4       Q. And with regard to the -- to
      5       20.                                               5   paragraph 7 in that document, supplemental
      6              (Document marked for                       6   materials provided between August 1 to August 10,
      7       identification as Plunkett Exhibit 19.)           7   2021.
      8              (Document marked for                       8             Do you see that reference?
      9       identification as Plunkett Exhibit 20.)           9       A. Yes.
     10   BY MR. HEGARTY:                                      10       Q. What are those supplemental
     11       Q. And with regard to the documents              11   materials?
     12   requested, Dr. Plunkett, did you have a chance to    12       A. It's -- you had a list of those.
     13   go through the paragraphs requesting documents?      13   Remember?
     14       A. Yeah. I'm trying to decide if I've            14       Q. Is it this list, Exhibit 9?
     15   seen both of these.                                  15       A. No. No. No. No. It's that -- you
     16       Q. Just focus on the MDL one --                  16   had a little. A shorter document we marked. It's
     17       A. Okay.                                         17   not this thing. You had things reviewed or
     18       Q. -- because it's identical.                    18   something. You showed it to me.
     19            Have you seen the MDL notice?               19                MS. PARFITT: And I did not
     20       A. Yes, that I have. That's the one.             20        get a copy. You have the only one.
     21       Q. You went through the paragraphs in            21   BY MR. HEGARTY:
     22   the MDL notice?                                      22       Q. Is it this exhibit, Exhibit 11?
     23       A. Yeah, and I helped identify. You              23       A. Yes, that's it. That -- that goes
     24   asked me a question earlier. I said this would       24   with number -- where is that?


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      1   help me know where that document came from, that      1       Q. 7?
      2   kind of thing. So, yeah.                              2       A. Number 7, yeah.
      3       Q. And did you provide your counsel               3       Q. Are these materials you had reviewed
      4   with any responsive documents to those paragraphs?    4   only for the first time between August 1 and
      5       A. Yes, I did, and mostly I just told             5   August 10, 2021?
      6   them what documents that within my reliance           6       A. No. Some of these are not. Some of
      7   materials they needed to provide or I sent them,      7   these are ones that obviously I had -- I had
      8   for example, my new trial list, things like that.     8   already considered before.
      9   Yeah.                                                 9       Q. Which ones?
     10               MS. PARFITT: And for the                 10       A. So there may be a few mistakes on
     11        record, Mark, we produced a letter              11   here. Like, for example, I would not have put
     12        August 6, 2021 to you.                          12   McDonald 2019 on here because they obviously -- I
     13               MR. HEGARTY: Right, and I'm              13   had that in my -- that should have been in my
     14        going to mark this here in a moment.            14   reliance materials for the Cadigan trial, in fact,
     15               MS. PARFITT: Which is in                 15   earlier that was presented. So it may not have
     16        response directly to the notice of              16   been on my MDL list before. So that may be the
     17        deposition.                                     17   issue.
     18               MR. HEGARTY: I'll just go                18                MS. PARFITT: I'll
     19        ahead and mark that since you brought           19        represent --
     20        that up.                                        20   BY MR. HEGARTY:
     21               MS. PARFITT: Okay.                       21       Q. Can you identify which of those you
     22               MR. HEGARTY: I'll mark as                22   have seen -- you have only seen -- you have only
     23        Exhibit No. 21 an August 6, 2021 letter         23   seen for the first time since August 1, 2021?
     24        from Ms. Parfitt to Ms. Sharko.                 24       A. Okay. So that would be any of


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      1   the -- the Kuffner document. That may not even be     1        Q. I think it's on page 3 where you see
      2   on here. The -- hold on. Okay. So I wouldn't          2   your name?
      3   have put August 1st. I think there's a number of      3        A. I see that, yes.
      4   these that should go back to the Cadigan trial,       4        Q. Would you look at that paragraph and
      5   which would be July, okay?                            5   tell me whether you have ever seen it before right
      6             So, for example, this EPA comments          6   now in this document?
      7   document I hadn't. That was a surprise to me at       7        A. I don't know that I've seen this
      8   the trial. I admit that, right? So that would be      8   document, but I've seen this -- something very
      9   there.                                                9   similar to this in my other -- other times I've
     10       Q.      What else --                             10   seen documents where I've been listed as an
     11       A.      Let me see.                              11   expert.
     12       Q.      -- is new since either July or           12        Q. And is your testimony -- your
     13   August 1st?                                          13   anticipated testimony in the MDL based on your
     14       A.      Yeah, okay. I think I had 9. No.         14   amended report as well as your deposition and
     15   No. I had that. I had that.                          15   trial testimony up through the present day what
     16             So you did not know that I had             16   you plan on testifying in the Swann case as well?
     17   reviewed this color advertisement. I doubt that      17        A. Yes, that's my understanding. I
     18   was on my material, my reliance list before, but I   18   have had -- I have had no other information that
     19   had reviewed that before. So that is new to you      19   would indicate otherwise.
     20   to ask questions about, okay?                        20        Q. Have you prepared any invoice
     21       Q.      Okay. And not new to you?                21   containing any time dedicated to the Swann case?
     22       A.      No, it's not new to me, and that's       22        A. No.
     23   what I'm saying. I don't think there's anything      23        Q. If we could go back to your report,
     24   really new. The only thing that I can see on here    24   I just --

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      1   that was, quote-unquote, new to me would have been    1       A. Oh, wait a minute. Did you check?
      2   this EPA document.                                    2   I can't say that without looking at that one bill.
      3       Q. Okay.                                          3   Was that one bill that had all those cases?
      4       A. But -- and the fact that I gave you            4       Q. Yeah. If you want to go back and
      5   an updated trial list.                                5   look at that.
      6       Q. Okay.                                          6       A. Yeah, let me look at that. I just
      7       A. So I think otherwise.                          7   remembered that. Sorry. There it is.
      8                MR. HEGARTY: All right. You              8       Q. It should be Exhibit No. 2.
      9        can set that aside.                              9       A. Yes. Let me just check to make sure
     10                Next mark as Exhibit 22                 10   if Swann is listed there or not.
     11        your -- the Plaintiff's Amended                 11             Yes, it is listed. So, yes.
     12        Disclosure of Expert Witnesses in the           12       Q. Okay.
     13        Swann case, and I seem to have only one         13       A. Valerie Swann?
     14        copy of it.                                     14       Q. Yes.
     15                MS. PARFITT: That's fine.               15       A. Yes. So I had charged 2 hours for
     16                MR. HEGARTY: If you guys                16   docket review sometime before, probably in January
     17        could share.                                    17   or December. December 2020 or January 2021.
     18                (Document marked for                    18       Q. Okay. If you could go back to your
     19        identification as Plunkett Exhibit 22.)         19   report, paragraph 53, and tell me when you are
     20   BY MR. HEGARTY:                                      20   there. I'm sorry. I'm sorry. It's paragraph 52.
     21       Q. Would you look over at page or                21       A. Okay. I'm there.
     22   paragraph 2 I think is on page --                    22       Q. You added to this paragraph a
     23                MS. PARFITT: He knows Swann.            23   reference to the Lauchlan 1994 paper, correct?
     24   BY MR. HEGARTY:                                      24       A. Yes, that's correct.


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      1       Q. Why did you add this paper?                   1       Q. And my question is: As it relates
      2       A. Because it was an additional piece            2   throughout the document, it doesn't cite to any
      3   of information that I had that was relevant to       3   study that actually looked at whether particles
      4   migration. That and I added the Alexander paper,     4   applied externally to the perineum, talc or
      5   too, to this general discussion.                     5   otherwise, can reach the ovaries or did reach the
      6       Q. With regard to the Lauchlan paper,            6   ovaries?
      7   when did you first read this paper in relation to    7               MS. PARFITT: Objection.
      8   your preparing your amended report?                  8               THE WITNESS: (Reviews
      9       A. Sometime after my original report.            9       document.)
     10   So I can't tell you what date in 2019 or 2020 it    10               They don't provide a specific
     11   would have been, but sometime after my original     11       study on talc that was applied to the
     12   report, I believe.                                  12       perineum, no. Instead, they are talking
     13       Q. And how did you come across it, if           13       about the general literature, like I did,
     14   you can recall?                                     14       and the old literature about looking at
     15       A. If you show it to me, maybe that             15       particles that are similar to talc.
     16   will trigger something. I apologize.                16               And then this particular
     17                MR. HEGARTY: I'll mark as              17       author then is taking that to the next
     18        Exhibit 23 the Lauchlan paper we've been       18       step. He's -- he's talking about the
     19        talking about.                                 19       fact that it's from Parmley and Woodruff.
     20                (Document marked for                   20       Causative agents for ovarian cancer could
     21        identification as Plunkett Exhibit 23.)        21       gain access through this route, and then
     22                MS. PARFITT: Thank you.                22       he talks about the issue with talc.
     23                (Off the record discussion.)           23               So, no, I don't think it's a
     24                THE WITNESS: Do you want me            24       piece of data the way you're asking it.


                                              Page 247                                                 Page 249
      1        to answer?                                      1   BY MR. HEGARTY:
      2   BY MR. HEGARTY:                                      2        Q. Okay. If you turn next to paragraph
      3       Q.     Sure.                                     3   55?
      4       A.     I'm sorry.                                4        A. Okay.
      5       Q.     The question was: Do you recall           5        Q. In that paragraph, you refer to a
      6   where you obtained -- from where you obtained the    6   study by McDonald and colleagues, correct?
      7   document?                                            7        A. Yes. There's two studies.
      8       A.     No. It could be one that I found in       8        Q. And by Johnson as well, right?
      9   my research or it could be one that was within --    9        A. Yes. There's three studies, yes.
     10   cited by someone else in an expert report. I        10        Q. Two studies by McDonald and a study
     11   don't know, but I am certainly this is one I had.   11   by Johnson, correct?
     12   In fact, I may have even had this before my         12        A. Yes. Exactly.
     13   original MDL report. It's possible. I just don't    13        Q. And do you understand that the
     14   recall.                                             14   authors -- some of the authors of those two papers
     15       Q.     Do you agree that with regard to the     15   are experts for plaintiffs in the talc litigation?
     16   Lauchlan study that it cites no published article   16        A. On the McDonald papers, yes, I'm
     17   that analyzed whether particles applied to the      17   aware of that. Johnson paper I need to see the
     18   perineum, talc or otherwise, can reach the          18   other list. I can't answer that without looking
     19   ovaries?                                            19   at the list.
     20                MS. PARFITT: Objection. Are            20                MR. HEGARTY: I'll mark as
     21        you referring to a specific paragraph?         21        Exhibit 24 the Johnson article that you
     22                THE WITNESS: Yeah. Yeah.               22        cite in your amended report.
     23        There's a talc section. So let me look.        23                THE WITNESS: Yeah.
     24   BY MR. HEGARTY:                                     24                (Document marked for


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                          Laura M. Plunkett, Ph.D, D.A.B.T.
                                             Page 250                                                  Page 252
      1         identification as Plunkett Exhibit 24.)        1   has shown that in his work, fibers as well as talc
      2                  THE WITNESS: Yes. Okay. It            2   particles. I believe he's seen both. If you want
      3         is. It's Dr. Godleski's group. So, yes,        3   me to tell you whether he reports either of those
      4         I'm aware of that.                             4   in these three papers, I'd have to look.
      5   BY MR. HEGARTY:                                      5       Q. If we --
      6        Q. And are you aware that the authors           6       A. But --
      7   of the Johnson study paid for it themselves?         7       Q. If we set aside the studies by
      8                  MS. PARFITT: Objection.               8   McDonald and Johnson because we might have to go
      9         Form.                                          9   and look at them in detail, are you aware of any
     10   BY MR. HEGARTY:                                     10   studies that tried to evaluate the migration of
     11        Q. And you can look at the --                  11   fibers from the vagina to the tubes and ovaries?
     12        A. I need to look.                             12                MS. PARFITT: Objection.
     13        Q. -- very last page on the financial          13        Other than what she's provided in prior
     14   support section.                                    14        depositions and her reports.
     15        A. I see that. That's what they say,           15                THE WITNESS: So I would say
     16   yes.                                                16        to you, depending on the size of a fiber,
     17        Q. Neither the McDonald papers nor the         17        they would fit within the studies that
     18   Johnson papers identify any asbestos, correct?      18        talk about particles.
     19        A. I'd have to look, but I don't               19                So the fiber could if the
     20   believe that's true. I would say to you I believe   20        fiber is of a size that's similar to some
     21   that -- that you have a correct statement, but      21        of the particles that have been studied,
     22   I -- to confirm, I'd have to look at them again.    22        and I'd have to do that comparison in
     23        Q. They don't refer to fibrous talc            23        order to -- to look at what fiber you're
     24   either, correct?                                    24        talking about.


                                             Page 251                                                  Page 253
      1               MS. PARFITT: Objection.                  1                But I do believe whether it's
      2       Form.                                            2        a fibrous talc or whether it's a talc
      3               THE WITNESS: I'd have to                 3        particle that may include platy talc plus
      4        look. I can't -- in order to answer that        4        fibers within it -- because the particle
      5        question, I'd have to look whether or not       5        could be -- could be a complex mixture of
      6        they call -- they talk about fibers or          6        those things -- it's possible that those
      7        not. I don't know. I'd have to look.            7        things are occurring that way.
      8               They do actually, I think, in            8                Then I think that there is
      9        this paper talk about things that are --        9        evidence to show that talc can migrate of
     10        have the width and diameter of                 10        the -- of the size that is found within
     11        potentially being fibers. This is the          11        baby powder, and obviously baby powder is
     12        Johnson paper, but I'd have to look to         12        of a size that includes at
     13        tell you. I don't know.                        13        microscopically both fibers and
     14   BY MR. HEGARTY:                                     14        particles -- and smaller particles.
     15       Q. Can you cite for me any study that           15   BY MR. HEGARTY:
     16   shows migration of talc fibers from the perineum    16       Q. If we go back to paragraph 55, you
     17   to the ovaries?                                     17   include a quotation to a portion of the Johnson
     18               MS. PARFITT: Other than this            18   study that was discussed in the Health Canada risk
     19        study?                                         19   assessment, correct?
     20   BY MR. HEGARTY:                                     20       A. Yes, that's correct.
     21       Q. Including any study. Can you cite            21       Q. And with regard to that cited
     22   for me any study that purports to show migration    22   passage in your report that refers to reactive
     23   of talc fibers from the perineum to the ovaries?    23   fibroblastic tissue or chronically inflamed
     24       A. Well, I believe that Dr. Godleski            24   tissue.


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                           Laura M. Plunkett, Ph.D, D.A.B.T.
                                               Page 254                                                  Page 256
      1            Do you see that?                             1             Can you cite for me then any studies
      2       A. I do.                                          2   showing this accumulation of tissue in women prior
      3       Q. Now, with regard to ovarian cancer,            3   to diagnosis of ovarian cancer but then later are
      4   both of these types of tissues can arise from the     4   diagnosed with ovarian cancer?
      5   cancer itself, correct?                               5               MS. PARFITT: Objection.
      6       A. Oh, I think you should talk to an              6               THE WITNESS: I don't know.
      7   ovarian cancer pathogenesis person about that.        7        I have no idea. You'd have to ask -- I
      8       Q. Okay. So fair enough.                          8        think you could ask the pathologist in
      9            And the same question goes as to             9        this case. Maybe he has seen such
     10   whether you know both of those types of tissues      10        samples.
     11   can arise from chemotherapy?                         11   BY MR. HEGARTY:
     12       A. Same.                                         12       Q. Are you an expert in the type of
     13               MS. PARFITT: Objection.                  13   studies conducted in the Johnson and McDonald
     14               THE WITNESS: It would be the             14   papers?
     15        same answer. I think you should talk to         15               MS. PARFITT: Objection.
     16        someone who is an expert in looking at          16        Form.
     17        those tumors under the microscope.              17               THE WITNESS: If are you
     18   BY MR. HEGARTY:                                      18        asking me, am I an expert in performing
     19       Q. With respect to the statement in the          19        these studies? No. I have expertise in
     20   cited portion that you include in your report that   20        understanding the importance of this kind
     21   says with respect to "the presumption is that talc   21        of data, however.
     22   accumulates in benign tissue some time prior to      22               I am familiar with and have
     23   the tumour developing."                              23        expertise in understanding the importance
     24            Do you see that part of the quote?          24        of electron microscopy in looking at


                                               Page 255                                                  Page 257
      1       A.     Yes, I do.                                 1        these kinds of tissues for these types of
      2       Q.     Did you cite any published reporting       2        particles, but I don't do this kind of
      3   an accumulation of talc and tissue prior to tumor     3        work.
      4   development?                                          4   BY MR. HEGARTY:
      5       A.     Yes. The -- the NTP rat study shows        5       Q. If you would turn next to paragraph
      6   accumulation of talc -- micronized talc in tissue     6   62 in your report.
      7   prior. Remember I used that with the issue of         7       A. Yes, I'm there.
      8   preneoplastic lesions that develop in the area of     8       Q. In that paragraph, you discuss in
      9   the talc. And then the chinchilla study. I point      9   some detail the Mandarino 2020 study, correct?
     10   you to that as well.                                 10       A. I think that's what was new here,
     11             And I'd also point you to the rat          11   correct?
     12   ovarian bursal study, which is Hamilton, I think.    12       Q. Correct.
     13   I may have that -- or Davies. One of the two.        13       A. Yeah. I'm looking where it starts.
     14   Yeah.                                                14   So...
     15       Q.     Can you cite any authorities seeing       15       Q. Starts towards the bottom.
     16   this accumulation in tissue in women who later       16       A. Oh, here it is. Yes, I find it.
     17   developed ovarian cancer?                            17   Yes.
     18       A.     Accumulation in benign tissue?            18                MR. HEGARTY: And I'll mark as
     19       Q.     Correct.                                  19        Exhibit 25 the Mandarino 2020 study.
     20       A.     Well, I think that's what they're         20                (Document marked for
     21   talking about here. They're talking about the        21        identification as Plunkett Exhibit 25.)
     22   Johnson paper where they talk about benign tissue.   22                MS. PARFITT: Thank you.
     23       Q.     And my question -- I need to be more      23   BY MR. HEGARTY:
     24   specific then.                                       24       Q. The Mandarino study that you cite


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                           Laura M. Plunkett, Ph.D, D.A.B.T.
                                              Page 258                                                   Page 260
      1   refers to mouse cells, right?                         1       Q. Are you aware of any articles that
      2       A. Yes, that's correct. They're                   2   say that changes in expression of macrophages is
      3   looking at marine ovarian epithelial cells.           3   pertinent to cancer development?
      4       Q. And, again, are you an expert on the           4       A. I don't think I'll find that
      5   type of study done in this type of paper?             5   sentence. I think I'll find what's right, which
      6                MS. PARFITT: I'm going to                6   is what here, which is on mechanistic data, the
      7        object as vague to that question.                7   role of the scientist is to look for cellular
      8                THE WITNESS: So I have                   8   changes that would be relevant to how we know
      9        expertise in in vitro toxicology methods,        9   cancer can develop.
     10        and I'm very familiar and have -- I             10             And so I don't think I would say it
     11        understand the strengths and weaknesses         11   the way you asked it. I would say it the way that
     12        of doing these kinds of studies.                12   the authors say it. That there are macrophage
     13                I have not -- I have done in            13   genes that are relevant and pertinent to looking
     14        vitro cell studies before myself in the         14   at mechanisms of cancer development.
     15        lab. I have not -- obviously I did not          15       Q. How does the dose of talc exposure
     16        do this study, and I think that this            16   to the cells in this study compare to what the
     17        would be a study that would be best maybe       17   exposure would be to the ovaries in women using
     18        discussed, however, with the author, who        18   talc, in your opinion?
     19        is in the litigation. Dr. Godleski could        19       A. I haven't formed an opinion on -- on
     20        talk to you about it.                           20   the comparison of that dose, but I believe I've
     21                I am familiar, though, and              21   talked about these issues before in deposition, if
     22        these are the kinds of studies I rely on        22   you want me to rehash that but --
     23        for the evidence in the case.                   23       Q. No. I'm referring --
     24   BY MR. HEGARTY:                                      24                MS. PARFITT: Yeah.

                                              Page 259                                                   Page 261
      1       Q. Are you aware of any studies showing           1   BY MR. HEGARTY:
      2   the same findings reported in Mandarino in women      2       Q. -- specifically to this paper and
      3   using talc?                                           3   the doses they used.
      4       A. So what do you mean by -- are you              4       A. I haven't done that analysis. To
      5   asking me do they see -- we certainly see             5   me, this is a mechanistic study. It provides
      6   inflammatory changes would be consistent with         6   important mechanistic information.
      7   reactive oxygen species, but I haven't seen           7       Q. Can you cite to me any studies
      8   somebody take -- you're asking me if somebody take    8   showing a link between changes of gene expression
      9   human cells out and done the same thing in a human    9   as referenced in this article to ovarian cancer
     10   cell?                                                10   risk?
     11       Q. Correct.                                      11       A. I don't think anybody has done that
     12       A. I don't know. I'd have to look. I             12   kind of work that I'm aware of, other than looking
     13   know that there are human ovarian cell lines that    13   at genetic changes that are predispositions for
     14   have been studied, and I believe Dr. Fletcher does   14   cancer, but that's different than what they're
     15   some of that. I need to look and see, but I          15   doing here. They're looking here at changes after
     16   think.                                               16   exposure.
     17       Q. This quote --                                 17       Q. Are you aware of any study that
     18       A. Yes.                                          18   looks at any state of immunosuppression, whether
     19       Q. -- from the Mandarino paper refers            19   associated with immunosuppression drugs after
     20   to reactive oxygen species and changes in            20   transplant or immunocompromised individuals, that
     21   expression of macrophage pertinent to cancer         21   have been shown to increase the risk of ovarian
     22   development.                                         22   cancer?
     23             Do you see that?                           23            In other words, are you aware of any
     24       A. I do.                                         24   study showing that in immunocompromised state,


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                           Laura M. Plunkett, Ph.D, D.A.B.T.
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      1   women are at increased risk of developing ovarian     1   the cells off.
      2   cancer?                                               2             But are you asking me something
      3               MS. PARFITT: Objection.                   3   else? Are you asking me whether somebody has done
      4               THE WITNESS: Well, I don't                4   quantitative measuring or --
      5        think that's what this paper is talking          5       Q. Correct. Quantitative measuring.
      6        about. It's talking about                        6       A. I don't know. I haven't looked for
      7        immunosurveillance, which is different           7   that.
      8        than immunocompromised. So are you               8       Q. Are you aware of any studies showing
      9        asking me about immunosurveillance or --         9   that talc has an effect on monocytes?
     10    BY MR. HEGARTY:                                     10       A. I don't believe anybody that I
     11       Q. Well, let me ask that. Let me go              11   recognize in the literature I've looked at looks
     12   back and ask that.                                   12   just at monocytes. They're focusing on
     13            Do you see immunosurveillance               13   macrophages for a reason.
     14   different than immunocompromised?                    14       Q. The reported effect by Maldinado was
     15       A. It can be, yes.                               15   localized to the cells in which talc came into
     16       Q. How are they different, in your               16   contact with, correct?
     17   opinion?                                             17       A. In Mandarino or --
     18       A. So to me, immunocompromised is a              18       Q. I'm sorry. Mandarino.
     19   specific clinical diagnosis in an individual,        19       A. Yes. Yes, that's correct.
     20   whether or not they're looking across --             20       Q. And does not purport to show what a
     21   wholistically across the immune system.              21   system-wide effect would be across the body to a
     22            Immunosurveillance is a mechanism           22   particular portion of tissue exposed to talc,
     23   that operates in the human body in order to          23   correct?
     24   protect you from things, such as exposure to         24                MS. PARFITT: Objection.


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      1   exogenous substances, but also to keep your system    1        Form.
      2   working properly just generally as you age.           2                 THE WITNESS: I would say
      3       Q. Okay. The paper, the Mandarino                 3        that that is not at all the design of
      4   paper, does talk about macrophages, correct?          4        this study.
      5       A. It does.                                       5                 This study is an in vitro
      6       Q. Macrophages are created by                     6        study looking at isolated events that can
      7   monocytes; is that right?                             7        build towards understanding the
      8       A. They derive from those, yes.                   8        pathogenesis of cancer.
      9       Q. Do you know how many monocytes a               9   BY MR. HEGARTY:
     10   body creates every day?                              10       Q. Macrophages when they respond to an
     11       A. Oh, I could find that in my                   11   insult -- I'll put it that way -- come from all
     12   physiology text, but I do not know off the top of    12   parts of the body to that insult, correct?
     13   my head.                                             13                 MS. PARFITT: Objection.
     14       Q. Do you know how many macrophages are          14        Form.
     15   in the body at any given time?                       15                 THE WITNESS: What do you
     16       A. Same answer. I certainly have that            16        mean by "come from all parts of the
     17   in my materials, but I can't recite that for you.    17        body"? That doesn't really make sense to
     18       Q. Does this study or are you aware of           18        me.
     19   any study that shows that talcum powder exposure     19   BY MR. HEGARTY:
     20   reduces the number of macrophages in the body?       20       Q. Well, let me ask it a different way.
     21       A. Yes, there are studies that show              21             If you have an inflammation or let's
     22   that they undergo apoptosis, or cellular death, in   22   say -- let me start over.
     23   the presence of talc. So that means you're           23             If you have an infection that
     24   reducing the numbers, obviously, if you're killing   24   macrophages respond to, do you agree that the


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                           Laura M. Plunkett, Ph.D, D.A.B.T.
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      1   macrophage -- that the response is just not           1   of my research. But yes, I have done those things
      2   limited to the local tissue where that infection      2   before.
      3   is -- is located, correct?                            3                MR. HEGARTY: And I'll mark as
      4        A. It can be if it's -- if you catch             4        Exhibit 26 the Fletcher paper that you've
      5   the infection early. That's the whole point.          5        added a reference to in that paragraph.
      6   So -- but I would agree. What I would say to you      6                MS. PARFITT: Thank you.
      7   is it can travel beyond the local infection. When     7                (Document marked for
      8   it becomes a systemic issue, yes, that can happen.    8        identification as Plunkett Exhibit 26.)
      9   But if the infection stays in a small site, it's      9   BY MR. HEGARTY:
     10   the local tissue response that hopefully can --      10       Q. And the study -- the cells that he
     11   can take care of the problem.                        11   used in the study are immortalized cells, correct?
     12        Q. You agree, though, that                      12       A. Yes, that's correct. That's
     13   macrophages -- the body can call upon macrophages    13   typically what you are required to do with these
     14   across other parts of the body to come to a          14   kinds of assays.
     15   localized area where they are needed, correct?       15       Q. So they would not be considered
     16                MS. PARFITT: Objection.                 16   normal cells, right?
     17         Form.                                          17                MS. PARFITT: Objection.
     18                THE WITNESS: I don't think              18        Form.
     19         the body does it quite that way. I think       19                THE WITNESS: Okay. So I
     20         if you wanted -- if you wanted to make it      20        would point you -- I would point you to
     21         simplistic, I would say to you that your       21        others in this litigation to go into the
     22         immune system overall is there to respond      22        details, but I can answer that question.
     23         to insults.                                    23   BY MR. HEGARTY:
     24                And if insults become                   24       Q. Okay.

                                              Page 267                                                   Page 269
      1        significant and move beyond a very               1        A. And that is the issue of the fact
      2        localized area of the body that, yes,            2   that just because a cell is immortalized doesn't
      3        other -- the blood system, for example,          3   mean it is, quote-unquote, abnormal. It just
      4        or even the lymph system can carry and           4   means that it's a process used in order to be able
      5        take away and contribute to -- to a more         5   to make -- put those cells in a state where they
      6        systemic response.                               6   will reproduce in culture.
      7                But I don't think the way                7              So the idea is you have to
      8        you're asking it is quite right.                 8   immortalize the cells in order to keep the cell
      9   BY MR. HEGARTY:                                       9   culture going and be able to do the experiment.
     10       Q. If you would turn next to paragraph           10              It is not -- it is not that the cell
     11   65.                                                  11   is some kind of an abnormal cell that you don't
     12       A. Yes.                                          12   expect it to respond like normal cells would.
     13       Q. Towards the end of that paragraph,            13   That's where I disagree with you.
     14   you add some references to the 2019 Fletcher         14              I think that you do this as a tool,
     15   paper, correct?                                      15   but it's -- but it does not mean that the findings
     16       A. That's correct.                               16   are not relevant to normal physiology.
     17       Q. Have you ever done the type of                17        Q. Do you agree that to make the cells
     18   studies that are reported in the Fletcher paper      18   immortalized, they are injected with a type of
     19   yourself?                                            19   virus?
     20       A. I have done -- I have -- I have in            20        A. This one is, yes. There's other
     21   the laboratory when I was in academics worked in     21   ways to do that, too. You can actually use
     22   the lab in with studies that had been looking at     22   different kinds of external cell mediators to do
     23   redox enzymes in cells. Yes, I have done that,       23   it as well.
     24   but I -- this was not something that was the focus   24        Q. So is it your opinion that the


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      1   process of making the cells that Dr. Saed used in     1        A. I don't think that's on my list of
      2   his study immortalized did not make them abnormal     2   things I've seen. I don't know. If it's on my
      3   or precancerous?                                      3   list, I have.
      4                MS. PARFITT: Objection.                  4        Q. Would you look at your list to see
      5        Form.                                            5   if you read Dr. Saed's deposition testimony?
      6                THE WITNESS: I don't think I             6        A. Do you remember what the number of
      7        formed that opinion and I don't believe          7   that one is? I'm sorry.
      8        that -- I would say you should ask him           8        Q. It's at the top.
      9        about his studies. I believe he's                9        A. Was that --
     10        involved in the -- in the MDL.                  10        Q. Well, it would be in your report.
     11                I would just say to you what I          11        A. Oh, it is Exhibit C to my report.
     12        already did, which is, as a toxicologist,       12        Q. Exhibit C in your report?
     13        this data is relevant to my assessment          13        A. Yes. So let me look real quick.
     14        for the reasons that, hopefully, you            14   Sorry. You have a better memory than I do today.
     15        understand based on the testimony I've          15              (Reviews document.)
     16        given about this kind of data in the            16              I don't see it in my list, no.
     17        past.                                           17        Q. And you don't have a memory here
     18   BY MR. HEGARTY:                                      18   today of seeing it?
     19       Q. And with regard to what Fletcher              19        A. No, I do not.
     20   reported as it relates to key redox enzymes, key     20        Q. If you turn next to paragraph 75 in
     21   redox enzymes are not the same thing as reactive     21   your report, and tell me when you're there.
     22   oxygen species, correct?                             22        A. Mr. Hegarty, I just realized, I
     23       A. No, they're not. The redox enzyme             23   looked at the wrong appendix here.
     24   forms the ROS.                                       24        Q. Okay.

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      1        Q.    And ROS are such things superoxide,        1       A. I actually looked at Appendix C.
      2   hydrogen peroxide, hydroxyl radicals, hydroxyl        2   You want me to look at this? I realized that's my
      3   ions, nitric oxide, correct?                          3   original report.
      4        A.    Yes, that's correct.                       4       Q. Yes. Please look at your report --
      5        Q.    And with regard to reactive oxygen         5       A. Okay.
      6   species, the human body generates those every day,    6       Q. -- where you would list the
      7   right?                                                7   deposition testimony you have read.
      8                MS. PARFITT: Objection.                  8       A. Yeah. I'm sorry.
      9        Form.                                            9       Q. I want to make sure that you are
     10                THE WITNESS: They can                   10   accurate about it.
     11        generate those every day, but it's very         11       A. I just realized that.
     12        important to understand that they are           12             No, I don't see it.
     13        linked to inflammatory mechanisms. So it        13       Q. Before we look at paragraph 75,
     14        can lead to an abnormal physiology              14   prior in the deposition you were looking for a
     15        depending on what happens with the              15   reference in your report to the 2021 risk
     16        process.                                        16   assessment that you thought might pertain to
     17   BY MR. HEGARTY:                                      17   fibrous talc.
     18        Q.    Just exercising, though, increases        18             Were you able to find that
     19   reactive oxygen species in the body, correct?        19   reference?
     20        A.    Yes, and when you stop, it doesn't        20       A. So the reference that I remembered
     21   occur anymore. The difference is talc is there       21   was dealing to -- was dealing with what they
     22   all the time.                                        22   stated that they -- what they said they assumed,
     23        Q.    Have you read Dr. Saed's testimony        23   and they assumed that it was talc that did not
     24   with regard to his study?                            24   have asbestiform fibers in their -- in their


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      1   assessment. So that means that they would not         1   under that heading that says --
      2   have assumed it had fibrous talc in their risk        2               MS. PARFITT: I'm just going
      3   assessment, which is important because that means     3       to object to the extent this article was
      4   it's an assessment, like IARC, in terms of -- of      4       examined. It was one that existed well
      5   focusing on the toxicity of talc, not just one        5       before her 2018 deposition. So...
      6   constituent.                                          6               MR. HEGARTY: Do you believe
      7        Q. Would you turn again to paragraph             7       that it was in her report before the 2006
      8   75.                                                   8       -- 2021 amended report?
      9        A. I'm there.                                    9               MS. PARFITT: I thought it was
     10        Q. You added in that paragraph a                10       in her 2018 report. I would almost --
     11   reference to the Langseth paper 2008.                11               MR. HEGARTY: Can we go off
     12              Do you see that?                          12       the record for just a second?
     13        A. Yeah. This is the same list that I           13               (Recess: 2:00 p.m. -
     14   had before. Remember I told you -- I thought we      14               2:02 p.m.)
     15   talked about this. I told you Wu was added for       15               MR. HEGARTY: We can go back
     16   that reason.                                         16       on the record.
     17        Q. Why did you add Langseth to this             17               I believe that's all that I
     18   part of your report?                                 18       have given our time limitations and
     19        A. Because it's one that they didn't            19       obviously subject to the couple of areas
     20   have access to, that's all, and I'm telling you      20       that we perhaps might want to follow up
     21   that they didn't have access to it.                  21       on, whether they were covered or not.
     22                MR. HEGARTY: And with regard            22               MS. PARFITT: That concludes
     23         to the Langseth paper, I'm going to mark       23       in Plaintiff's mind the entire
     24         as Exhibit 27.                                 24       deposition, and thank you very much, Dr.

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      1              MS. PARFITT: Mark, I don't                 1        Plunkett. I have no further questions.
      2       want to interrupt you, but I think we're          2              Thank you, Mark.
      3       about at four hours.                              3              MR. HEGARTY: Thank you.
      4              MR. HEGARTY: Yeah, I have --               4
      5       I have like two minutes, three minutes            5               (Time noted: 2:02 p.m.)
      6       left. So I agree we're almost.                    6
      7              MS. PARFITT: Okay.                         7                  *    *   *
      8              MR. HEGARTY: I'm going to                  8
      9       mark as Exhibit 27 the Langseth paper.            9
     10              MS. PARFITT: All right.                   10
     11              (Document marked for                      11
     12       identification as Plunkett Exhibit 27.)          12
     13   BY MR. HEGARTY:                                      13
     14       Q. And if you turn over to the second            14
     15   page under Proposal: To Research Community? Do       15
     16   you see that section?                                16
     17       A. Yes, I have it.                               17
     18       Q. And before we get there, are you              18
     19   aware that three of these authors were part of the   19
     20   epidemiology working group for IARC --               20
     21       A. Yes.                                          21
     22       Q. -- 2006 review?                               22
     23       A. Yes. It says at the back here.                23
     24       Q. Do you agree with the statement               24

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      1             ERRATA SHEET                                 1               CERTIFICATE OF REPORTER
      2                                                          2   DISTRICT OF COLUMBIA )
      3   Page No._____Line No._____Change to:_____________      3           I, DENISE DOBNER VICKERY, CRR/RMR and
      4   _________________________________________________      4   Notary Public, hereby certify the witness was by
      5   Page No._____Line No._____Change to:_____________      5   me first duly sworn to testify to the truth; that
      6   _________________________________________________      6   the said deposition was recorded stenographically
      7   Page No._____Line No._____Change to:_____________      7   by me and thereafter reduced to printing under my
      8   _________________________________________________      8   direction; and that said deposition is a true
      9   Page No._____Line No._____Change to:_____________      9   record of the testimony given by said witness.
     10   _________________________________________________
                                                                10           I certify the inspection, reading and
                                                                11   signing of said deposition were NOT waived by
     11   Page No._____Line No._____Change to:_____________
                                                                12   counsel for the respective parties and by the
     12   _________________________________________________
                                                                13   witness; and that I am not a relative or employee
     13   Page No._____Line No._____Change to:_____________
                                                                14   of any of the parties, or a relative or employee
     14   _________________________________________________
                                                                15   of either counsel, and I am in no way interested
     15   Page No._____Line No._____Change to:_____________
                                                                16   directly or indirectly in this action.
     16   _________________________________________________
                                                                17
     17   Page No._____Line No._____Change to:_____________     18
     18   _________________________________________________     19
     19   Page No._____Line No._____Change to:_____________     20
     20   _________________________________________________     21            Denise Dobner Vickery, CRR/RMR
     21   Page No._____Line No._____Change to:_____________                   Notary Public in and for the
     22   _________________________________________________     22            District of Columbia
     23   Page No._____Line No._____Change to:_____________     23
     24   _________________________________________________     24   My Commission expires: February 28, 2023


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      1       DECLARATION UNDER PENALTY OF PERJURY
      2
      3
      4               I declare under penalty of
      5   perjury that I have read the entire transcript of
      6   my Deposition taken in the captioned matter
      7   or the same has been read to me, and
      8   the same is true and accurate, save and
      9   except for changes and/or corrections, if
     10   any, as indicated by me on the DEPOSITION
     11   ERRATA SHEET hereof, with the understanding
     12   that I offer these changes as if still under
     13   oath.
     14
     15         Signed on the ______ day of
     16   ____________, 2021.
     17
     18   ___________________________________
     19     LAURA M. PLUNKETT, PHD, DABT
     20
     21
     22
     23
     24


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